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                            Exhibit 3:
               Dr. Karl Hanson Expert Report
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                    DECLARATION OF R. KARL HANSON

      In reference to challenge to Michigan’s Sex Offenders Registration Act

      I, R. Karl Hanson, declare as follows:

      1.      I am a psychologist registered in Ontario, Canada, and Adjunct
Research Professor in the Psychology Department of Carleton University, Ottawa,
Ontario, Canada, and President of SAARNA – the Society for the Advancement of
Actuarial Risk Need Assessment, a not-for-profit training and education organiza-
tion that promotes the use of actuarial risk/need assessment tools in corrections and
forensic mental health. Throughout my career, I have studied recidivism, with a
focus on individuals with a history of sexual crime. I discuss in this declaration key
findings and conclusions of research scientists, including myself, regarding recidi-
vism risk of individuals with a history of sexual crime and individuals with a history
of nonsexual crime. If called upon to testify, I could and would competently testify
thereto.
      2.      The information in this declaration is based upon my personal knowl-
edge and my research and scholarship, which is listed in my CV, as well as on
research and scholarship in the field, including sources of the type which researchers
in my field would rely upon in their work. I have also reviewed data on the number
of individuals added to Michigan’s registry from 1997 to 2013.

                             Summary of Declaration


      3.      My research on recidivism shows the following:
           a. Recidivism rates are not uniform but vary considerably across all indi-
              viduals with a history of sexual crime. Risk of re-offending varies
              based on well-known factors. See ¶¶ 12, 15-17, 29.



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         b. The average sexual recidivism rate of individuals with a history of
            sexual crime is low. Once convicted, most are never re-convicted of
            another sexual offence. See ¶ 14.
         c. The risk for sexual recidivism declines with age, with a particular
            strong decline for individuals of advanced age. There are very few
            individuals over the age of 60 who present any significant risk for
            sexual recidivism. See ¶ 26.
         d. The nature of the sexual offence conviction (the name of the offence or
            criminal code section) is unrelated to the risk of recidivism. Conse-
            quently, conviction-based registries, such as Michigan’s, impose
            restrictive requirements on individuals who pose no more risk for
            recidivism than individuals to whom the restrictions are not applied.
            See ¶¶ 27-28.
         e. The risk for sexual recidivism can be reliably predicted by widely-used
            risk assessment tools, such as the Static-99R, which are used to classify
            individuals into various risk levels. See ¶¶ 29-32.
         f. Contrary to the popular notion that all individuals who have ever
            committed a sexual offence remain at risk of re-offending through their
            lifespan, the longer individuals remain offence-free in the community,
            the less likely they are to re-offend sexually. Eventually, they are less
            likely to re-offend than the risk of a spontaneous, out-of-the-blue sexual
            offence among males in the general population (the baseline rate). See
            ¶¶ 55-72.
                  i.     How quickly someone with a sexual offending history
                         reaches the baseline rate depends on their risk level at the
                         time of sentencing/release. The lowest risk individuals are
                         below the baseline from the outset. See ¶¶ 66-68.
                 ii.     After 10 years in the community without committing a sex
                         offence, most individuals with a history of sexual offen-
                         ding pose no more risk of sexual offending than do males
                         in the general population. See ¶ 74.
                iii.     After 20 years without a new arrest for a sex-related
                         offence, all individuals with a history of sexual crime no
                         longer pose any more risk of committing a sex offence
                         than do males in the general population. See ¶¶ 69, 71-72.
                iv.      Given that the risk of new sexual offending drops below
                         baseline levels for most individuals after 10 years, and for
                                         2
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                           all individuals after 20 years, lengthy and lifetime registra-
                           tion terms serve no public protection function. See ¶ 79.
           g. There appear to be tens of thousands of people on Michigan’s registry
              who have lived offence-free in the community for decades and are very
              low risk for sexual recidivism. By ten years after release, over half of
              those with past sex offence convictions will present no more risk of
              committing a new sex offence than the general male population, and
              almost three-quarters would present no more risk than individuals
              convicted of non-sex crimes—a group that is not subject to registration.
              See ¶ 75.
           h. Based on the research, I conclude that individuals who have committed
              a sexual offence are not continuous, lifelong threats. The recidivism
              risk of many registrants was already very low, or has declined to, base-
              line levels; consequently, policies and resources directed towards these
              very low risk individuals serve no public protection function. I can
              think of no practical reason for imposing restrictions on this very low
              risk group when similar restrictions are not imposed on individuals
              convicted of nonsexual crimes, or, for that matter, all males in Mich-
              igan. See ¶¶ 57, 79.

                            Background and Experience

      4.      I am a psychologist registered in Ontario, Canada. For the past 30 years,
my practice has focused on research concerning the assessment and treatment of
sexual offenders. In 2017, I retired as Manager of Corrections Research at Public
Safety Canada after a 25-year career as a Canadian public servant. Public Safety
Canada is a federal department that was created in 2003 to ensure coordination
across all federal departments and agencies responsible for national security and the
safety of Canadians. The Department’s responsibilities include emergency manage-
ment, policy development, and advice to the Minister of Public Safety on matters of
national security, implementing Canada’s National Crime Prevention Strategy,
developing national policies for new and evolving crime and border issues, and
developing legislation and policies governing corrections.


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      5.    I held the position of Manager of Corrections Research at Public Safety
Canada between 2015 and 2017, and related positions since 1991. From 1991 to
2009, I served as Senior Research Officer for the Solicitor General of Canada and
Public Safety Canada, and from 2009 to 2015, I was a Senior Research Scientist with
Public Safety Canada. From 1986 to 1991, I was a psychologist in private practice,
specializing in the assessment and short-term treatment of offenders on probation
and parole. During that time, I was also Course Director for psychology courses at
York University (Personality, Abnormal Psychology, Research Methods) and Trent
University (Abnormal Psychology). I earned my Ph.D. in Clinical Psychology from
the University of Waterloo in 1986, and my B.A. with honors in Psychology from
Simon Fraser University in 1981. Between 2009 and 2012, I was the Chair of the
Research Committee of the Association for the Treatment of Sexual Abusers.
Between 1996 and 2018, I was the Secretary/Treasurer for the Criminal Justice
Section of the Canadian Psychological Association. Since 2000, I have served on
the Scientific Advisor Committee International Association for the Treatment of
Sexual Offenders. I have been a member of the Ontario College of Psychology since
1986. I serve on a variety of editorial boards, scientific committees, and working
groups, including serving as the advisor to the DSM-5 Sexual Disorders Workgroup
of the American Psychiatric Association (2009-2013). Since 1997, I have provided
training and consulting services concerning sexual offender risk assessment to the
many U.S. states, including California, New York, Colorado, Massachusetts,
Michigan, Utah, Alaska, and Georgia. I am currently on the following international
advisory boards: (i) Centre International de Criminologie Comparée (Montréal),
Collaborator-member (since 2010); (ii) Dutch Ministry of Justice, Expertise Center
for Forensic Psychiatry, Scientific Council (since 2010); (iii) Forensic Psychology
Research Centre, Carleton University (Ottawa), Research Associate (since 2013);
(iv) Singapore National Council of Social Service, International Research Advisor
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(since 2014); and (v) Hong Kong Correctional Services, Advisory and Member of
Accreditation Panel (2010 – 2016, 2018 to present). I have received four lifetime
achievement awards from a) the Association for the Treatment of Sexual Abusers,
b) Public Safety Canada, c) The International Association for the Treatment of
Sexual Offenders, and d) the Correctional Psychology Division of the Canadian
Psychological Association.
      6.     Throughout my career I have studied recidivism, particularly recidi-
vism among individuals with a history of sexual offending, and have written numer-
ous articles on this topic. A true and correct copy of my CV, which includes a list
of my publications, is attached to this declaration as Exhibit 1.
      7.     Since 2016, I have served as an expert in 22 cases, and provided oral
testimony in about half of them. A list of these cases is provided as Exhibit 2.
      8.     The following are a selection of cases where I have served an expert:
Doe v. Harris, Docket No. C12-5713 THE (N.D. Cal.), involving a challenge to
Internet-related reporting requirements for registered sex offenders, in John Doe #1,
et al., v. Luther Strange, et al., Docket No. 2:15-cv-606 WKW (M.D. Ala.)
challenging the Alabama Sex Offender and Community Notification Act, in Does v
Swearigan, Docket No. 18-cv-24145-KMW (S.D. Fla.), in State in the Interest of
C.K., (233 N.J 44, 2018; Superior Court of New Jersey), and in B.K. v. Gurbir
Grewal, Attorney General of the State of New Jersey, Docket No. 3:19-cv-5587-
FLW-LHG (D.N.J.). In these cases, I provided declarations. As well I have contrib-
uted to Amicus Curiae briefs in USA v. Haymond (Supreme Court of the United
States), Vasquez v. Foxx (Supreme Court of the United States), David Millard,
Eugene Knight, Arturo Vega v. Michael Rankin (Tenth Circuit Court of Appeals),
and Gundy v. United States (Supreme Court of the United States). I have provided
oral testimony concerning sexual recidivism risk assessment to, among others, the


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Magistrates Court of Tel Aviv (Yafo, Israel), the Cour de Québec (Québec, Canada),
and the Court of Common Pleas of Chester County (Pennsylvania, USA).

                                     Compensation

      9.       I am being compensated at a rate of $250/hour for writing this
expert report.
           Recidivism Risk for Individuals with a History of Sexual Crime

       10.     Although the risk of recidivism of individuals convicted of sexual
crimes has been a perennial public concern, there were few empirical studies on the
topic prior to the 1980s. During the 1980s, there was a sharp increase in public
awareness of the problem of sexual victimization, with many states updating their
sexual crimes laws with the goal of increased public protection from this type of
offence. During the past 30 years, there has been increasing consensus among the
public and the scientific professional communities that sexual victimization is a
widespread and serious social problem. This consensus has been supported by a
large body of research, including surveys showing high rates of sexual victimization
in the general population 1,2, and by follow-up studies showing negative




1
 Pereda, N, Guilera, G, Forns, M, & Gomez-Benito, J. (2009). The prevalence of child sexual
abuse in community and student samples: a meta-analysis. Clinical Psychology Review, 29, 328-
338.
2
  Stoltenborgh, M, van Ijzendoorn MH, Euser, EM, & Bakermans-Kranenburg, MJ. (2011). A
global perspective on child sexual abuse: meta-analysis of prevalence around the world. Child
Maltreatment, 16, 79-101.

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consequences of sexual victimization on health 3,4 and psychological adjustment 5.
During the period in which sexual victimization was being first recognized as a
serious social problem (the 1980s and 1990s), there also developed a public percep-
tion that individuals convicted of sexual crimes were very likely to reoffend sexual-
ly. As well, there was a common belief among the public, policy makers, and
researchers that this risk endured for decades, if not for the offender’s whole life.
Such beliefs were not based on strong research evidence. Instead, they were based
on highly publicized cases of serious new offences (sexual murders) by individuals
known to the justice system, and follow-up studies of small groups of individuals
who, based on how they were selected, were unusually high risk to reoffend.

       11.     It turns out we were wrong. As the research evidence accumulated, the
empirical findings painted a different picture of individuals with a history of sexual
crime: the recidivism risk of most of these individuals is actually quite low, and they
are even less likely to commit another offence the longer they remain offence-free
in the community. Eventually, if they remain sexual offence free, all individuals
convicted of a sexual offence will be no more likely to commit another sexual




3
 Maniglio, R. (2009). The impact of child sexual abuse on health: a systematic review of reviews.
Clinical Psychology Review, 29, 647-657.
4
 Paras, ML, Murad, MH, Chen, LP, Goranson, EN, Sattler, AL, Colbenson, KM., et al. (2009).
Sexual abuse and lifetime diagnosis of somatic disorders: a systematic review and meta-analysis.
Journal of the American Medical Association, 302, 550-61.
5
  Chen, LP, Murad, MH, Paras, ML, Colbenson, KM, Sattler, AL, Goranson, EN, et al. (201).
Sexual abuse and lifetime diagnosis of psychiatric disorders: systematic review and meta-analysis.
Mayo Clinic Proceedings, 85(7), 618-629.

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offence than the rate of spontaneous “out-of-the-blue” sexual offences in the general
population 6,7.

       12.    The science supporting offender risk assessment is a specialized appli-
cation of the field of prediction or prognostic modeling. In order to estimate the
likelihood of anything, the starting point should be the base rate. The base rate is
the expected proportion of future events that will contain the outcome of interest. If
I want to know whether the Rideau Canal will freeze in January, for example, it is
useful to know that it has frozen every January since the canal was built in the 1832.
People, however, are not that predictable. In the social sciences, outcomes are rarely
determined by a single factor, or even a fixed constellation of factors. Instead, the
events that we are interested in predicting are influenced by a number of different
factors, each of which has a modest relationship with the outcome.

       13.    Individuals with a sexual offence history are less likely to reoffend with
any offence or a violent offence than are individuals convicted of non-sexual offen-
ces 8. The only category of new offences that is higher among individuals with a
history of sexual offence convictions than among individuals with convictions for
non-sexual offences is sexual offences. Among individuals with a history of non-
sexual offending, general recidivism rates of 30% to 40% after two years are
common. When the outcome is restricted to violent recidivism, the observed rates
among those with nonsexual convictions are 15% to 25% after two years. For


6
 Hanson, RK, Harris, AJR, Helmus, L, & Thornton, D. (2014). High risk sex offenders may not
be high risk forever. Journal of Interpersonal Violence, 29, 2792-2813.
7
  Hanson, RK, Harris, AJR, Letourneau, E, Helmus, LM, & Thornton, D. (2018). Reductions in
risk based on time offence free in the community: Once a sexual offender, not always a sexual
offender. Psychology, Public Policy and Law, 24(1), 48-63. doi:10.1037/law0000135.
8
 Alper, M, & Durose, MR. (2019). Recidivism of sex offenders released from state prison: A 9-
year follow-up (2005-14). Special Report NCJ 251773, U.S. Department of Justice, Office of
Justice Programs, Bureau of Justice Statistics.

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individuals with a criminal conviction but no sexual offending history, the rate of
spontaneous, out-of-the-blue sexual offending is 1% to 2% after 5 years 9,10.

          14.     A summary of the rates of sexual recidivism among individuals with a
history of sexual crime is provided in the table below. On average, the observed
sexual recidivism rates are in the 5% to 15% range after 5 years, and between 10%
and 20% after 10 years. In other words, out of a sample of 100 such individuals
released to the community, between 5 and 15 would be caught for a new sexual
offence after 5 years. If the same 100 individuals were followed for another 5 years
(years 6 to 10), an additional 5 individuals would be caught. Conversely, out of the
initial 100 individuals with a history of sexual crime, between 80 and 90 would not
be identified as recidivists even if they were followed for 10 years. These sexual
recidivism rates are based on large, aggregated samples from diverse jurisdic-
tions 11,12,13.




9
  Kahn, RE, Ambroziak, G, Hanson, RK, & Thornton, D. (2017). Release from the sex offender
label. Archives of Sexual Behavior, 46(4), 861-864. doi:10.1007/x10508-017-0972-y.
10
     Alper & Durose (2019) supra note 8.
11
   Harris, AJR & Hanson, RK. (2004). Sex Offender Recidivism: A Simple Question 2004-03.
Public Safety and Emergency Preparedness Canada, available at
http://www.publicsafety.gc.ca/res/cor/rep/2004-03-se-off-eng.aspx.
12
     Hanson et al. (2014) supra note 6.
13
  Lee, SC, & Hanson, RK. (2021). Updated 5-year and new 10-year sexual recidivism rate norms
for Static-99R with routine/complete samples. Law and Human Behavior. 45(1), 24-38.
https://doi.org/10.1037/lhb0000436.

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                                  Sexual Recidivism Rates (%)




                                                          5 years           10 years


  Mixed groups of sex offenders                              5-15           10-20

  Victim type

    Adults (rapists)                                            14              21

    Related children (incest offenders)                          6               9

    Unrelated girls                                              9              13

    Unrelated boys                                              23              28

  Risk Level

    Below Average                                               1-2            1-5

    Average                                                     3-7           5-10

    Above Average                                            9-40           14-50


    Source for Table 1: Hanson et al. (2014) at 6; Harris & Hanson (2004) at 11; Lee & Hanson
    (2021) at 13.

      15.       Not all individuals with a history of sexual crime, however, are equally
likely to reoffend. In general, the individuals at highest recidivism risk are those
who have committed violent offences against adult women or who have victimized
unrelated boys, while the lowest risk offenders are those who only victimize related
girls. There are also a large number of other characteristics of the individuals and
their environments that increase or decrease their likelihood of sexual recidivism
(see Table 1 at the end of this report). There is scientific and professional consensus
that, on average, individuals with more risk factors are higher risk to reoffend than


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individuals with fewer risk factors. There is also scientific and professional consen-
sus that structured risk assessments are more accurate than unstructured risk assess-
ments, although debate remains concerning how best to structure risk assess-
ments 14,15. In general, how the risk factors are combined into an overall evaluation
of risk is less important than ensuring that relevant items are considered 16,17.

       16.     The major risk factors for sexual recidivism are presented in Table 1.
These factors can be grouped into the broad categories of age (immaturity), sexual
criminality, and general criminality 18,19,20. Sexual crimes are crimes and, as such,
are associated with the same characteristics associated with other forms of rule
breaking (e.g., antisocial orientation, hostility, low self-control). There are, how-
ever, certain distinctive characteristics associated with the risk for sexual crime, such
as sexual preoccupations and deviant sexual interests. Whereas most people can
appreciate the goals, if not the means, of bank robbers and thieves, not everybody is
motivated to expose their genitals to strangers or penetrate a pleading victim at


14
  Hanson, RK & Morton-Bourgon, KE. (2009). The accuracy of recidivism risk assessments for
sexual offenders: A meta-analysis of 118 prediction studies. Psychological Assessment, 21, 1-21.
15
  Skeem, JL & Monahan, J (2011). Current directions in violence risk assessment. Current
Directions in Psychological Science, 20, 38-42.
16
  Dawes, RM. (1979). The robust beauty of improper linear models in decision making. American
Psychologist, 34, 571-582.
17
  See Kahneman, D, Sibony, O, & Sunstein, CR. (2021). Noise: A flaw in human judgment. Little,
Brown Spark. pp. 124-127.
18
   Barbaree, HE, Langton, CM, Blanchard, R, & Cantor, JM. (2009). Aging versus stable enduring
traits as explanatory constructs in sex offender recidivism: Partitioning actuarial prediction into
conceptually meaningful components. Criminal Justice and Behavior, 36, 443-465.
19
   Brouillette-Alarie, S, Babchishin, KM, Hanson, RK, & Helmus, L. (2015). Latent constructs of
static risk scales for the prediction of sexual aggression: A 3-factor solution. Assessment, 23, 96-
111.
20
  Hanson, RK & Morton-Bourgon, KE. (2005). The characteristics of persistent sexual offenders:
A meta-analysis of recidivism studies. Journal of Consulting and Clinical Psychology, 73, 1154-
1163.

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knifepoint. Furthermore, certain individuals who have committed sexual crime may
be well socialized and productive members of society in all areas but their sexual
offending (e.g., pedophilic priests, teachers). Compared to other individuals in the
criminal justice system, individuals with convictions for sexual crime are less likely
to commit non-sexual crimes. Men who have sexual victimized children rarely rob
banks 21.

          17.    Using risk assessment procedures that have wide acceptance in the
scientific and professional communities, it is possible to differentiate between
individuals whose sexual recidivism rates after five years are as low as 0.7% (less
than one in 100) to as high as 49% (49 out of 100) 22. If the follow-up is extended to
longer periods (e.g., 10 years, 20 years), the cumulative rates increase predictably 23.
Although the cumulative rates increase, the residual risk for each individual declines
the longer the individual remains sexual offence free in the community. The decline
in residual risk is such that after 20 years sexual offence free, the likelihood of any
further sexual offending is vanishingly small. Consequently, 20-year sexual recidi-
vism rate estimates can be considered equivalent to lifetime rates. Using the proce-
dures describe in our 2021 paper 24, a sexual recidivism rate of 0.7% at five years
would correspond to an estimated 20-year (lifetime) sexual recidivism rate of 1.5%.
A sexual recidivism rate of 49% at five years would correspond to an estimated 20-
year (lifetime) sexual recidivism rate of 74%.


21
   Hanson, RK, Scott, H, & Steffy, RA. (1995). A comparison of child molesters and nonsexual
criminals: Risk predictors and long-term recidivism. Journal of Research in Crime and
Delinquency, 32, 325-337.
22
     Lee & Hanson (2021) supra note 13.
23
   Thornton, D, Hanson, RK, Kelley, SM, & Mundt, JC. (2021). Estimating lifetime and residual
risk for individuals who remain sexual offense free in the community: Practical applications.
Sexual Abuse. 33(1), 3-33. doi:10.1177/1079063219871573.
24
     Thornton et al. (2021) supra note 23.

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      18.    In summary, since the 1990s we have learned that the average observed
sexual recidivism rates of individuals with a history of sexual crime are between 5%
and 15% after 5 years, which would correspond to 20-year (lifetime) sexual
recidivism rates of between 10% and 30%. We also know that there is wide variation
in the rates for subgroups of individuals with different offending histories. Although
any sexual recidivism is problematic, the observed numbers are, nonetheless, lower
than we previously believed. There is scientific consensus that most individuals with
a sexual offence history never return to the courts because of another sexual offence.

               Likelihood of Sexual Offending Among Individuals
                    with No Prior History of Sexual Offences

      19.    In order to appreciate the rates of sexual recidivism among individuals
with a history of sexual offending, it is worth considering the likelihood of spontan-
eous, out-of-the-blue sexual offending by individuals who have no prior history of
sexual offending. There are two plausible reference groups. One group is comprised
of individuals with a criminal conviction for a non-sex offence but no current or
prior history of sexual offending. The other reference group is the general popula-
tion of adult males. Neither group is subject to sexual offender notification and
registration laws. Consequently, any claim that notification and registration are
intended to serve a public protection function is undermined if these requirements
are applied to individuals whose risk for sexual recidivism is not perceptibly higher
than the baseline ambient risk presented by these two groups. Given that the research
on first-time sexual crimes among individuals in the criminal justice systems is more
well developed than the research on sexual crime in the general population, the
criminal justice samples will be discussed first.

      20.    In 2017, we conducted a review of studies regarding the expected
sexual recidivism rates for individuals with a criminal conviction but no history of

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sexual offending 25. To be included in the review, the original study must have
included a minimum of 1,000 individuals followed for at least 3 years. We identified
11 studies involving 543,204 individuals. In these studies, the rates of sexual recid-
ivism among adolescents and adults with nonsexual convictions ranged from .2% to
5.8% after a 5-year follow-up period, with a median value of 1.3% among the
samples of adults. We concluded that the rate of spontaneous sexual offences among
individuals with nonsexual convictions was in the range of 1-2% within a 5-year
period. This rate aligns with subsequent research. For example, a 2019 study pub-
lished by the Bureau of Justice Statistics using information from 30 states (total
sample size of 67,866) found that 2.0% of prisoners with no record of sexual
offending were reconvicted for a sexual offence during a nine-year follow-up period.
(The rate in the Bureau of Justice Statistics study would underestimate the rate of
out-of-the-blue sexual offences because the report only counted the sexual offences
of rape and sexual assault. Individuals who had been convicted of noncontact sexual
offences, or of indecent acts involving children, would not be included in their
definition of sexual recidivism.) Consequently, based on a strong body of evidence,
it is reasonable to conclude that a 5-year sexual recidivism of just below 2% is
equivalent to the rate of spontaneous, out-of-the-blue sexual offending by individ-
uals with a criminal conviction but no known history of sexual offending. A rate of
2% at 5 years corresponds to an estimated 20-year (lifetime) rate of 3.8%.
       21.    The research on the prevalence of sexual offence convictions in the
general population is less well developed than the research on sexual offending in
criminal justice populations; nevertheless, the available studies provide some useful
guidance. A UK study 26 of all males born in the 1953 has found that one out of 60

25
  Kahn et al. (2017) supra note 9.
26
  Marshall, P. (1997). The prevalence of convictions for sexual offending. (Research Finding No.
55.) London, UK: Home Office Research and Statistics Directorate.

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(approximately 2%) were convicted for a sexual offence by age 40. Another study
found that among non-forensic psychiatric admissions 27, the proportion with a
history of sexual violence was 3% to 5%. A 2017 conference presentation reported
that approximately 1% of males in the Province of British Columbia, Canada, will
be supervised for a sexual offence by B.C. Corrections. The B.C. study would
underestimate the rate of sexual offence convictions because not all sexual offence
convictions result in community supervision by provincial corrections (some would
not be supervised, others would be supervised by Canadian federal corrections).
According to the National Center for Missing and Exploited Children, there were
861,837 individuals on sexual offender registries in 2016 in the United States 28. This
corresponds to a prevalence rate of 0.2% based on the complete US population.
When the eligible population is restricted to adult males, the prevalence would be
approximately 1 percent, assuming that 90% of the registrants were adult males
(90% of 861,837 registrants is 775,653; 775,653 divided by 100,994,367 males over
the age of 18 = 0.77%). Again, this would be an underestimate of the prevalence of
sexual offence convictions because many individuals exit state registries after a fixed
period of time (e.g., 10 years, 20 years).
       22.     Although none of the above studies on the prevalence of sexual offence
convictions in the general population have been subject to peer review, their data
and methods appear credible, and their results are reasonably consistent: between
1% and 2% of males would be expected to be convicted of a sexual offence at some
point in their lives. Consequently, it is reasonable to conclude that a 20-year


27
  Hirdes, JP. (2012). Use of the interRAI assessment instruments in forensic mental health settings.
Presentation at the Future of Forensic Care: Solutions Worth Sharing. Utrecht, Netherlands.
28
   National Center for Missing and Exploited Children. (2017). Registered sex offenders in the
United States and its Territories per 100,000 population.                Downloaded from
http://www.missingkids.com/en_US/documents/Sex_Offenders_Map.pdf.

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(lifetime) sexual recidivism rate of just below 2% can be said to fairly represent the
prevalence of sexual offence convictions by males in the general population. Among
individuals with a sexual offence history, a 20-year (lifetime) rate of 2% corresponds
to a 5-year rate of 1%. The prevalence rate of sexual offence convictions for adult
males appears to be roughly half the rate as that for individuals with nonsexual
convictions. That the rate is lower in the general male population than it is for
individuals with a nonsexual conviction should not be surprising given that general
criminality is a well-established risk factor for sexual offending.
          23.    The above rates (for males, and for individuals with nonsexual
offences) provide useful benchmarks for evaluating the risk presented by individuals
with a history of sexual crime. These figures underestimate the actual rate of sexual
offending among these groups because they do not include undetected offences;
however, there is no reason to believe that the detection rate for sexual crimes is
higher for individuals with no prior sexual offence than for those with a sexual
offence history. To the contrary, it is likely that individuals with a history of sexual
crime would be more likely to be detected than other individuals due to the
heightened monitoring of this group by law enforcement. Consequently, these
thresholds would not change based on the rate of undetected sexual offences.

          24.    In agreement with the Supreme Court of Pennsylvania, “the relevant
question should not be whether convicted sexual offenders are committing
unreported sexual crimes, but rather whether sexual offenders commit more sexual
crimes than other groups not subject to similar registration laws.” 29 Although any
sexual recidivism is troubling, zero risk is not achievable in theory or in practice.
Instead, public protection policies need to be guided by a risk threshold below which
the policies are unlikely to have the intended impact because the risk is already so

29
     Commonwealth v. Torsilieri, 232 A.3d 567, 594 n. 22 (Pa. 2020).

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low. From a practical perspective, if conditions and controls are going to be justified
based on the likelihood of sexual recidivism, then the individuals subject to these
restrictions should be perceptibly higher risk to commit a sexual offence than other
groups that we accept as a tolerable risk (and are not subject to registration or notifi-
cation).

          25.    As previously stated, the average sexual recidivism rates for individuals
with a sexual offence history are between 5% and 15% after 5 years, which are
higher than the ambient risk of males (1%), or individuals without a sexual offence
conviction in the criminal justice system (2%).           As I document later in this
declaration, however, there are some individuals with a sexual offence history at this
very low, ambient risk level at the time of sentencing/release. The proportion of
individuals in this very low risk group grows over time as individuals remain sexual
offence free in the community 30. These time-free effects apply to all initial risk
levels. Eventually, should individuals with a sexual offence history remain sexual
offence free long enough, they will all present no more risk than the ambient risk of
the male population.

                       The Risk of Sexual Recidivism Decreases with Age

          26.    Apart from criminal history, one of the most robust risk factors for
criminal behavior is age. The highest rates of offending are observed during the late
teens and early 20s, followed by progressive declines thereafter. Although the risk
for sexual crime decreases more slowly than the risk of non-sexual crime, the risk of




30
     Hanson et al. (2018) supra note 7.

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sexual crime substantially decreases with advanced age 31,32, with gradual declines in
the 30s, 40s, and 50s, then steep declines after the age of 60 33. In a large, inter-
national sample of 4,673 individuals released into the community after a sexual
offence, only 2.8% (131) sexual offenders were over the age of 60 34. The sexual
recidivism rate of men over the age of 60 was low, with no new sexual offences
observed for 96 out of 100 cases (recidivism rates of < 4%) 35. For older individuals
with limited criminal history (sexual or nonsexual), their recidivism rate is less than
1% after 5 years 36. This is no different than the risk of sexual offending by adult
males in the general population.

            The Nature of the Sexual Offence Conviction Is Not Related to

                                           Recidivism Risk

          27.    Notably absent from the list of established risk factors is the type of
sexual crime conviction, the age of the victim, and the length of the sentence
received. Although there are clear differences in the moral seriousness of sexual
crimes, the seriousness of the offence is largely unrelated to the likelihood of




31
  Hanson, RK. (2002). Recidivism and age: Follow-up data on 4,673 sexual offenders. Journal of
Interpersonal Violence, 17, 1046-1062.
32
  Barbaree, HE, & Blanchard, R. (2008). Sexual deviance over the lifespan: Reduction in deviant
sexual behavior in the aging sex offender. In DR Laws & WT O’Donahue, (Eds.), Sexual deviance:
Theory, assessment, and treatment (2nd ed.; pp. 37-60). Guilford.
33
  Helmus, L, Thornton, D, Hanson, RK, & Babchishin, KM. (2012). Improving the predictive
accuracy of Static-99 and Static-2002 with older sex offenders: Revised age weights. Sexual
Abuse: A Journal of Research and Treatment, 24(1), 64-101.
34
     Hanson (2002) supra note 31.
35
     Helmus et al. (2012) supra note 33.
36
     Lee & Hanson (2021) supra note 13.


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recidivism 37,38. Individuals who have committed offences with high levels of sexual
intrusiveness (e.g., penetration) are, if anything, less likely to reoffend than
individuals who have only committed non-contact sexual offences, such as exhi-
bitionism and voyeurism 39. There are no reliable differences in recidivism rates
based on whether the victim was a child (12 or under), youth (13 to 17), or adult
(18+).

         28.    Although it is common for lawmakers to use the age of the victims and
offence seriousness as the basis of systems for determining tiers or levels of
restrictions, obligations, and sanctions, offence-based levels have little relationship
to the likelihood of sexual recidivism. K. Zgoba and colleagues 40 found that
individuals assigned higher tiers (Tier 3) based on the Adam Walsh Act (SORNA)
criteria had lower sexual recidivism rates than those assigned lower tiers (Tier 2) –
challenging arguments that the tiers are valid indicators of recidivism risk. These
results cannot be interpreted that the tiers worked (i.e., registration and notification
decreased the risk of the highest risk individuals) because the individuals were in the
community well before the implementation of the Adam Walsh Act and the
assessment of their presumptive tiers was computed retrospectively by the research-
ers. In contrast, empirically derived actuarial risk tools, such as the Static-99R
discussed below, showed moderated predictive accuracy in the same sample. The
lack of correspondence between the Adam Walsh Act tiers and sexual recidivism


37
  Hanson, RK, & Bussière, MT. (1998). Predicting relapse: A meta-analysis of sexual offender
recidivism studies.  Journal of Consulting and Clinical Psychology, 66(2), 348-362.
doi:10.1037/0022-006X.66.2.348.
38
     Hanson & Morton-Bourgon (2005) supra note 20.
39
     Hanson & Morton-Bourgon (2005) supra note 20.
40
  Zgoba, KM, Miner, M, Levenson, J, Knight, R, Letourneau, E, & Thornton, D. (2016). The
Adam Walsh Act: An examination of sex offender risk classification systems. Sexual Abuse: A
Journal of Research and Treatment, 28(8), 741-754. doi:10.1177/107906321556943.

                                             19
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risk should have been expected given that the criteria used for the Adam Walsh Act
tiers (age of child victims, degree of force) are not established risk factors.

    Risk Assessment Tools Exist to Predict the Risk of Sexual Reoffending

       29.   Although it has long been suspected that recidivism rates are not
uniform across all individuals with a history of sexual crime, it is only in the last few
decades that researchers have developed tools specifically designed to assess the risk
for sexual recidivism. In 1999, I, along with my colleague David Thornton, created
a 10-item actuarial scale that assesses the recidivism risk of adult male with a history
of sexual crime, known as the Static-99. We created the Static-99 as a more-accurate
replacement for earlier assessment tools. The 10 items cover the nature of sex-
related offence or offences that led to the most recent arrest (the “index offence”),
demographics (age at release, relationship history), sexual criminal history (prior
sexual offences, any male victims, any unrelated victims, any stranger victims, any
non-contact sexual offences), and general criminal history (prior sentencing dates,
non-sexual violence committed along with the index offence, prior non-sexual
violence). The Static-99 is intended to be used with adult males who have committed
either a contact or non-contact sexual offence and have reached the age of 18 prior
to release to the community.
       30.   In 2009, the Static-99 was revised based on new evidence showing
predictable reductions in sexual recidivism for older individuals. Whereas Static-99
only made a distinction between young males (less than 25 years) and older males,
Static-99R recognizes that risk continues to decline for individuals in their 30s, 40s,
50s, and 60s. Specifically, Static-99R increases the score by 1 point if the individual
was less than 35 years old at release; it makes no adjustment if the individual was
between 35 and 40 at release; it lowers it by 1 point if he was aged 40 to 60; and it
lowers it by 3 points if he was age 60 or older. This means that Static-99R scores

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can range from -3 up to 12. The coding form for the Static-99R can be found at
http://www.static99.org/pdfdocs/static-99rcodingform.pdf, a true and correct copy
of which is attached to this declaration as Exhibit 3. Research has found that the
new age weights resulted in greater predictive accuracy than the original version 41.
          31.     The Static-99 and the Static-99R are the most widely used sex offence
risk assessment instruments in the world, and are extensively used in the United
States 42, Canada 43, and other nations 44.
          32.     In addition, as noted above, from 1997 to the 2011, I provided training
and consulting for the California Department of Mental Health about Static-99/99R
scoring and interpretation, and since 2012 I have been collaborating with Cali-
fornia’s SARATSO (State Authorized Risk Assessment Tool for Sex Offenders)
Committee and other researchers on research on California’s use of Static-99 and
Static-99R. It is my understanding that California currently uses Static-99R (i) to
assess every eligible sex-offender prior to release on parole, (ii) to assess every
eligible sex offender pre-sentencing and on a probation caseload, and (iii) prior to
release      of    an    eligible   sex    offender   from    a   state    hospital.       See
http://www.saratso.org/index.cfm?pid=467. Our research studies have found that




41
     Helmus, Thornton et al. (2012) supra note 33.
42
  McGrath, RJ, Cumming, GF, Burchard, BL, Zeoli, S & Ellerby, L. (2010). Current practices
and emerging trends in sexual abuser management: The Safer Society 2009 North American
Survey. Brandon, VT: Safer Society Press.
43
   Bourgon, G, Mugford, R, Hanson, RK, & Coligado, M. (2018). Offender risk assessment
practices vary across Canada. Canadian Journal of Criminology and Criminal Justice, 60(2), 167-
205. doi:10.3138/cjccj.2016-0024.
44
  Neal, TMS, & Grisso, T. (2014). Assessment practices and expert judgment methods in forensic
psychology and psychiatry: An international snapshot. Criminal Justice and Behavior, 41, 1406-
1421. doi:10.1177/0093854814548449.

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Static-99R is a reliable and valid risk tool as implemented in California 45,46,47,48.
Static-99R is routinely used by the Michigan Department of Corrections and I have
provided Static-99R training to their evaluators. Additional information about these
tools can be found at http://www.static99.org/ and http://www.saarna.org.
                                Standardized Risk Levels

       33.    Before discussing the risk levels associated with Static-99R scores, I
will describe their development. Labels such as “high risk” and “low risk” are
ubiquitous in law and public protection policies, and have considerable conse-
quences both for the individuals so labeled and for the systems responsible for the
labeling. A significant problem, however, is that these terms are unlikely to mean
the same thing when used by different people in different contexts. Although struc-
tured risk tools are widely used to assess the recidivism potential of individuals in
the criminal justice system, these tools often use different labels to describe the same




45
  Hanson, RK, Lunetta, A, Phenix, A, Neeley, J, & Epperson, D. (2014): The Field Validity of
Static-99/R Sex Offender Risk Assessment Tool in California. Journal of Threat Assessment and
Management, 1(2), 102-117.
46
  Lee, SC, & Hanson, RK. (2017). Similar predictive accuracy of the Static-99R risk tool for
White, Black, and Hispanic sex offenders in California. Criminal Justice and Behavior, 44, 1125-
1140. doi:10.1177/0093854817711477.
47
  Lee, SC, Hanson, RK, Fullmer, N, Neeley, J, & Ramos, K. (2018). The predictive validity of
Static-99R over 10 years for sexual offenders in California: 2018 update. Sacremento, CA:
SARATSO (State Authorized Risk Assessment Tool for Sex Offenders) Review Committee.
Available from www.saratso.org.
48
  Lee, SC, Restrepo, A, Satariano, A, & Hanson, RK. (2016). The predictive validity of Static-
99R for sexual offenders in California: 2016 update. Sacramento, CA: SARATSO (State
Authorized Risk Assessment Tool for Sex Offenders) Review Committee. Available from
www.saratso.org.

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risk relevant characteristics 49. Consequently, it is common for the same individual
to be rated as high risk by one tool and moderate risk by another.
          34.    It is also important to recognize that individuals’ current risk levels may
be quite different from their initial risk level as assigned by risk tools such as the
Static-99R. Like many “static” risk tools, Static-99R estimates risk at time of release
based on factors present at that time. To evaluate risk at a later time, evaluators of
current risk should consider initial risk, but should also consider information
unavailable at time of release, such as subsequent nonsexual convictions, and the
number of years sexual offence free in the community 50. Standardized risk levels
can be used to describe both initial risk (at time of sentencing/release) and current
risk. Even though the risk factors included in the Static-99R are static, risk level
placements are not.
          35.    Based on shared concerns about the lack of consistency of risk level
labels, I collaborated with the US Council of State Governments Justice Center to
develop standardized risk levels for general offending risk tools. These risk levels
were intended for the general correctional population, and were not specific to
individuals with a sexual offending history. The development process involved
consultations and discussions with leading researchers, correctional administrators,
and correctional staff. Our initiative produced five standardized risk/need levels that
could apply regardless of the setting or risk assessment tool used 51. They could also


49
   Bourgon, G, Mugford, R, Hanson, RK, & Coligado, M. (2018). Offender risk assessment
practices vary across Canada. Canadian Journal of Criminology and Criminal Justice, 60(2), 167-
205. doi:10.3138/cjccj.2016-0024.
50
     Thornton et al. (2021) supra note 23.
51
  Hanson, RK, Bourgon, G, McGrath, R, Kroner, D, D’Amora, DA, Thomas, SS, Tavarez, LP.
(2017). A five-level risk and needs system: Maximizing assessment results in corrections through
the development of a common language. New York: The Council of State Governments Justice
Center.

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be used to describe the changes in risk over time, including changes due to effective
correctional interventions.
      36.    The lowest risk category (Level I) are generally prosocial individuals
who have nonetheless committed crime. They would not be expected to have the
criminal backgrounds, significant life problems, or the prognosis typical of most
individuals in the criminal justice system. The recidivism rates (for any offences)
of Level I individuals would be indistinguishable from the rates of spontaneous
offending among young males with no criminal history. Level II are higher risk than
the general public, but lower risk than most individuals in the criminal justice
system. Level II individuals have some criminogenic needs, but these life problems
would be few and transient, and would be balanced by strengths (e.g., stable
employment, prosocial friends). Level III describes the typical individuals in the
middle of the risk distribution. They would have risk-relevant concerns in several
areas, and require meaningful investments in structured programming to decrease
their recidivism risk. Level IV describes individuals who are higher risk than the
average individual in the criminal justice system. Individuals classified as Level IV
have chronic histories of rule-violations, poor childhood adjustment, and significant
risk-relevant problems across multiple domains. The Justice Center’s framework
also included a fifth category for the highest risk individuals, defined as those
virtually certain to reoffend. Individuals classed as Level V are most typically found
in high security settings, where considerable resources are devoted to managing
current antisocial behavior.
       37.   The distribution of individuals in each of the risk levels will vary with
the setting and the risk tool used. In routine correctional settings (i.e. for non-sexual
offenders), most individuals would be expected to be placed in Level III, with
smaller proportions in the other levels. When we created the 5-Level System, we
expected the proportion at each of the levels to be approximately as follows: Level
                                           24
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I – 5% to 10%; Level II – 15% to 25%; Level III – 40% to 50%, Level IV – 15% to
25%, and Level V – 5%.
       38.    The Justice Center’s five standardized risk levels were used as the
model for the standardized risk levels of the Static-99R sexual recidivism risk tool 52.
The Justice Center’s levels required modification because a) there are certain distinct
risk factors for sexual crime (e.g., deviant sexual interests), and b) the rate of sexual
recidivism among individuals with a history of sexual crime is much lower than the
rate of any recidivism among individuals with prior non-sexual criminal convictions.
Nevertheless, the standardized risk levels for the Static-99R are intended to convey
the same general meaning as the Justice Center’s standardized levels for general
offending. For example, individuals classified as Level III in either system would
be expected to have recidivism rates in the average range, and their risk could be
reduced by moderate intensity rehabilitation programs and change-focussed com-
munity supervision.
       39.    Specifically, the total scores of Static-99R are grouped into 5 levels:
Level I - Very low risk (Static-99R score of -3, -2); Level II - Below average risk
(-1, 0); Level III - Average risk (1, 2, 3); Level IVa - Above average risk (4, 5); and
Level IVb - Well above average risk (6 and higher). Level I identifies individuals
with a history of sexual crime whose risk for a subsequent sexual offence is no
different than the rate of spontaneous out-of-the-blue sexual offending for
individuals with a criminal history but no previous sexual offences (less than 2%
after 5 years). These are older individuals (60 years +) who mostly have offended
against related female victims, and have no persistent problems related to sexual or


52
  Hanson, RK, Babchishin, KM, Helmus, LM, Thornton, D, & Phenix, A. (2017). Communicating
the results of criterion referenced prediction measures: Risk categories for the Static-99R and
Static-2002R sexual offender risk assessment tools. Psychological Assessment, 29(5), 582-597.
doi:10.1037/pas0000371.

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general offending. No special interventions are required for Level I individuals
because their risk for sexual recidivism is already so low that it would be practically
impossible to lower it further.
         40.    Level II describes individuals whose risk for sexual recidivism is
slightly higher than the general population, but lower than most individuals with a
sexual offence conviction (1.6% to 2.2% after 5 years) 53. Level II individuals
typically have some life problems related to general and sexual crime (e.g.,
substance abuse, sexual preoccupation), but these problems tend to be limited and
transient. Most Level II individuals will move to Level I given short term (6 – 12
months) community supervision and focussed counseling.
         41.    Level III identifies individuals in the middle of the risk distribution for
sexual recidivism. Out of 100 individuals classified as Level III, between 3 and 7
will be expected to be reconvicted of a sexual offence within 5 years; conversely
between 93 and 97 will remain sexual offence free. Level III individuals typically
have several of the life problems associated with a history of sexual crime, such as
negative attitudes toward authority, poor sexual self-regulation, and problems in
intimate relationships.
         42.    Individuals in the next level, Level IV are expected to have sexual
recidivism rates of between 9% and 48% after five years. Almost all will have
previous criminal convictions, and present with diverse life problems, some chronic
and severe. The Static-99R risk tool does not include a Level V for sexual recidivism
because the highest observed sexual recidivism rates (40% to 60%) are well below
the Level V threshold of “virtually certain to reoffend”. Instead, Level IV is divided
into Level IVa “Above average” and Level IVb “Well above average” based on
increasing severity of risk-relevant life problems.


53
     Lee & Hanson (2021) supra note 13.

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          43.    At time of release, most individuals with a sexual offence history will
be classified in the middle of the risk distribution (Level III – average risk) using the
Static-99R risk tool54. Specifically, at time of release, the observed distribution is
as follows: Level I – 5.7%, Level II – 18.2%, Level III – 50.4%, Level IVa – 18.1%
and Level IVb – 7.6%. These risk levels only apply at time of release (or time of
sentencing for individuals who receive community sentences). Subsequent behavior
should be used to revise risk level placements. A new sexual offence would justify
a rescoring of Static-99R because the new sexual offence would now be the index
offence and what was previously the index offence would be a prior offence. For
individuals who remain sexual offence free in the community, their standardized risk
level declines without a change in their Static-99R score at time of release. The rate
of decline is discussed later in this declaration.
          44.    A central purpose of the standardized risk levels is to provide
evidenced-based guidance concerning the type and amount of intervention required
to manage the risk of recidivism. Interventions such as supervision, monitoring,
registration, notification, re-entry assistance and psychological treatment are not
without costs, both for the individuals involved and for the systems mandating and
managing these interventions. Insufficient intervention is a risk to public safety.
Excessive intervention wastes public resources and imposes unnecessary burdens on
individuals who are already unlikely to reoffend. There is also some evidence that
unnecessary interventions to low-risk individuals can increase the likelihood of
sexual recidivism 55.
          45.    Many of the US registration and notification laws were justified by a
belief that individuals with a history of sexual crime were very likely to reoffend.

54
     Hanson, Babchishin et al. (2017) supra note 52.
55
   Lovins, B, Lowenkamp, CT, & Latessa, EJ. (2009). Applying the risk principle to sex
offenders: Can treatment make some sex offenders worse? The Prison Journal, 89, 344-357.

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As previously stated, the average 5-years sexual recidivism rates are between 5%
and 15%. Furthermore, there is an identifiable subgroup (Level I) whose risk at time
of release is already so low that interventions have no public protection benefits.
Out of 100 individuals at this risk level, 96 to 98 will never be convicted of another
sexual offence, even with follow-up periods extended to 20 years. This level of risk
is the same as that presented by adult males who have never committed a sexual
offence but have been convicted of a non-sexual offence, and is very close to the
risk presented by males in the general population. At the time of sentencing, only a
small proportion (around 5%) of individuals convicted of a sexual offence would be
classified as Level I. However, over time the proportion classified as Level I predict-
ably increases as individuals remain sexual offence free in the community. Recent
research (described below) has demonstrated that after 10 to 15 years, the vast major-
ity of individuals with a history of sexual crime will transition to Level I, indicating
that their risk for future sexual crime is so low that any further interventions have no
public protection benefits.
      46.     Although any sexual recidivism is troubling, no follow-up study has
documented sexual recidivism rates greater than about 60% for even the highest risk
individuals. The highest risk group according to Static-99R scores (Level IVb) is
associated with observed 5-year recidivism rates of 20% to 50% at time of release.
Such rates justify intensive intervention; however, Level IVb is a small group,
representing only 8 out of 100 individuals convicted of sexual offences. Most
individuals (85 out of 100) convicted of a sexual crime would be expected to have
recidivism rates less than 10% after 5 years.




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  Recidivism in the General Offender Population Declines the Longer an Ex-
                   Offender Remains Arrest or Conviction Free

      47.     Most risk assessment for individuals in the criminal justice system is
conducted either at the time of sentencing or at the time of release into the
community. The risk labels assigned at these times are often assumed to apply in
perpetuity, such that individuals who are ever labeled “high risk” are considered to
remain high risk forever. This is not the case. Even when there are strong justifi-
cations to apply the high risk label to certain individuals at time of sentencing, it is
unlikely that this will accurately characterize them over time, let alone for the rest
of their days. Risk predictably declines with age and time offence free in the com-
munity. Research has long shown that the longer an individual remains free of
arrests or convictions, the lower the chance of reoffending. In fact, most detected
recidivism occurs within three years of a previous arrest and almost always within
five years.
      48.     In an effort to try to assess whether it is possible to determine empir-
ically when it is no longer necessary for an employer to be concerned about a
criminal offence in a prospective employee’s past, the United States Department of
Justice’s National Institute of Justice funded a study to actuarially estimate a point
in time when an individual with a criminal record is at no greater risk of committing
another crime than other individuals of the same age.
      49.     The study’s goal was to determine empirically at what point in time the
risk of recidivism was no greater than the risk for two comparison populations. Their
analysis was based on a statistical concept called the “hazard rate.” In this context,
the hazard rate is the probability, over time, that someone who has stayed arrest-free
will be arrested. For a person who has been arrested in the past, the hazard rate
declines the longer he stays free of arrests.

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       50.    The researchers—noted criminologist Alfred Blumstein and his then-
doctoral student Kiminori Nakamura—obtained the criminal history records of
88,000 individuals who were arrested for the first time in New York State in 1980,
and then determined whether they had been arrested for any other crime(s) during
the ensuing 25 years or if they had stayed arrest-free.
       51.    The study showed that the hazard rates for people who committed
crimes such as burglary, robbery, and aggravated assault eventually dropped below
the hazard rate for other individuals of the same age in the general population. For
example, for 18-year-olds who were arrested for a first offence robbery, the hazard
rate declined to the same arrest rate for the general population of same-aged individ-
uals at age 25.7, or 7.7 years after the robbery arrest. After that point, the probability
that individuals would commit another crime was less than that of other 26-year-
olds in the general population. The hazard rates of people who committed burglary
at age 18 declined to the same as the general population somewhat earlier: 3.8 years
post-arrest or at age 21.8. For aggravated assault, the hazard rates of the study group
dropped below that of the general population of same-aged individuals: 4.3 years
post-arrest or at age 22.3.
       52.    Blumstein and Nakamura also looked at the hazard rates for people
whose first arrest had occurred at other ages and found individuals who were
convicted of robbery at a young age took longer to transition to the risk typically
found in the general population than did individuals whose first robbery convicted
was later in their life.
       53.    The results of their study are published in a leading academic journal,
Criminology, entitled Redemption in the presence of widespread criminal




                                           30
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background checks 56, and summarized in an article of the same name in the National
Institute       of     Justice     Journal,   No.     263     10-17,      available     at
https://www.ncjrs.gov/pdffiles1/nij/226872.pdf.
         54.    This reduction in risk based on time offence free has been widely
replicated and is now accepted as fact by all experts in this area. To quote leading
researchers in this area, Professors M. C. Kurlychek, S. D. Bushway, and R. Brame:
“The general tendency for recidivism risk to decline over time is among the best
replicated results in empirical criminology. It is probably not an exaggeration to say
that any recidivism study with more than a 2- or 3-year follow-up period that did not
find a downward-sloping marginal hazard would be immediately suspect” 57.
                         The Risk of Sexual Recidivism Decreases with
                              Time Offence-Free in the Community

         55.    I have conducted studies similar to that conducted by Blumstein and
Nakamura of the general offender population in order to determine recidivism rates
for sex offenders and to better understand what factors affect those rates. In 2003-
2004, I, working with other researchers, analyzed the data from 10 existing follow-
up studies of adult males who have been convicted of a sexual offence (combined
sample of 4,724) 58. The analysis indicated that most of these individuals do not re-
offend sexually; that individuals who are before the courts for the first time are
significantly less likely to sexually re-offend than those with previous sexual




56
  Blumstein, A, & Nakamura, K. (2009). Redemption in the presence of widespread criminal
background checks. Criminology, 47, 327-359. doi:10.1111/j.1745-9125.2009.00155.x
57
  Kurlychek, MC, Bushway, SD, & Brame, R. (2012). Long‐term crime desistance and recidivism
patterns—evidence from the Essex county convicted felon study. Criminology, 50, 71-103.
doi:10.1111/j.1745-9125.2011.00259.x
58
     Harris & Hanson (2004) supra note 11.

                                              31
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convictions; and that individuals over the age of 50 are less likely to re-offend than
are younger individuals.
          56.    The study also showed that the rate of sexual reoffending decreases the
longer individuals with a history of sexual offending remain offence-free. The five-
year recidivism rate of 14% for new releases decreased to 4% for individuals who
have been sex offence free for 15 years. More specifically, the study found that after
15 years of living in the community, 73% of sexual offenders had not been charged
with, or convicted of, another sexual offence. The sample was sufficiently large that
very strong contradictory evidence would be necessary to substantially change these
recidivism estimates, particularly because other studies have found similar results.
          57.    We concluded that many individuals with a history of sexual crime pose
so low a risk for sexual recidivism that intensive interventions serve no public
protection benefit. Instead, society will be better served when legislation and
policies consider the cost/benefit break point after which resources spent tracking
and supervising low-risk individuals are better re-directed toward the management
of high risk individuals, crime prevention, and victim services.
                                   The Updated 2014 Study

          58.    I, along with three other researchers, conducted a similar study to
examine the extent to which individuals with a history of sexual crime present an
enduring risk for sexual recidivism over a 20-year follow-up period 59. The results
of this updated study were (i) presented by myself and Dr. Andrew J. R. Harris at
the 32nd Annual Research and Treatment Conference held by the Association for
the Treatment of Sexual Abusers in October 2012, and (ii) published in the Journal
of        Interpersonal         Violence   in     March      2014,      available     at
http://jiv.sagepub.com/content/29/15/2792.        I have attached this study, entitled


59
     Hanson et al. (2014) supra note 6.
                                             32
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“High-Risk Sex Offenders May Not Be High Risk Forever,” as Exhibit 4. The study
used the same methodology as the 2003-04 study (life table survival analysis), but
differed from the earlier study in two significant ways: the sample size was
significantly larger (n = 7,740), and the study grouped individuals according to risk
(low, moderate, high) based on an established risk assessment tool (Static-99R).
          59.    This study confirmed that the risk of committing sexual crimes
decreases the longer individuals remain sex offence-free in the community. On
average, their recidivism risk dropped by approximately 50% for each five years that
they remained offence-free in the community. 60 In other words, if their risk was
10% at time of release, it would drop to 5% after 5 years, and to 2.5% after 10 years.
This pattern was particularly evident for the highest risk group, whose yearly
recidivism rates declined from approximately 7% during the first calendar year, to
less than 1% per year when they have been offence-free for 10 years or more. Thus,
like the risk for general recidivism, the risk for sexual recidivism declines the longer
individuals remain offence-free in the community.
          60.    We also determined that, just as Blumstein and Nakamura established
with respect to other types of offences, individuals with a history of sexual crime
who remain free of arrests for a sex offence will eventually become less likely to
reoffend sexually than an individual with a non-sexual offender is to commit an “out
of the blue” sexual offence.
          61.    In our 2014 study, we defined the level of risk at which individuals with
a history of sexual crime should be treated as non-sexual offenders as the rate of
sexual offences among persons who have been arrested but have no recorded history




60
     Hanson et al. (2014) supra note 6.

                                             33
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of sexual offending, which we estimated as 1% to 3% 61,62,63. For the 2014 paper,
we chose a threshold of < 3% sexual recidivism rates after 5 years as a comparison
baseline.
          62.    Using this threshold, we found that immediately upon release, low-risk
offenders (bottom 15%) pose a smaller risk of recidivism (2.2% five-year risk) than
did the baseline group of individuals who have never been arrested for a sex offence
(3%). After 10 years in the community without committing a sex offence, medium-
risk offenders (60% of the total) also pose a risk (2.4% five-year risk) that is below
this baseline. Consequently, 85% of those who remained sexual offence free for 10
years were below the threshold. For the highest risk offenders (top 15%), their
recidivism rates declined substantially after 10 years offence-free, but their 5-year
recidivism rate (4.2%) was still higher than the expected rate for nonsexual offenders
(1%-3%) 64.
                        2018 Research Update: Time to Desistance

          63.     As part of program of research initially presented at the 2012 Asso-
ciation for the Treatment of Sexual Abusers 32nd Annual Research and Treatment
Conference, we used another method of estimating the time required before
individuals with a history of sexual crime are expected to no longer present a
significant risk for sexual recidivism. This second method involved estimating the


61
   Duwe, G. (2012). Predicting first-time sexual offending among prisoners without a prior sex
offence history: The Minnesota Sexual Criminal Offending Risk Estimate (MnSCORE). Criminal
Justice and Behavior, 39, 1436-1456.
62
  Langan, PA, Schmitt, EL, & Durose, MR. (2003). Recidivism of sex offenders released from
prison in 1984. Bureau of Justice Statistics NCJ 198281. Washington, DC: U.S. Department of
Justice.
63
   Sample, LL, & Bray, TM. (2003). Are sex offenders dangerous? Criminology and Public Policy,
3, 59-82. doi:10.1111/j.1745-9133.2003.tb00024.x
64
     Hanson et al. (2014) supra note 6.

                                             34
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probability of sexual recidivism during 6-month periods, from the time of release to
more than 20 years in the community. These discrete-time hazard rates were then
modeled using logistic regression. Statistical modeling minimizes random noise in
the data allowing the patterns to be observed more clearly. By statistically modeling
the hazard rates, we were able to make more precise estimates of the recidivism rates
than we could using the statistical procedures (life-table survival analyses) reported
in our earlier analyses. The results of this study have been subsequently published
in Psychology, Public Policy, and Law, entitled Reductions in risk based on time
offence-free in the community: Once a sexual offender, not always a sexual
offender 65. This article is attached as Exhibit 5.
          64.    Also, as part of this program of research we updated our analysis of the
expected sexual recidivism rate for individuals with a criminal conviction but no
history of sexual offending. Based on 11 studies involving 543,204 individuals, we
concluded that the rate of spontaneous sexual offences among individuals with
nonsexual convictions is in the range of 1-2% within a 5-year period 66. Conse-
quently, we used a 5-year sexual recidivism rate of less than 2% to define a
desistance threshold. Desistance meant that the individuals’ risk of future sexual
offending has dropped below a level where there is no longer any public protection
benefit to sexual offender specific interventions. This is a somewhat lower than the
3%-over-5-years baseline that we used in our 2014 published study, discussed
above; this means that the results discussed below are more conservative than those
discussed above.
          65.    In our 2018 paper, we visually represented the decline in risk using two
figures. The first figure reproduced below plots the hazard rates across time based


65
     Hanson et al. (2018) supra note 7.
66
     Kahn et al. (2017) supra note 9.

                                             35
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according to Static-99R standardized risk levels. As well, the graph includes a line
indicating the desistance threshold. A true and correct copy of this graph (Figure 2
from Hanson et al. [2018]) is presented below.



                             0.030


                             0.025
  Estimated 6-Month Hazard




                             0.020                                                        Well Above Average (6)
                                                                                          Above Average (4)
                             0.015
                                                                                          Average (2)

                             0.010
                                                                                          Below Average (0)
                                                                                          Very Low (-2)
                             0.005                                                        Desistance

                             0.000
                                     0    2   4   6     8   10 12 14 16 18 20 22 24
                                                      Years Sex Offence Free


                              66.        As you can see, individuals from all risk levels eventually crossed the
desistance threshold, although the numbers of years varied considerably. Most
individuals, i.e., those in the middle of the risk distribution (Level III, Average Risk,
Static-99R score of 2), crossed the desistance threshold after about 10 years. The
lowest risk offenders (Level I) were already below the desistance threshold at the
time of release into the community. Individuals classified at the highest risk levels
(IVb – Well above average) only crossed the desistance threshold after 20 years
sexual offence free in the community.
                              67.        The second figure indicates the decline in standardize risk level across
time according to initial risk (as indicated by Static-99R score) and the number of

                                                                          36
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                        full years sexual offence free in the community. The risk levels at year zero are the
                        Standardized Static-99R Risk Levels at time of release. The risk levels in the
                        remaining columns are the standardized risk levels adjusted for the number of years
                        sexual offence free. A true and correct copy of this graph (Figure 3 from Hanson et
                        al. [2018]) is presented below.


                                                                       Years Sexual Offence Free in the Community

                         0     1      2     3       4     5     6     7     8     9     10    11    12    13    14       15    16    17    18    19    20    21
                    -
                          I     I      I     I      I      I     I     I     I     I     I     I     I     I        I     I     I     I     I     I     I     I
                    3
                    -
                          I     I      I     I      I      I     I     I     I     I     I     I     I     I        I     I     I     I     I     I     I     I
                    2
                    -
                         II    II     II     I       I     I     I     I     I     I     I     I     I     I        I     I     I     I     I     I     I     I
                    1
                    0    II    II     II    II      II    II     I     I     I     I     I     I     I     I        I     I     I     I     I     I     I     I

                    1    III   III    III   II      II    II    II    II     I     I     I    I     I      I        I     I     I    I      I     I     I     I

                    2    III   III    III   III     III   III   II    II    II    II     II    I     I     I        I     I     I     I     I     I     I     I
STATIC-99R Scores




                    3    III   III    III   III     III   III   III   III   II    II     II   II    II     I        I     I     I    I      I     I     I     I
                         IV    IV     IV
                    4                       III     III   III   III   III   III   III   III   II    II    II        II   II     I     I     I     I     I     I
                          a     a      a
                         IV    IV     IV    IV      IV    IV
                    5                                           III   III   III   III   III   III   III   II        II   II    II    II     I     I     I     I
                          a     a      a     a       a     a
                         IV    IV     IV    IV      IV    IV    IV    IV
                    6                                                       III   III   III   III   III   III   III      III   II    II    II    II    II     I
                          b     b      b     a       a     a     a     a
                         IV    IV     IV    IV      IV    IV    IV    IV    IV    IV    IV
                    7                                                                         III   III   III   III      III   III   III   II    II    II    II
                          b     b      b     b       b     b     a     a     a     a     a
                         IV    IV     IV    IV      IV    IV    IV    IV    IV    IV    IV    IV    IV
                    8                                                                                     III   III      III   III   III   III   III   III   II
                          b     b      b     b       b     b     b     b     a     a     a     a     a
                         IV    IV     IV    IV      IV    IV    IV    IV    IV    IV    IV    IV    IV    IV    IV       IV
                    9                                                                                                          III   III   III   III   III   III
                          b     b      b     b       b     b     b     b     b     b     b     a     a     a     a        a

                    1    IV    IV     IV    IV      IV    IV    IV    IV    IV    IV    IV    IV    IV    IV    IV       IV    IV    IV
                                                                                                                                           III   III   III   III
                    0     b     b      b     b       b     b     b     b     b     b     b     b     b     a     a        a     a     a




                                     68.          All individuals in the lowest risk category (Level I, very low risk) were
                        below the desistance threshold at time of release. Individuals in risk Level II crossed
                        the desistance threshold between 3 years (Static-99R score of -1) and 6 years (Static-
                        99R score of 0). Individuals assessed as Level III (average risk) crossed the desis-
                        tance threshold (became Level I) after 8 to 13 years sexual offence free in the

                                                                                        37
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community. For risk Level IVa (above average risk), they crossed the desistance
threshold by year 16 to 18. Individuals at the low end of Level IVb (Static-99R score
of 6) crossed the desistance threshold at year 21. In other words, using this
estimation approach, only individuals with Static-99R scores of 7 or higher (< 4%
of the initial cohort) would have a risk of sexual recidivism perceptibly higher than
the desistance threshold given that they have remained sexual offence free for 20
years in the community. No individuals who remained sexual offence free for 18
years would be considered to be above average risk.
          69.    Viewed from another perspective, our results suggest that the risk for
new sexual offence has, for practical purposes, been extinguished after individuals
successfully remain sexual offence free for 20 years in the community. In our
dataset, there was only one sexual recidivist out of the 394 individuals followed
between 20 and 25 years, when our follow-up ended. This corresponds to a 5-year
recidivism rate of 0.3% in life table survival analysis, well below the expected rate
of sexual recidivism among individuals with a nonsexual conviction (1.9%). In our
subsequent analyses 67, we privileged the observed rates (1 out of 394) rather than
Figure 3 when estimating the very long-term recidivism risk. Finding only one
sexual recidivist out of 394 cases indicates that the risk for subsequent sexual
recidivism is vanishingly small for all individuals who have remained 20 years
sexual offence free in the community. Consequently, we considered the 20-year
sexual recidivism rates to be equivalent to the lifetime (ever) sexual recidivism rates.
                       2021 Research Update: Lifetime and Residual Risk

          70.    Our 2014 and 2018 studies found that the rate of decline in recidivism
risk was consistent over time, and equal (in relative risk terms) for all initial risk
levels. Although the absolute amount of change is larger for higher risk individuals


67
     Thornton et al. (2021) supra note 23.
                                             38
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(they have more room to move) than for lower risk individuals, when the results are
analyzed using the appropriate metrics (relative risk), the relative decline is the same
over time and for all initial risk levels. Consequently, it is possible to use these
predictable declines to calculate numeric estimates of lifetime and residual risk.
Using the same sample as our 2018 study, we conducted new analyses of residual
risk based on initial risk levels, time sexual offence-free in the community, and
whether or not the individual was convicted of a nonsexual offence after release from
an index sexual offence 68. A copy of this study is appended as Exhibit 6. The
analytic framework for these analyses was discrete-time survival analysis, a well-
established method of estimating event occurrence and desistance over time 69.
Survival analysis was developed to estimate life expectancy (hence, the name) and
is still widely used for that purpose. In discrete-time survival analysis, the follow-
up time of interest (in our case, 20 years) is divided into convenient time intervals
(e.g., one-year intervals). The likelihood of recidivism for each time interval is then
calculated by dividing the number of new recidivists by the number of individuals
at-risk in that time interval. This probability is called a hazard. The hazards for
previous years are combined to estimate the overall likelihood for any follow-up
time of interest. Once hazard rates are known, then it is possible to adjust and revise
hazard rates as individuals survive the hazards of previous intervals. In Canada, for
example, life expectancy at birth is 82 years; however, for individuals who have




68
   Thornton, D, Hanson, RK, Kelley, SM, & Mundt, JC. (2021). Estimating lifetime and residual
risk for individuals who remain sexual offence free in the community: Practical applications.
Sexual Abuse, 33(1), 3-33. doi:10.1177/1079063219871573.
69
  Willett, J. B., & Singer, J. D. (1993a). Investigating onset, cessation, relapse, and recovery: why
you should, and how you can, use discrete-time survival analysis to examine event occurrence.
Journal of Consulting and Clinical Psychology, 61(6), 952–965. https://doi.org/10.1037/0022-
006X.61.6.952.

                                                 39
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made it to 82, they can expect to live until 91 70. Similarly, the risk for future sexual
offending decreases when individuals remain offence-free during previous periods
of relatively higher risk. Unlike death, however, sexual recidivism is not inevitable.

       71.    The table below presents our most recent estimate of sexual recidivism
rates for 6 to 20 years based on initial risk levels (Table S2 from Lee & Hanson,
2021). This table uses the same estimation approach as in Thornton et al. (2021),
with the exception that the initial risk levels are estimated using the 2021 norms
rather than the 2016 Static-99R Norms. Although these analyses are linked to Static-
99R scores, the same patterns would apply regardless of the method used to estimate
initial risk. Residual risk was set to zero after 20 years because the expected
recidivism rates after 20 years sexual offence free were too small for practical
significance. For moderate risk levels, the estimated lifetime risk was approximately
double the observed 5-year recidivism rates. For example, for a Static-99R score of
2 (the middle of the risk distribution), the 5-year rate was 4.6% and the estimated
lifetime rate was 8.7%. For the highest risk level (Level IVb, well above average),
the 5-year rates were between 20% and 50% and the estimated lifetime rates were
between 30% and 75%. For the lowest risk level (Static-99R very low risk, Level
I), the 5-year rates were less than 2% and the lifetime rates were less than 3%.




70
   Statistics Canada. (2019). Changes in life expectancy by selected causes of death, 2017.
https://www150.statcan.gc.ca/n1/daily-quotidien/190530/dq190530d-eng.htm

                                            40
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             Extrapolated Sexual Recidivism Rates for Follow-up Periods of 6 to 20 Years for Routine/Complete Samples

                            Based on Estimated 5-year Recidivism Rates (Table S2 from Lee & Hanson, 2021)

                                                Initial risk (based on Static-99R scores)
 Follow-up        Level I           Level II            Level III             Level IVa                     Level IVb
    year        -3      -2         -1      0       1        2            3    4         5     6        7        8        9     10
     5         0.7      1.1       1.5     2.2     3.2      4.6       6.5      9.2     12.8   17.6    23.7     31.0      39.6   48.7
     6         0.8      1.2       1.8     2.5     3.6      5.2       7.4     10.4     14.4   19.7    26.4     34.3      43.5   53.2
     7         0.9      1.3       1.9     2.8     4.0      5.7       8.1     11.4     15.8   21.6    28.7     37.2      46.8   56.8
     8         1.0      1.4       2.1     3.0     4.3      6.2       8.7     12.3     17.0   23.1    30.7     39.6      49.6   59.7
      9       1.1      1.5      2.2       3.2      4.6      6.6      9.3     13.0    18.0    24.5     32.4      41.6    51.9   62.2
     10       1.1      1.6      2.3       3.4      4.8      6.9      9.8     13.7    18.9    25.6     33.8      43.3    53.8   64.2
     11       1.2      1.7      2.5       3.5      5.1      7.2    10.2      14.3    19.6    26.6     35.1      44.8    55.5   65.9
     12       1.2      1.8      2.5       3.7      5.3      7.5    10.6      14.8    20.3    27.5     36.2      46.1    56.9   67.3
     13       1.3      1.8      2.6       3.8      5.4      7.7    10.9      15.2    20.9    28.3     37.1      47.2    58.0   68.5
     14       1.3      1.9      2.7       3.9      5.6      7.9    11.2      15.6    21.4    28.9     37.9      48.1    59.1   69.6
     15       1.3      1.9      2.8       4.0      5.7      8.1    11.4      16.0    21.9    29.5     38.6      48.9    60.0   70.4
     16       1.4      1.9      2.8       4.0      5.8      8.3    11.6      16.2    22.3    30.0     39.2      49.6    60.7   71.2
     17       1.4      2.0      2.9       4.1      5.9      8.4    11.8      16.5    22.6    30.5     39.8      50.2    61.4   71.8
     18       1.4      2.0      2.9       4.2      6.0      8.5    12.0      16.7    22.9    30.8     40.2      50.8    61.9   72.4
     19       1.4      2.0      2.9       4.2      6.1      8.6    12.1      16.9    23.2    31.2     40.6      51.2    62.4   72.9
     20       1.4      2.1      3.0       4.3      6.1      8.7    12.3      17.1    23.4    31.5     41.0      51.7    62.8   73.3
Note. Bolded values are the 5-year logistic regression estimates for routine/complete samples (483 recidivists, N = 7,244)




                                                                    41
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         72.    The next table presents residual risk based on initial risk using the 2021
Static-99R norms and the number of years sexual offence free in the community 71.
As before, the residual risk for 20 years sexual offence free was set to zero because
there were no individuals who remained a significant risk after 19 years. This table
can be used to estimate when individuals no longer present a significant risk of
sexual recidivism based on their initial risk level and the number of years sexual
offence free in the community. The bolded values indicate when individuals with
different initial risk levels present a risk for sexual recidivism that is not distin-
guishable from the rate of spontaneous out-of-the-blue sexual offending by males in
the general community.




71
     Lee & Hanson (2021) supra note 13.

                                             42
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  Projected Residual Risk (Sexual Recidivism Rates [%]) From Time of Release Up to 20 Years Offence Free in the Community for
                           Routine/Complete Samples (adapted from Table S4 from Lee & Hanson, 2021)

                                               Initial risk (based on Static-99R scores)
 Follow-up         Level I          Level II             Level III             Level IVa                     Level IVb
    year         -3       -2      -1        0       1         2       3        4       5        6       7        8        9         10
 At release     1.4      2.1     3.0      4.3      6.1       8.7    12.3      17.1    23.4     31.4    41.0     51.8     62.8      73.2
      1         1.2      1.8     2.6      3.7      5.3       7.6    10.8      15.0    20.7     28.0    36.8     47.0     57.7      68.4
      2         1.1      1.6     2.2      3.2      4.6       6.6     9.4      13.2    18.2     24.8    32.9     42.4     52.7      63.3
      3         0.9      1.3     1.9      2.8      4.0       5.8     8.2      11.5    16.0     21.9    29.2     38.1     47.8      58.1
      4         0.8      1.2     1.7      2.4      3.5       5.0     7.1      10.0    14.0     19.2    25.8     33.9     43.0      53.0
      5         0.7      1.0     1.4      2.1      3.0       4.3     6.2       8.7    12.1     16.8    22.7     30.0     38.5      47.9
      6         0.6      0.9     1.2      1.8      2.6       3.7     5.3       7.5    10.5     14.6    19.8     26.4     34.1      42.9
      7         0.5      0.7     1.1      1.5      2.2       3.2     4.6       6.5     9.1     12.6    17.2     23.1     30.1      38.1
      8         0.4      0.6     0.9      1.3      1.9       2.7     3.9       5.5     7.8     10.8    14.9     20.0     26.3      33.6
      9         0.4      0.5     0.8      1.1      1.6       2.3     3.3       4.7     6.6      9.3    12.7     17.3     22.7      29.3
     10         0.3      0.4     0.6      0.9      1.3       1.9     2.8       4.0     5.6      7.8    10.8     14.7     19.5      25.3
     11         0.3      0.4     0.5      0.8      1.1       1.6     2.3       3.3     4.7      6.6     9.1     12.4     16.5      21.6
     12         0.2      0.3     0.4      0.6      0.9       1.3     1.9       2.7     3.9      5.4     7.6     10.4     13.8      18.2
     13         0.2      0.2     0.4      0.5      0.8       1.1     1.6       2.2     3.1      4.4     6.2      8.5     11.4      15.0
     14         0.1      0.2     0.3      0.4      0.6       0.9     1.2       1.8     2.5      3.6     5.0      6.8      9.2      12.2
     15         0.1      0.2     0.2      0.3      0.5       0.7     1.0       1.4     2.0      2.8     3.9      5.3      7.2       9.6
     16         0.1      0.1     0.2      0.2      0.3       0.5     0.7       1.0     1.5      2.1     2.9      4.0      5.4       7.2
     17         0.1      0.1     0.1      0.2      0.2       0.3     0.5       0.7     1.0      1.4     2.0      2.8      3.8       5.1
     18         0.0      0.0     0.1      0.1      0.2       0.2     0.3       0.4     0.6      0.9     1.3      1.8      2.4       3.2
     19         0.0      0.0     0.0      0.0      0.1       0.1     0.1       0.2     0.3      0.4     0.6      0.8      1.1       1.5
     20         0.0      0.0     0.0      0.0      0.0       0.0     0.0       0.0     0.0      0.0     0.0      0.0      0.0       0.0
Note. Recidivism rate projections based on 5-year logistic regression estimates. Bolded values are below the baseline, ambient risk of
out-of-the-blue sexual offending among adult males (lifetime risk < 2.0).




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       Number of Registrants Who Are Very Low Risk for Sexual Recidivism

          73.    Using the time-free adjustments described in Thornton et al. (2021) and
the distribution of Static-99R scores, it is possible to estimate the proportion of
individuals with a sexual offending history whose risk will should be classified (or
reclassified) as very low risk should they remain sexual offence free. The distri-
bution of Static-99R scores has been demonstrated to be reasonably stable across
settings and jurisdictions 72,73. As discussed in Paragraphs 19-25 above, there are
two plausible comparison groups for considering individuals very low risk for sexual
recidivism: a) individuals with a nonsexual conviction and no history of sexual crime
(2% after 5 years; 3.8% lifetime), and b) adult males in the general population (1%
after 5 years; 2% lifetime). The proportion of individuals with a sexual offending
history whose current risk is below these thresholds are presented in the following
table.




72
   Hanson, RK, Lloyd, CD, Helmus, L, & Thornton, D. (2012). Developing non-arbitrary metrics
for risk communication: Percentile ranks for the Static-99/R and Static-2002/R sexual offender
risk scales. International Journal of Forensic Mental Health, 11(1), 9-23.
doi:10.1080/14999013.2012.667511
73
     Lee et al. (2016) supra note 48.

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  Proportion of Routine/Complete Samples of Individuals with a History of Sexual
 Offending Whose Current Risk Is Very Low Based on the Numbers of Years Sexual
                         Offence Free in the Community.


                                 Threshold Used to Define Very Low
   Number of years sexual                      Risk
       offence free

                                  Community       Individuals with a
                                     Males        nonsexual criminal
                                      (2%             conviction
                                   lifetime)        (3.8% lifetime)

0 – at time of release                   2.7                    13.6
5 years                                 13.6                    39.6
10 years                                57.1                    74.3
15 years                                85.0                    96.0
20 years                               100.0                   100.0


Initial risk estimates from Lee & Hanson (2021). Distribution of risk levels based
on Static-99R scores (Hanson, Lloyd et al., 2012). Twenty-year (lifetime) sexual
recidivism estimate based on methods described by Thornton et al. (2021).


       74.    As can be seen in the above table, almost all individuals who have
committed sex offences present a risk for sexual recidivism at time of release that is
higher than the ambient, baseline risk presented by males in the general population
(2% lifetime). The proportion of individuals that should be classified as low risk
grows steadily over time, however, such that most (57.1%) individuals with a sexual
offence history will present no more risk than the general male population after 10
years. Using the more liberal criteria of the sexual offending rate of individuals with
a nonsexual criminal conviction (3.8% lifetime), 13.6% would be very low risk at
time of release, and this proportion would increase to 74.3% after 10 years. After
15 years, only a small proportion (4 out of 100) of individuals released from a sexual
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offence would present more risk of sexual offending than any of the other individuals
with past criminal justice system involvement.
          75.    According to the National Center for Missing and Exploited Children,
there were 42,998 individuals on Michigan’s sexual offender registry in
2016/2017 74. This number has steadily increased between 1997 and 2010, and has
varied around the value of 40,000 individuals annually since then 75. Although the
length of time that individuals have been on the registry has not been provided to
me, it is evident that a large proportion have been on the registry for at least 10 years,
and many would have been on the registry for 20 years or more. The initial risk
distribution of registrants is also not known to me, but is likely to be similar to that
observed in other jurisdictions. Consequently, it is reasonable to expect that there
are tens of thousands of individuals on Michigan’s SOR who are now no more likely
to commit a sexual offence than the general population of adult males in Michigan.
Including these very low risk individuals on the SOR serves no public protection
function.

                          Undetected Recidivism and Desistance
          76.    Any observed recidivism rate underestimates the actual rate because
not all crimes are reported, detected, and recorded in the data bases available to
researchers. The extent of underestimation is unknown, and remains a topic of




74
     National Center (2017) supra at 28.
75
     Michigan State Police. (no date). Total number on SOR by Year, Page 2.

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debate in the professional and scientific communities 76,77,78. Researchers in crimin-
ology agree, however, that it possible to identify individuals who have desisted from
crime without needing a precise estimate of the amount of undetected recidivism.
Instead, desistence can be empirically identified based on very low rates of
recidivism that are comparable to the risk of criminal behavior among individuals in
the general population. As previously stated, very low rates of sexual offending can
be defined in terms of the rates of sexual offending among individuals with
nonsexual criminal convictions, or for males in the general population. There are
many individuals with a sexual offending history whose current risk is below both
of these thresholds. Although the observed rates (1% to 2% after 5 years) would
also be an underestimate of the actual sexual offending rate of individuals without
sexual criminal histories, there is no reason to believe that the amount of under-
estimation is substantially different between individuals with or without a prior
conviction for a sexual offence. The major factors contributing to detection are a)
victims reporting to police, b) police investigating, c) police/prosecution charging,
and d) courts convicting. The fact that an alleged perpetrator is already known to
have a conviction for a sexual offence should, if it had any effect at all, increase the
likelihood of the case proceeding at each stage of this process. Consequently, the
rate of underestimation is probably greater among individuals with no history of
sexual offence convictions compared to detection rate of individuals previously


76
  Scurich, N & John, RS. (2019). The dark figure of sexual recidivism. Behavioral Sciences and
the Law, 37(2), 158-175. doi:10.1002/bsl.2400.
77
  Abbott, BR. (2020). Illuminating the dark figure of sexual recidivism. Behavioral Sciences and
the Law, 38, 543-558. https://doi.org/10.1002/bsl.2494.
78
   Lave, TR, Prescott, JJ, & Bridges, G. (2021). The problem with assumptions: Revisiting “The
dark figure of sexual recidivism”. Behavioral Sciences & the Law, 39(3), 279-306.
https://doi.org/10.1002/bsl.2508.



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convicted for a sexual offence. If a history of sexual convictions increases the
detection rate, our very low risk threshold of 1% to 2% after 5 years would be
conservative, meaning that individuals with a history of sexual crime who remains
sexual offence free would resemble the general population even sooner.
       77.    Supporters of registration and notification laws may argue that we
cannot be too safe when it comes to the risk of sexual offences. Even if the actual
risk is one in a hundred, or even one in 10,000, we should do all we can to prevent
individuals with a known history of sexual offending from doing it again. I, too,
want no more sexual victimization. There are, however, finite resources that can be
accorded to the problem of sexual victimization. From a public protection perspec-
tive, it is hard to justify targeting these resources on individuals whose objective risk
is not perceptibly different from that of a very large segment of the general male
population that has a non-sex offence conviction (8% of all adults in the US have a
felony conviction 79), and, indeed, is not perceptibly different from the adult male
population as a whole. Furthermore, available research has not found that long term
or lifelong registration and public notification 80, and the imposition of concomitant




79
  Shannon, SK, Uggen, C, Schnittker, J, Thompson, M, Wakefield, S, & Massoglia, M. (2017).
The growth, scope, and spatial distribution of people with felony records in the United States,
1948–2010. Demography, 54(5), 1795-1818.
80
  Zgoba, KM, & Mitchell, MM. (2021). The effectiveness of Sex Offender Registration and
Notification: A meta-analysis of 25 years of findings. Journal of Experimental Criminology.
Advance online publication. https://doi.org/10.1007/s11292-021-09480-z.

                                              48
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restrictions on residence, education, and employment are having the intended
effects 81,82,83,84.
                       What Works to Reduce the Risk of Sexual Recidivism

        78.     Policies that promote the social re-integration of individuals with a
history of sexual crime are more likely to reduce their recidivism risk than policies
that focus on identifying ex-offenders to the general public. It is well established
that major contributors to desisting from crime are having a place to stay, a job, and
stable relationships with prosocial peers 85. These same factors apply to whether the
criminal history involved sexual or nonsexual crimes. Individuals who have a resi-
dence, employment, and prosocial peers are less likely to reoffend than those who
are homeless, transient, and unemployed 86. In contrast, policies and practices that
systematically block the attainment of normal, prosocial goals are likely to increase
the recidivism risk of individuals who sexually offended in their past.




81
   Levenson, JS, & Hern, AL. (2007). Sex offender residence restrictions: Unintended
consequences and community re-entry. Justice Research and Policy, 9, 59-74.
doi:10.3818/JRP.9.1.2007.59.
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   Meloy, ML, Miller, SL, & Curtis, KM. (2008). Making sense out of nonsense: The
deconstruction of state-level sex offender residence restrictions. American Journal of Criminal
Justice, 33, 209-222. doi:10.1007/s12103-008-9042-2.
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  Mustaine, EE. (2014). Sex offender residency restrictions: Successful integration or exclusion?
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  Simon, J, & Leon, C. (2008). The third wave: American sex offender policies since the 1990s.
In S. G. Shoham, O. Beck, & M. Kett (Eds.), International Handbook of Penology and Criminal
Justice (pp. 733-754). Boca Raton, FL: CRC Press.
85
  Laub, JH, & Sampson, RJ. (2001). Understanding desistance from crime. Crime and Justice, 28,
1-69.
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  Scoones, CD, Willis, GM, & Grace, RC. (2012). Beyond static and dynamic risk factors: The
incremental validity of release planning for predicting sex offender recidivism. Journal of
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                                               49
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                                      Conclusion

      79.    Long-term sexual offender registration and notification laws are often
justified on the basis that individuals with a sexual offence conviction present an
elevated risk to public safety that endures for decades, potentially for life. This belief
is inconsistent with what we now know based on research conducted during the past
few decades. All studies of sexual offender recidivism have found that the risk
declines when individuals remain sexual offence free in the community. Within 10
years, most individuals present no more risk than the baseline ambient risk presented
by males in the general population. No individuals who have remained 20 years
sexual offence free in the community have a risk level that is perceptibly different
from that of individuals who have been convicted of nonsexual offences, or of males
in general. Public policy interventions directed at this very low risk group serve no
public protection function. I can think of no practical reason for imposing restric-
tions on this very low risk group when similar restrictions are not imposed on
individuals convicted of nonsexual crimes, or, for that matter, all males in Michigan.




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Table 1

Established risk factors for sexual recidivism.

Age (young)

Sexual Criminality
Sexual criminal history
    • Prior sexual offences
    • Early onset of sexual offending
    • Diverse sexual crimes
    • Non-contact sexual offences
    • Victim characteristics (unrelated, strangers, males)
Deviant sexual interests
    • Any deviant sexual preference
            o Sexual preference for children
            o Sexualized violence
            o Multiple paraphilias
    • Sexual preoccupations
Attitudes tolerant of sexual assault

General Criminality
Lifestyle instability/criminality
    • Childhood behaviour problems (e.g., running away, grade failure)
    • Juvenile delinquency
    • Any prior offences
    • Lifestyle instability (reckless behaviour, employment instability)
    • Personality disorder (antisocial, psychopathy)
    • Grievance/hostility
Social problems/Intimacy deficits
    • Single (never married)
    • Conflicts with intimate partners
    • Hostility toward women
    • Negative social influences
Response to treatment/supervision
    • Treatment drop-out
    • Non-compliance with supervision
    • Violation of conditional release
Poor cognitive problem-solving

Risk factors specific to sexual offenders against children
   • Emotional congruence with children (source)
   • Child molester attitudes



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                                      Sources for Table 1

       1.      Hanson & Bussière (1998) at 24.

       2.      Helmus, L, Hanson, RK, Babchishin, KM, & Mann, RE. (2013). Attitudes
supportive of sex offending predict recidivism: A meta-analysis. Trauma, Violence, & Abuse. 14,
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       3.     Mann, RE, Hanson, RK, & Thornton, D. (2010). Assessing risk for sexual
recidivism: Some proposals on the nature of psychologically meaningful risk factors. Sexual
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       4.     McPhail, I. V., Hermann, C. A., & Nunes, K. L. (2013). Emotional congruence
with children and sexual offending against children: A meta-analytic review. Journal of
Consulting and Clinical Psychology, 81, 737–749. doi: 10.1037/a0033248




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      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.




             _______________________________
             R. Karl Hanson, Ph.D., C.Psych.


Dated: October 29, 2021


                              TABLE OF EXHIBITS

1. Curriculum vitae of Dr. R. Karl Hanson
2. Dr. Hanson’s contributions as an expert witness for the court, 2016-2021
3. Static-99R coding form.
4. Hanson, RK, Harris, AJR, Helmus, L, & Thornton, D. (2014). High risk sex
   offenders may not be high risk forever. Journal of Interpersonal Violence,
   29(15), 2792-2813. doi:10.1177/0886260514526062
5. Hanson, RK, Harris, AJR, Letourneau, E, Helmus, LM, & Thornton, D.
   (2018). Reductions in risk based on time offence free in the community: Once
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   and Law, 24(1), 48-63. doi:10.1037/law0000135
6. Thornton, D, Hanson, RK, Kelley, SM, & Mundt, JC. (2021). Estimating
   lifetime and residual risk for individuals who remain sexual offence free in the
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                        Attachment 1:
                      C.V. of R. Karl Hanson
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Curriculum Vitae                            R. Karl Hanson, Ph.D., C.Psych

                                                                                     Version: September, 2021

 Work Address      Department of Psychology
                   Carleton University
                   1125 Colonel By Drive
                   Ottawa, Ontario K1S 5B6
                   Canada

                   Phone (613) 619-0817; rkarlhanson@gmail.com           Karl.Hanson@saarna.org
Education

1986 - Ph.D. in Clinical Psychology, University of Waterloo
1981 - B.A. (Hons), Psychology, Simon Fraser University

Professional Awards and Distinctions

2019 – Criminal Justice Psychology Section of the Canadian Psychological Association: Don Andrews Career
        Contribution Award
2018 – International Association for the Treatment of Sexual Offenders: Lifetime Achievement Award
2017 – Public Safety Canada: Outstanding Career Award
2015 – Public Safety Canada: Instant Prize
2010 – Public Safety Canada: Student Recognition Award
2007 – Public Safety Canada: Departmental Achievement Award
2007 – Public Safety Canada: Student Recognition Award
2006 – Public Service Merit Award for Exceptional Performance
2006 – Nominated for the Stockholm Prize in Criminology
2003 – Canadian Psychological Association: Fellow
2002 – Association for the Treatment of Sexual Abusers: Lifetime Significant Achievement Award
1998 – Public Service Merit Award for Exceptional Performance

Academic Awards

As a student (1978 – 1986), I received SSHRC doctoral and M.A. fellowships as well as awards and
scholarships from Simon Fraser University, Capilano College, and the University of Manitoba (where I
completed my internship in clinical psychology).

Current Employment

  Start                  Location                  Duties
  Dates
  6/2004 -               Carleton University       Adjunct Research Professor, Psychology Department

  1/2019-                Correctional Service of   Senior trainer on sexual recidivism risk tools (part-time)
                         Canada

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                                                                                        R.K. Hanson, Ph.D.

Professional Work Experience

         Dates             Location                Duties
   2/2015 - 02/2020        Ryerson University      Adjunct Faculty, Yeates School of Graduate Studies

   2/2015 –     6/2017     Public Safety Canada    Manager, Corrections Research. Supervise and conduct
                                                   research on corrections. Manage staff/ budget

   2/2009 -     2/2015     Public Safety Canada    Senior Research Scientist. Conduct and supervise
                                                   research on corrections, with a particular focus on
                                                   sexual offenders and family violence

   4/1991 -     2/2009     Solicitor General       Senior Research Officer
                           Canada/Public Safety
                           Canada
   9/1986 –     4/1991     York University         Course Director (Personality, Abnormal, Research).
                                                   Supervision of student research (part-time)

   9/1987-      1/1991     Ontario Ministry of     Assessment, short-term treatment of individuals on
                           Correctional Services   probation and parole, staff consultation (part-time)


Between 1987 and 1990, I was a research consultant for several organizations including the Solicitor General
Canada (sexual offending, impact of sexual victimization) and Thistletown Regional Centre (intrafamilial
sexual abuse). I taught psychopathology at Trent University and the Adlerian Institute. As well, I was
engaged in the assessment and treatment of forensic clients, including individuals with a history of sexual
offending, at the Clarke Institute of Psychiatry (now Centre for Addiction and Mental Health, Toronto,
Ontario, Canada).

Clinical Training

I completed a one-year post-doctoral APA/CPA approved internship at the Health Sciences Centre,
University of Manitoba in 1985-86, and had prior internship experience with adults and children at the
University of Waterloo, and Sunnybrook Medical Centre (Toronto). I have been registered as a psychologist
in Ontario since 1987. My clinical expertise concerns the assessment and treatment of adults with a history
of crime and violence.

             Journal Publications (refereed)

Blais, J, Babchishin, KM, & Hanson, RK. (in press). Improving our Risk Communication: Standardized Risk
       Levels for the BARR-2002R. Sexual Abuse.




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                                                                                           R.K. Hanson, Ph.D.

Helmus, LM, Hanson, RK, Murrie, DC, & Zabarauckas, CL. (2021). Field validity of Static-99R and STABLE-2007
    with 4,433 men serving sentences for sexual offences in British Columbia: New findings and meta-
    analysis. Psychological Assessment. Advance online publication. doi:10.1037/pas0001010
Thornton, D, Hanson, RK, Kelley, SM, & Mundt, JC. (2021). Estimating lifetime and residual risk for
     individuals who remain sexual offense free in the community: Practical applications. Sexual Abuse.
     33(1), 3-33. doi:10.1177/1079063219871573
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     validity in assessing risk-relevant propensities for sexual offending: A meta-analysis. Sexual Abuse.
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     doi:10.1037/ccp0000601
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      identifying Indigenous and White individuals at high risk for sexual recidivism in Canada. Canadian
      Psychology/Psychologie canadienne, 61(1), 42-57. doi:10.1037/cap0000182

Lloyd, CD, Hanson, RK, Richards, DK, & Serin, RC. (2020). Reassessment improves prediction of criminal
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                                                                                         R.K. Hanson, Ph.D.


Mattek, R, & Hanson, RK. (2018). Committed as a violent sexual predator in his 10th decade: A case study.
       Archives of Sexual Behavior, 47, 543-550. doi:10.1007/s10508-017-1041-2

Bourgon, G, Mugford, R, Hanson, RK, & Coligado, M. (2018). Offender risk assessment practices vary across
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     offense free in the community: Once a sexual offender, not always a sexual offender. Psychology,
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      Canadian sex offenders. Asian Journal of Criminology, 13(1), 1-15. doi:10.1007/s11417-017-9252-y

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Hanson, RK. (Chair) (2016, September). STABLE-2007: New field study findings, new risk categories.
     Symposium at the 14th conference of the International Association for the Treatment of Sexual
     Offenders, Copenhagen, Denmark.

Kahn, RE, Thornton, D, Hanson, RK, & Ambroziak, G. (2016, November). Out of the blue sexual offenses:
     Information redemption thresholds for sexual offenders. Presentation at the 72nd Annual Meeting of
     the American Society of Criminology, New Orleans, Louisiana.

Hanson, RK. (Chair) (2016, June). Current developments in risk assessment for offenders of Indigenous
     heritage in Canada. Symposium at the Canadian Psychological Association Convention, Victoria, B.C.

Hanson, RK. (Chair) (2016, June). Field validity of the Static-99/R and STABLE-2000/2007 sexual offender risk
     assessment tools in the Province of British Columbia. Symposium at the Canadian Psychological
     Association Convention, Victoria, B.C.

Hanson, RK. (2015, June). Towards a common language for risk assessment. Presentation at the Third North
     American Correctional and Criminal Justice Psychology Conference, Ottawa, Ontario.

Coligado, M, & Hanson, RK. (2015, June). Measuring recidivism risk: A survey of practices in Canadian
      corrections. Presentation at the Third North American Correctional and Criminal Justice Psychology
      Conference, Ottawa, Ontario.

Hanson, RK. (2015, June). Raising the BARR-2002R: A psychological approach to STATIC risk assessment for
     sexual offenders. Presentation at the Third North American Correctional and Criminal Justice
     Psychology Conference, Ottawa, Ontario.

Babchishin, KM, Hanson, RK, & Blais, J. (2015, June). Less is more: Using Static-2002R subscales to predict
     violent and general recidivism among sexual offenders. Presentation at the Third North American
     Correctional and Criminal Justice Psychology Conference, Ottawa, Ontario.

Lee, SC, Hanson, RK, & Gress, C. (2015, June). The utility of Static-99R for sex offenders of East Asian
      heritage. Presentation at the Third North American Correctional and Criminal Justice Psychology
      Conference, Ottawa, Ontario.

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                                                                                         R.K. Hanson, Ph.D.

Hanson, RK. (2015, June). Grant T. Harris: Leading the modern era of violence risk assessment. Presentation
     at the Third North American Correctional and Criminal Justice Psychology Conference, Ottawa,
     Ontario.

Lloyd, CD, Hanson, RK, & Serin, RC. (2015, March). "Dynamic" stipulates that re-assessment matters:
      Examining the hypothesis that repeated measurement enhances the prediction of recidivism.
      Presentation at the Annual Conference of the American Psychology-Law Society, San Diego, CA.

Brouillette-Alarie, S & Hanson, RK. (2014, juin). De la prédiction à la compréhension : validité convergente
      des construits latents de la Statique-99R et de la Statique-2002R. Présentation au 7me Congrès du
      Regroupement des intervenants en matière d’agression sexuelle, Orford, Québec.

Hanson, RK. (2014, June). A conviction for a sexual offence is a time dependent risk indicator. Presentation
     at the 75th Annual Convention of the Canadian Psychological Association, Vancouver, B.C.

Helmus, L & Hanson, RK. (2014, June). Dynamic risk assessment using STABLE-2007: Updated follow-up and
    new findings. Presentation at the 75th Annual Convention of the Canadian Psychological Association,
    Vancouver, B.C.

Hanson, RK & Helmus, L. (2014, June). Developing non-arbitrary categories for offender risk communication.
     Presentation at the 75th Annual Convention of the Canadian Psychological Association, Vancouver, B.C.

Khalifa, S & Hanson, RK. (2014, April). Low self-control, substance abuse, and criminal history in predicting
      intimate partner violence. Presentation at the Forensic Middle East Congress, Dubai.

Hanson, RK. (2013, October). The psychological constructs assessed by static risk factors. Presentation at the
     32nd convention of the Association fort he Treatment of Sexual Abusers, Chicago, IL.

Babchishin, KM & Hanson, RK. (2013, October). The characteristics of internet sex offenders: An updated
     meta-analysis. Presentation at the 32nd convention of the Association for the Treatment of Sexual
     Abusers, Chicago, IL.

Helmus, L & Hanson, RK. (2013, October). Risk/needs assessments using STABLE-2007 and Risk-Matrix-2000.
    Presentation at the 32nd convention of the Association for the Treatment of Sexual Abusers, Chicago,
    IL.

Lehmann, RJB, Goodwill, AM, Hanson, RK, & Dahle, K-P. (2013, September). Using crime scene information
    to detect psychologically meaningful risk factors in cases of child molestation. Presentation at the
    European Association of Psychology and Law Conference, Coventry, UK.

VanZuylen, H, Sheahan, C, & Hanson, RK. (2013, June). Static-99 and RRASOR predict recidivism among
     developmentally delayed sexual offenders: A cumulative meta-analysis. Presentation at the Annual
     Convention of the Canadian Psychological Association, Quebec.

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                                                                                        R.K. Hanson, Ph.D.

Helmus, L., & Hanson, RK (2013, June). How should we talk about the accuracy of risk scales? Presentation at
    the Annual Convention of the Canadian Psychological Association, Quebec.

Hanson, RK (2013, May). Étude de la validité de construit des échelles actuarielles statiques: les facteurs de
     risque statiques sont des indicateurs de dimensions psychologiques associées à la récidive.
     Intervention au 7me Congrès internationale francophone sur l’agression sexuelle, Québec, PQ, Canada.

Hanson, RK, & Harris, AJR (2012, October). The reliability and validity of STABLE-2007: A review of the
     research. Presentation at the 31st Annual Research and Treatment Conference of the Association for
     the Treatment of Sexual Abusers, Denver, CO.

Helmus, L. & Hanson, RK (2012, October). Dynamic risk assessment using STABLE-2007: Updated follow-up
    and new findings from the Dynamic Supervision Project. Presentation at the 31st Annual Research and
    Treatment Conference of the Association for the Treatment of Sexual Abusers, Denver, CO.

Harris, AJR, & Hanson, RK (2012, October). When is a sex offender no longer a sex offender? Presentation at
      the 31st Annual Research and Treatment Conference of the Association for the Treatment of Sexual
      Abusers, Denver, CO.

Hanson, RK, & Thornton, D. (2012, October). Preselection effects can explain variability in sexual recidivism
     base rates in Static-99R and Static-2002R validation studies. Presentation at the 31st Annual Research
     and Treatment Conference of the Association for the Treatment of Sexual Abusers, Denver, CO.

Hanson, RK (2012, June). The assessment and treatment of sexual offenders. Presentation at
     Expertisecentrum Forensische Psychiatrie Conference on the Future of Forensic Care: Solutions Worth
     Sharing, Utrecht, Holland.

Hanson, RK (2011, November). Percentile ranks for Static-99/R and Static-2002/R. Presentation at the 30th
     Annual Research and Treatment Conference of the Association for the Treatment of Sexual Abusers,
     Toronto, Ontario.

Hanson, RK. (2011, June). Calculating and presenting percentile ranks for the risk of crime and violence.
   Second North American Correctional and Criminal Justice Psychology Conference, Toronto.

Seto, MC, Hanson, RK, & Babchishin, KM. (2011, March). Child pornography offenders: Contact offending
    history and risk of recidivism. Paper presented at the 4th International Congress of Psychology and the
    Law, Miami, FL.

Babchishin, KM, & Hanson, RK. (2010, October). Even Highly Correlated Measures Can Add Incrementally to
     Risk Prediction: Comparing Static-99R and Static-2002R. Presentation at the 29th Annual Research and
     Treatment Conference of the Association for the Treatment of Sexual Abusers, Phoenix, Arizona.




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                                                                                         R.K. Hanson, Ph.D.

Harris, AJR, & Hanson, RK. (2010, October). Adjusting Recidivism Estimates on the Basis of Time Free.
      Presentation at the 29th Annual Research and Treatment Conference of the Association for the
      Treatment of Sexual Abusers, Phoenix, Arizona.

Hanson, RK (2010, June). How should we report the accuracy of risk assessments for crime and violence?
     Presentation at the Annual Convention of Canadian Psychological Association, Winnipeg.

Cortoni, F, Hanson, RK, & Coache, M. (2009, November). Recidivism rates of female sexual offenders: A
     meta-analytic review. Presentation at the American Society of Criminology, Philadephia, PA.

Helmus, L., Thornton, D., & Hanson, RK (2009, October). Should Static-99 recidivism estimates be adjusted
    based on age at release? A multi-sample exploration. Presentation at the 28th Annual Research and
    Treatment Conference of the Association for the Treatment of Sexual Abusers, Dallas.

Thornton, D., Helmus, L., & Hanson, RK (2009, October). Does Static-2002 fully allow for the effects of age on
     release? Presentation at the 28th Annual Research and Treatment Conference of the Association for
     the Treatment of Sexual Abusers, Dallas.

Hanson, RK, & Helmus, L. (2009, October). Methods for combining historical and psychological risk factors:
     An example using Static-2002 and STABLE-2007. Presentation at the 28th Annual Research and
     Treatment Conference of the Association for the Treatment of Sexual Abusers, Dallas.

Hanson, RK (2009, June). The Growing Pains of Actuarial Risk Assessment for Sexual Offenders. Presentation
    at the Annual Convention of Canadian Psychological Association, Montreal.

Cortoni, F, & Hanson, RK (2009, May). Les principes d’évaluation du risque de récidive. Atelier au 5me
     Congrès internationale francophone sur l’agression sexuelle, Montréal, Quebec.

Cortoni, F, Hanson, RK, & Coache, M. (2009, May). Les délinquantes sexuelles : prévalence et récidive.
     Communication scientifique au 5me Congrès internationale francophone sur l’agression sexuelle,
     Montréal, Quebec.

Hanson, RK, & Barsetti, I. (2009, May). L’utilité et la valeur de l’évaluation des facteurs dynamiques dans
     l’évaluation du risque de récidive sexuelle. Atelier au 5me Congrès internationale francophone sur
     l’agression sexuelle, Montréal, Quebec.

Helmus, L, Hanson, RK, & Thornton, D. (2008, October). The stability of recidivism for Static-2002 risk
    categories. Presentation at the 27th Annual Research and Treatment Conference of the Association for
    the Treatment of Sexual Abusers, Atlanta, Georgia.

Harris, AJR, Helmus, L, Hanson, RK, & Thornton, D. (2008, October). Are new norms needed for Static-99?
      Presentation at the 27th Annual Research and Treatment Conference of the Association for the
      Treatment of Sexual Abusers, Atlanta, Georgia.

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                                                                                        R.K. Hanson, Ph.D.

Mann, RE, Hanson, RK, & Thornton, D. (2008, October). What should be assessed in sexual offender risk
    assessments? Presentation at the 27th Annual Research and Treatment Conference of the Association
    for the Treatment of Sexual Abusers, Atlanta, Georgia.

Bourgon, G., & Hanson, RK (2008, September). Meta-analysis of sex offender treatment efficacy: The
     importance of methodological quality and treatment quality. Presentation at the European Society of
     Criminology, Edinburgh, UK.

Nunes, KL., Hanson, RK, Firestone, P., Moulden, H., Greenberg, D. M., & Bradford, J. M. (2007, November).
    Denial predicts recidivism for some sexual offenders. In K. L. Nunes (Chair), A closer look at the
    relationship between denial and recidivism. Symposium at the 26th Annual Research and Treatment
    Conference of the Association for the Treatment of Sexual Abusers, San Diego, California.

Harris, AJR, & Hanson, RK. (2007, November). Dynamic Supervision Project Outcomes: Risk Assessment
      Partnerships with Multiple Provinces and States Presentation at the 26th Annual Research and
      Treatment Conference of the Association for the Treatment of Sexual Abusers, San Diego, California.

Helmus, L, & Hanson, RK. (2007, November). A Multi-Site Comparison of the Validity and Utility of Static-99
    and Static-2002 for Risk Assessment. Presentation at the 26th Annual Research and Treatment
    Conference of the Association for the Treatment of Sexual Abusers, San Diego, California.

Hanson, RK, & Bourgon, G. (June, 2007). Meta-analysis of sexual offender treatment outcome studies:
     Distinguishing quality studies from quality treatment. Presentation at the North American Correctional
     and Criminal Justice Psychology Conference, Ottawa.

Bourgon, G, Hanson, RK, & Bonta, J. (June, 2007). Risk, Need, and Responsivity: A heuristic for evaluating the
    “quality” of offender interventions. Presentation at the North American Correctional and Criminal
    Justice Psychology Conference, Ottawa.

Helmus, L., & Hanson, RK (June, 2007). The Accuracy of Risk Assessment for Intimate Partner Violence
    Offenders: A Meta-Analysis. Presentation at the International Association of Forensic Mental Health
    Services, Montreal, Canada.

Harris, A.J.R., & Hanson, R.K (2006, September). The dynamic supervision of sexual offenders: Updated data
     2006. Presentation at the Annual Treatment and Research Conference of the Association for the
     Treatment of Sexual Abusers, Chicago, IL.

Harris, A.J.R., & Hanson, R.K (2005, November). Dynamic assessment beyond static: Value added?
     Presentation at the Annual Treatment and Research Conference of the Association for the Treatment of
     Sexual Abusers, Salt Lake City, Utah.

Price, S., Hanson, R.K., & Andrews, D.A. (2005, November). Automatic processing of sexual information: A
     Stroop replication study. Presentation at the Annual Treatment and Research Conference of the
     Association for the Treatment of Sexual Abusers, Salt Lake City, Utah.
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                                                                                        R.K. Hanson, Ph.D.


Hanson, RK (October, 2005). L’évaluation de risque de récidive chez les délinquants sexuels dans la
    communauté : Facteurs statiques, stables et aigus. Presentation at the Troisième congrès international
    francophone sur l’agression sexuelle, Hull-Gatineau, Canada.

Price, S., Hanson, RK, & Andrews, D.A. (June, 2005). Measuring the deviant schema of sexual offenders: A
     Stroop replication study. Presentation at the Annual Convention of Canadian Psychological Association,
     Montreal.

Hanson, RK. (June, 2005). The assessment of criminogenic needs of sexual offenders by community
    supervision officers: Reliability and validity. Presentation at the Annual Convention of Canadian
    Psychological Association, Montreal.

Cortoni, F., & Hanson, RK. (October, 2004). A review of the sexual recidivism rates of female offenders.
    Presentation at the 23rd Annual Research and Treatment Conference of the Association for the
    Treatment of Sexual Abusers, Albuquerque.

Hanson, RK (October, 2004). The future of sexual offender treatment outcome research: Introduction.
    Presentation at the 23rd Annual Research and Treatment Conference of the Association for the
    Treatment of Sexual Abusers, Albuquerque, New Mexico.

Långström, N., & Hanson, R.K. (June, 2004). Hypersexual behavior in the general population: Risk factors
    and correlates. International Association of Sex Research, Helsinki, Finland.

Thomas, T., Harris, AJR, Forth, A. E., & Hanson, RK (June, 2004). Static and dynamic factors: Predicting
    recidivism in adult sexual offenders. Presentation at the Annual Convention of Canadian Psychological
    Association, St. John’s.

Price, S., & Hanson, RK (June, 2004). Sexual abuse screening procedures for positions of trust with children.
     Presentation at the Annual Convention of Canadian Psychological Association, St. John’s.

Hanson, RK, Thornton, D., & Price, S. (2003, October). How much do the observed recidivism rates
    underestimate the actual rates? Presentation at the 22th Annual Research and Treatment Conference
    of the Association for the Treatment of Sexual Abusers, St. Louis.

Thornton, D., & Hanson, RK (2003, October). Models of real re-offence rates: Clinical implications.
    Presentation at the 22th Annual Research and Treatment Conference of the Association for the
    Treatment of Sexual Abusers, St. Louis.

Hanson, RK, & Morton, K. E. (2003, June). Recidivism risk factors for sexual offenders: An updated meta-
    analysis. Presentation at the Canadian Psychological Association Annual Convention, Hamilton, Ontario.




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                                                                                          R.K. Hanson, Ph.D.

  Harris, A.J.R., & Hanson, R.K. (2003, June). Improving the standard of probation and parole supervision of
       community-based sexual offenders: The Dynamic Supervision Project. Presentation at the Canadian
       Psychological Association Annual Convention, Hamilton, Ontario.

  Hanson, RK (2002, May). Static-99, RRASOR and SONAR. Presentation at the Canadian Psychological
      Association Annual Convention, Vancouver, B.C.

  Hanson, RK. (2002, May). Constructing empirically based risk scales: Balancing breadth and efficiency.
      Presentation at the Canadian Psychological Association Annual Convention, Vancouver, B.C.

  Hanson, RK. (2001, November). Do sexual offenders burn out? Data from 10 recidivism studies.
      Presentation at the 20th Annual Research and Treatment Conference of the Association for the
      Treatment of Sexual Abusers, San Antonio, Texas.

  Broom, I, Hanson, RK, & Stephenson, M. (2001, June). An evaluation of community sex offender treatment
      programs in the Pacific Region. Presentation at the Canadian Psychological Association's Annual
      Convention, Saint Foy, Quebec.

  Hanson, RK, & Harris, AJR (2001, January). La prévision de risque chez les délinquants sexuels: Un
      programme de recherche. Présentation au Premier congrès international francophone sur l’agression
      sexuelle, Québec (Québec).

  Hanson, RK, & Wallace-Capretta, S. (2000, June). A multi-site study of treatment for abusive men.
      Presentation at the Canadian Psychological Association, Ottawa.

  Hanson, RK. (2000, May). Measuring change in sex offenders. Presentation at the 6th International
      Conference on the Treatment of Sexual Offenders, Toronto, Ontario.

      Conference Presentations (1984 to 1999)

  During this period, I gave 50 presentations at professional conferences, on topics including personality
  theory, social psychology, the reliability and validity of psychological tests, and the assessment and
  treatment of sexual offenders, mentally disordered offenders, and abusive men.

A selection of invited addresses, conference plenaries, and other noteworthy presentations.

  Alberta Hospital Edmonton Grand Rounds (February 10, 2021). Via Zoom. Reassessment of recidivism risk in
      the community.

  Texas Council on Sex Offender Treatment, 28th Annual Conference, San Marcos, Texas (March 8, 2020).
      What really needs to change: Understanding the risk relevant propensities for sexual recidivism.

  British Psychological Society, Forensic Division Annual Conference, Liverpool, UK. (June, 2019). Assessing
        sexual recidivism risk many years after the index offence.
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                                                                                      R.K. Hanson, Ph.D.


Association for the Treatment of Sexual Abusers.
    How much intervention is enough? (with Robert McGrath). October, 2018, Vancouver, B.C.
    Standardized risk categories for individuals convicted of sexual offences. November, 2016, Orlando, FL.
    What works: The principles of effective interventions with offenders. September, 2006, Chicago, IL.
     Confronting clergy abuse: Consulting at the Vatican (with WL Marshall & M Kafka). October, 2003, St.
    Louis, Missouri.
    The effectiveness of treatment for sexual offenders: Report of the ATSA Collaborative Data Research
    Committee.November, 2000.

International Association for the Treatment of Sexual Offenders.
      Release from the ‘Sex Offender” Label: Years Offence Free and Dynamic Reassessment. September,
      2018, Vilnius, Lithuania.
      Development of non-arbitrary risk categories for improving risk communication in sexual offenders.
      September, 2016, Copenhagen, Denmark .
      The characteristics of online sex offenders. September, 2012, Berlin, Germany.
      A meta-analysis of sexual offender treatment outcome studies. September, 2010, Oslo, Norway.
      Dynamic risk assessment for sexual offenders on community supervision. September, 2006, Hamburg,
      Germany
      Empirical evidence of sex offender treatment efficacy. September, 2002, Vienna, Austria.

Canadian Academy of Psychiatry and Law, Winter Conference, Vancouver, B.C. (March, 2016). The
     assessment and treatment of sexual offenders: Recent research from the STATIC Development Team.

American Psychology-Law Society, Atlanta, Georgia. (March, 2016). Standardized offender risk levels in
    corrections and forensic mental health.

University of Toronto, Annual Forensic Research Day, Penetanguishene, Ontario. (April, 2015). Can the
     numbers tell us who is safe? Reflections on the development of forensic risk assessment.

New York State Association for the Treatment of Sexual Abusers, Albany, New York. (May, 2014). When is a
    sexual offender no longer a sex offender? Risk reduction based on time offence-free in the community.

New Zealand Psychological Association Convention, Aukland, New Zealand. (September, 2013). Developing
     non-arbitrary metrics for risk communication.

University of Canterbury, Christchurch, New Zealand (September, 2013). Primed to punish: Altruistic
     punishment as motivation for vindictive rape.

Winterschool Research in Forensic Psychology, Seeon, Bavaria, Germany. (February, 2013). Altruistic
     punishment as motivation for vindictive rape.

Trauma and Transformation: The Catholic Church and the Sexual Abuse Crisis, Montreal. (October, 2011).
    Sexual offenders inside and outside the Church.
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Second North American Correctional and Criminal Justice Psychology Conference, Toronto. (June, 2011). The
    assessment and treatment of sexual offenders.

Centre international de criminology comparée, Université de Montréal, Montreal. (March, 2009). Improving
    psychological risk assessments for crime and violence.

International Summer Conference: Research in Forensic Psychiatry, Regensburg, Germany (June, 2008).
     Chronic propensities and current manifestations: Measuring change in the recidivism risk of sexual
     offenders.

Canadian Psychological Association – Criminal Justice Section. (June, 2006). A framework for violence risk
    assessment: Static, stable and acute factors.

Congrès international francophone sur l’agression sexuelle, Hull-Gatineau, Canada. (October, 2005).
    L’évaluation de risque et évolution des pratiques.

Scottish Prison Service, Edinburgh (September, 1995 and 2003) Sexual offender recidivism.

NOTA Annual Convention (UK): Keynote addresses in 1995 (Cambridge), 1998 (Glasgow), 2003 (Edinburgh)
   and 2019 (Belfast) . NOTA Scotland (Stirling, 2009).

Karolinska Institut, Stockholm (August, 2003). Assessing the recidivism risk of sexual offenders.

Conference on the Abuse of Children and Young People by Catholic Priests and Members of Religious
    Orders, Vatican (2003, April). Sexual abuse screening procedures for positions of trust with children;
    risk assessment for identified offenders.

International Conference for Judicial and Clinical Treatment of Sexual Offenders, Taipai, Taiwan (2002,
     November). Risk markers for recidivism of sex offenders.

Understanding and Managing Sexually Coercive Behavior: A New York Academy of Sciences Conference,
    Washington, DC. (2002, June). Sex offender recidivism risk: What we know and what we need to know.

Conférence de consensus Psychopathologie et traitements actuels des auteurs d’agression sexuelle, Paris,
    France. (2001, November). Facteurs de risque de récidive sexuelle : caractéristiques des délinquants et
    réponse au traitement.

Università Pontificia Salesiana, Rome, Italy. (2001, November). Evaluation and treatment of sexual
    offenders.

National Joint Committee of Senior Criminal Justice Officials, Sault Ste. Marie. (May, 2001). Sex offenders:
     Risk factors and treatment outcome.

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American Academy of Psychiatry and Law, Vancouver, B.C. (October, 2000). Using research to improve risk
   assessments for sex offenders.

Annual Residentual Meeting UK College of Forsenic Psychiatry, Amsterdam (February, 99). Characteristics of
    Abusive Men.

Regroupement des intervenants en matière d’agression sexuels (RIMAS), Québec (September, 1998).
    Indicateurs de la récidive chez les agresseurs sexuels dans la communauté.

Home Office Sex Offender Treatment Conference, Coventry, U.K. (September, 1994). Assessing empathy in
   sexual offenders.

Therapeutic Intervention with Sex Offenders, Gander, Newfoundland. (1991, June). Keynote address: Recent
    research on the assessment and treatment of sexual offenders.

Sex Offenders and Their Victims Conference, Toronto. (1989, November). Characteristics of sex offenders
     who were sexually abused as children.

Graduate Student Supervision

Brankley, AE. (2019). A taxometric analysis of pedophilia in adult males convicted of sexual offences:
Evidence for a taxon. (Ph.D., Psychology, Ryerson University, co-supervision with Alasdair Goodwill).

Lee, SC. (2018). Cross-cultural validity of actuarial risk assessment instruments for individuals in North
America with a history of sexual offending: Static-99R and Static-2002R. (Ph.D., Psychology, Carleton
University, co-supervision with Adelle Forth).

Brouillette-Alarie, S. (2016). Lévaluation du risque de récidive des agresseurs sexuels: vers une approache
centrée sur les construits psychologiques. (Ph.D., Criminologie, Université de Montréal, co-direction avec
Jean Proulx).

Babchishin, KM. (2014). Sex offenders do change on risk-relevant propensities: Evidence from a longitudinal
study of the ACUTE-2007. (Ph.D., Psychology, Carleton University, co-supervision with Kevin Nunes).

Price. S. (2006). A modified Stroop task with sexual offenders: A replication of a study. (M.A. , Psychology,
Carleton University).

Kerry, G. (2001). Understanding and predicting intimate femicide: An analysis of men who kill their intimate
female partners. (Ph.D., Psychology, Carleton University).

Dickie, I. (1998). An information processing approach to understanding sympathy deficits in sexual
offenders. (M.A., Psychology, Carleton University).



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Rooney, J. (1998). Predicting attrition from treatment programs for male batterers. (M.A., Psychology,
Carleton University).

External Examiner

Moore, L. (2019). Static risk assessment of sexual offenders in New Zealand: Predictive accuracy,
classification of risk, and the moderating effect of time offence-free in the community. (Ph.D.). University of
Canterbury, Christchurch, New Zealand.

Brassard, V. (2015). La réinsertion sociale, le réseau social et les trajectoires d’abandon de la carrière
criminelle des délinquants sexual adults : Une étude prospective longitudinale. (Maitrise). Université de
Laval., Québec.

Carpentier, J. (2009). Adolescents auteurs d’abus sexuels: carrière criminelle et facteurs associés. (Ph.D.).
École de criminologie, Université de Montréal.

Eccleston, L. (2001). Violent offenders’ failure on parole – personality and dynamic risk factors. (D. Psych.)
University of Melbourne.

Cooper, H. (2000). Long-term follow-up of a community-based treatment program for adolescent sex
offenders. (M.A.) Psychology Department, Lakehead University, Ontario.

Jordon, S. A. (1999). An exploration of risk factors for aggression in relationships. (Ph.D.) Psychology
Department, University of Ottawa, Canada.

Palmer, W. (1996). Enhancing parole prediction using current, potentially dynamic predictors, a continuous
longitudinal criterion, and event history analysis. (Ph.D.) Psychology Department, Queen’s University,
Kingston, Ontario.

Qualified as an expert witness

Superior Court of New Jersey, Somerset County. 2021. Sexual recidivism rates, risk assessment, residual risk
      when offence-free in the community. (Registrant M.H. Megan’s Law).
Magistrates Court of Tel Aviv, Yafo, Israel. 2021. Scientific evidence concerning the evaluation of sexual
      recidivism risk (Criminal v Dor).
Cour de Québec. 2020. Validation of violence risk assessment tools for individuals of Inuit Heritage. (R. v.
      Kritik [Salowatseak]).
U.S. District Court, Southern District of Florida. 2020. Sexual recidivism rates, risk assessment, residual risk
      when offence-free in the community (Does v. Swearigan, 18-cv-24145-KMW)
Supreme Court of the State of Oregon. 2020. Sexual offender recidivism, risk assessment, residual risk when
      offence-free in the community (Culbertson; CA A168062; SC S066714).
Supreme Court of the State of California, 2020. Amici Curiae brief concerning sexual offender recidivism risk
      and online sexual offending (Gadlin).

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                                                                                        R.K. Hanson, Ph.D.

U.S. District Court of New Jersey, 2019. Sexual offender recidivism, risk assessment, residual risk when
      offence-free in the community (C.K.)
Supreme Court of the United States, 2019. Amici Curiae brief concerning sexual offender recidivism risk and
      online sexual offending (USA v. Haymond).
Massachusetts Sex Offender Registry Board, 2018, 2019. Risk assessment for individual’s registration level.
Supreme Court of the United States, 2018. Amici Curiae brief concerning sexual offender recidivism risk and
      residency restrictions (Vasquez v. Foxx).
U.S. District Court of New Jersey, 2018. Sexual offender recidivism, risk assessment, residual risk when
      offence-free in the community (Kolton)
U.S. Court of Appeals for the Tenth Circuit, Colorado, 2018. Amici Curiae brief concerning sexual offender
      recidivism risk (Millard, Knight & Vega v. Rankin)
Court of Common Pleas, Pennsylvia, 2018. Sexual offender recidivism, risk assessment, residual risk when
      offence-free in the community (Torsilieri, CP-15-CR-0001570-2015)
Supreme Court of the United States, 2018. Amici Curiae brief concerning sexual offender recidivism risk
      (Gundy v. United States)
Court of Queen’s Bench, Province of Alberta, 2017. Sexual offender recidivism, risk assessment (Ndhlovu;
      sexual offender registry)
Federal Court of Canada (Ontario), 2016. Sexual offender risk assessment (G; sexual offender registry)
Federal Court of Canada (British Columbia), 2016. Construction and evaluation of criminal recidivism risk
      assessment tools (Ewert)
U.S. District Court, Middle District of Alabama, 2016/2018 (challenge to Alabama’s registry restrictions)
State of Wisconsin, 2015, 2016. Sexual offender risk assessment (Static-99/R norms)
U.S. District Court District of New Hampshire, 2015. Sexual offender risk assessment (time free effects)
Massachusetts Sex Offender Registry Board, 2014, 2016. Internet sexual offenders.
Superior Court of the State of Washington for Yakima County, 2013. Sexual offender risk assessment (civil
      commitment)
U.S. District Court for the Northern District of California, 2012. Sexual offender risk assessment (time free
      effects; internet free speech)
Washington State, 2007. Evaluation of sexual offenders
Provincial Court of Manitoba, 2004. Community supervision of sexual offenders (Long term offender)
Commonwealth of Massachusetts, 2002, 2004. Sex offender risk assessment
Provincial Court, New Brunswick, 2002, Sex offender risk assessment (Dangerous Offender Hearing)
Superior Court of the State of Arizona, 2000. Sex offender risk assessment
State of California, 1998. Sex offender risk assessment

Testimony for Legislative Review Committees

Government of Canada, Senate Committee on National Security and Defence, June, 2021. A federal
  framework to reduce recidivism (Bill-228).
Government of Canada, Senate Committee on Legal and Constitutional Affairs, February, 2012. Assessment
  and treatment of sex offenders.
Government of Canada, House of Commons, Standing Committee on Justice and Human Rights, Febraury,
  2011. Recidivism risk of sex offenders.

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                                                                                      R.K. Hanson, Ph.D.

Government of Canada, House of Commons, Standing Committee on Justice, Human Rights, Public Safety,
  and Emergency Preparedness, May, 2005. Assessment and treatment of sex offenders.

Dissemination through popular media

I have been regularly consulted by reporters and my research findings has been presented in a wide range of
popular media outlets, including the Economist, Scientific American, Scientific American: Mind, New York
Times, Atlantic Monthly, Wall Street Journal, CBC Radio (national and regional), CBC Television, CTV, Fox
News (live interview), Globe and Mail, Chatelaine, and the National Post.

Associate Editor

Sexual Abuse: A Journal of Research and Treatment, 1999 – 2010

Editorial Board

Criminal Justice and Behavior, 2006 -
Journal of Sexual Offender Civil Commitment: Science and the Law, 2005 - 2008
Sexual Abuse: A Journal of Research and Treatment, 2010 –
Sexual Offending: Theory, Research, and Prevention, 2020 -

Reviewer

I have been an an ad hoc reviewer for the following journals:

American Psychologist; Archives of Sexual Behavior; Canadian Journal of Behavioural Science; Canadian
Journal of Criminology and Criminal Justice; Cognitive Therapy and Research; Criminal Justice and Behavior;
Criminologie; International Journal of Forensic Mental Health; Journal of Abnormal Psychology; Journal of
Consulting and Clinical Psychology; Journal of Criminal Justice; Journal of Forensic Psychiatry and
Psychology; Journal of Interpersonal Violence; Journal of the American Academy of Psychiatry and the Law;
Journal of Quantitative Criminology; Journal of Threat Assessment and Management; Journal of Strategic
and Systemic Therapy; Justice Quarterly; Law and Human Behavior; Legal and Criminological Psychology;
Nature: Human Behaviour; Police Practice and Research: An International Journal; Psychological
Assessment; Psychological Bulletin; Professional Psychology; Psychology, Crime, & Law; Sexual Abuse.

Granting agencies:

Federal Ministry of Education and Research (Germany), Ontario Mental Health Foundation, Fonds pour la
Formation de Chercheurs et l’Aide à la Recherche (Québec), Fonds de la recherche en santé (Québec),
National Science Foundation (US), the Social Sciences and Humanities Research Council of Canada, and
Volkswagen Foundation (Germany).

And book publishers:


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                                                                                        R.K. Hanson, Ph.D.

American Psychological Association; Oxford University Press; Wiley.

Memberships in Professional Associations (current)

SAARNA: Society for the Advancement of Actuarial Risk Need Assessment
 - President (2020 - present)
Association for the Treatment of Sexual Abusers
  - Board of Directors, Chair of Research Committee (2009 – 2012)
Canadian Psychological Association
  - Secretary/Treasurer for the Criminal Justice Section (1996 – 2018)
International Association for the Treatment of Sexual Offenders
 - Scientific Advisor Committee (2000 - present)
Ontario College of Psychology (since 1987)

National/International Working Groups, Scientific Committees and Advisory Boards

Current:

Centre International de Criminologie Comparée (Montréal) – Collaborator-member (2010 to present).
Dutch Ministry of Justice, Expertise Center for Forensic Psychiatry. Scientific Council (2010 to present).
Forensic Psychology Research Centre, Carleton University (Ottawa). Research Associate (2013 to present).
Singapore National Council of Social Service, Research Consultant (2020 to present).
Hong Kong Correctional Services. Advisory Board/Accreditation (2018 to present).

Previous:

American Psychiatric Association. Advisor to the DSM-V Sexual Disorders Workgroup (2009-2013).
Correctional Service of Canada. Accreditation Panel (1998 – 2006).
Her Majesty's Prison Service (United Kingdom). Advisory Board/Accreditation Panel (1993 – 1999; 2000 –
       2001).
Hong Kong Correctional Services – Honorary Advisor of the Construction of Risks and Needs Assessments
       Tools for Sex Offenders (2010 to 2016).
Safer Society Press (Vermont, USA). Advisory Board (1995 – 1997; 1999 – 2000; 2007 to 2017).
Singapore Ministry of Social and Family Development. International Research Advisor. (2014 – 2020).
Social Sciences and Humanities Research Council of Canada – Committee Member (2011 - 2013).
Società Internazionale di Psicologia Giuridica (Rome; International Society of Psychology and Law). Scientific
       Committee (2008 to 2014).
Solicitor General Canada. Sexual Offender Working Group Member (1988).
Swedish Council on Technology Assessments in Health Care (SBU). External advisor (2010 – 2011, 2013).

Selected National/International consultation and training

TBS Review Board, Utrecht, Holland – 2009, 2012
New York State Office of Mental Health – 2009
Vatican, Holy See - 2003
                                                                                                             35




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                                                                                      R.K. Hanson, Ph.D.

Commonwealth of Massachusetts, Public defenders - 2002
Commonwealth of Massachusetts, Sex Offender Registry Board – 2000
Sex Offender Commitment Defenders Association – 2000
Singapore, Ministry of Social and Family Development - 2018
Wisconsin Sex Offender Treatment Network, 1998/2000 (video training tapes)
State of California, Department of Mental Health - 1997 – 2011, 2014, 2017
Parole Board of Canada – 1996 - 2012

As well, I have provided periodic training workshops for various Canadian and US federal and state
organisations (e.g., RCMP, State of Colorado, U.S. Department of Justice, State of Georgia).

Certified Master Trainer in the Static-99R, Static-2002R, STABLE-2007 and ACUTE-2007 risk tools.

Canadian government language competency in French E/C/B




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                        Attachment 2:
     Dr. R.K. Hanson Expert Testimony 2016-2021
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  Dr. R. Karl Hanson: Qualified as an expert witness, and contributions to court proceedings, 2016 to September, 2021

Date   Case                      Court/Tribunal          Written   Oral   Comments
2016   Jeffrey Ewert v           Federal Court           √         √      Risk assessment for offenders of Indigenous heritage.
       Government of             (Canada)                                 Scientific foundations of risk assessment (called by the
       Canada                                                             Government of Canada)
2016   Various                   Wisconsin               √                Affidavit prepared for the Wisconsin State Public Defenders Office
                                                                          concerning the appropriate use of the Static-99R risk assessment
                                                                          tools for individuals being considered for sexual offender civil
                                                                          commitment in Wisconsin.
2016   Various                   Massachusetts Sex       √                Declaration on risk assessment of individuals convicted of
                                 Offender Registry                        possession of child abuse images (called by the defense bar).
                                 Board
2016   John Doe #1 v Luther      United States           √                Sexual offender recidivism, risk assessment, expected time to
       Strange et al.            District Court;                          desistance, sexual offender registry (called by John Doe)
       Case No. 2:15-cv-606      Middle District of
       WKW                       Alabama
2016   G. v Government of        Federal Court           √         √      G challenged the Ontario and Canadian sexual offender registries
       Canada and Govt. Of       (Canada)                                 for individuals found not criminally responsible due to mental
       Ontario                                                            illness (called by the Government of Canada).
2017   Ndhlovu v. Govt of        Court of Queen’s        √         √      Sexual offender recidivism, risk assessment, sexual offender
       Canada                    Bench, Province of                       registry (called by the Government of Canada)
                                 Alberta.
2018   Commonwealth Of           Court of Common         √                Sexual offender recidivism, risk assessment, residual risk when
       Pennsylvania v. George    Pleas, Chester                           offence-free in the community (called by Mr. Torsilieri)
       J. Torsilieri (CP-15-     County,
       CR-0001570-2015)          Pennsylvania
2018   Gundy v. United States    Supreme Court of        √                Brief of Amici Curiae in support of petitioners (with A. Agan, C. L.
       (No. 17-6086)             the United States                        Carpenter, I. Ellman, E. Janus, R. A. Leo, C. Leon, J. Levenson, W.
                                                                          A. Logan, J.J. Prescott, M. Seto, J.Simon, C. Slobogin, R. Wollert,
                                                                          and F. Zimring) Sexual offender recidivism, risk assessment,
                                                                          residual risk when offence-free in the community
2018   DAVID MILLARD,            US 10th Circuit Court   √                Brief of Amici Curiae in support of petitioners (with A. Agan, C. L.
       EUGENE KNIGHT,            of Appeals                               Carpenter, I. Ellman, E. Janus, R. A. Leo, C. Leon, J. Levenson, W.
       ARTURO VEGA,                                                       A. Logan, R. D. Lytle, M.H. Miner, J.J. Prescott, L. L. Sample,
       Plaintiffs, v. MICHAEL                                             J.Simon, C. Slobogin, R. Wollert, and F. Zimring) Sexual offender
       RANKIN, in his official                                            recidivism, risk assessment, residual risk when offence-free in the
       capacity as Director of                                            community

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       the Colorado Bureau
       of Investigation,
       Defendant.
       (Appeal No. 17-1333)
       (D.C. No. 13-cv-
       02406-RPM)
2018   B.K. v. Gurbir Grewal,     US District Court,   √       Sexual offender recidivism, risk assessment, residual risk when
       Attorney General of        District of New              offence-free in the community (called by B.K.)
                                  Jersey
       the State of New
       Jersey, Docket No.:
       3:19-cv-5587-FLW-LHG
2018   Vasquez v. Foxx (No.       Supreme Court of     √       Brief of Amici Curiae in support of petitioners (with A. Agan, C. L.
       17-1061) (7th Cir.         the United States            Carpenter, I. Ellman, E. Janus, R. A. Leo, C. Leon, J. Levenson, W.
       2018)                                                   A. Logan, J.J. Prescott, M. Seto, J.Simon, C. Slobogin, R. Wollert,
                                                               and F. Zimring) Sexual offender recidivism, risk assessment,
                                                               residual risk when offence-free in the community. Residency
                                                               restrictions
2018   H.’s classification        Massachusetts Sex    √   √   Individualize risk assessment of Mr. H’s concerning his appropriate
       hearing                    Offender Registry            classification level for Massachusetts Sex Offender Registry
                                  Board
2018   State in the Interest of   United States        √       Sexual offender recidivism, risk assessment, residual risk when
       C.K., 233 N.J. 44 (2018)   District Court,              offence-free in the community (called by C.K.)
                                  District of New
                                  Jersey
2019   USA v Haymond              Supreme Court of     √       Brief of Amici Curiae in support of petitioners (with A. Agan, C. L.
                                  the United States            Carpenter, I. Ellman, E. Janus, R. A. Leo, C. Leon, J. Levenson, W.
                                                               A. Logan, J.J. Prescott, L. Sample, M. Seto, K. Socia, R. Wollert,
                                                               and F. Zimring) Sexual offender recidivism, risk assessment,
                                                               residual risk when offence-free in the community. Internet sexual
                                                               abuse images.
2019   D.’s classification        Massachusetts Sex    √       Individualize risk assessment of Mr. D. concerning his appropriate
       hearing                    Offender Registry            classification level for Massachusetts Sex Offender Registry
                                  Board
2020   various                    Massachusetts Sex    √       Declaration concerning the criteria for repetitive and compulsive
                                  Offender Registry            sexual crime behaviour in Massachusetts regulations (803 Code
                                  Board                        Mass. Regs. §§1.00, et seq.). (called by defense)


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2020   In Re Gregory Gadlin     Supreme Court of       √       Brief of Amici Curiae in support of petitioners (with A. Agan, C. L.
                                the State of                   Carpenter, I. Ellman, E. Janus, R. A. Leo, C. Leon, J. Levenson, W.
                                California                     A. Logan, R. D. Lytle, M. Miner, J. Monahan, J.J. Prescott, M. J.
                                                               Saks, L. Sample, J. Simon, K. Socia, R. Wollert, and F. Zimring)
                                                               Sexual offender recidivism, risk assessment, residual risk when
                                                               offence-free in the community. Parole eligibility.
2020   Does v Swearigan         United States          √   √   Sexual recidivism rates, risk assessment, residual risk when
       Case No. 18-cv-          District Court,                offence-free in the community (called by Does)
       24145-KMW                Southern District of
                                Florida
2020   Regina v. Monsieur       Cour de Québec         √   √   Validation of criminal and violent recidivism risk assessment tools;
       Joe Kritik                                              validation of risk assessment tools for individuals of Inuit Heritage.
       (Salowatseak)                                           (called by Kritik)
       Court file No. 635-01-
       014601-166
       (Dangerous Offender
       Sentencing Hearing)
2021   Criminal v Dor (182-     Magistrates Court of   √   √   Scientific evidence concerning evaluation of sexual recidivism risk,
       12-19)                   Tel Aviv – Yafo,               with specific comments on risk assessment practice in Israel.
                                Israel                         (called by Dor)
2021   In the Matter of         Superior Court of      √   √   Sexual recidivism rates, risk assessment, residual risk when
       Registrant M.H.          New Jersey Law                 offence-free in the community (called by M.H.)
       Megan’s Law No.:95-      Division – Somerset
       18-0024                  County
2021   Commonwealth v.          Court of Common        √   √   Sexual recidivism rates, risk assessment, residual risk when
       Torsilieri               Pleas – Chester                offence-free in the community (called by Torsilieri)
                                County,
                                Pennsylvania




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                        Attachment 3:
          Dr. R.K. Hanson Static-99R Tally Sheet
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                                   Static-99R – TALLY SHEET
Assessment date: _______________ Date of release from index sexual offence: _______________

  Item #                        Risk Factor                                         Codes                         Score
     1        Age at release                                 Aged 18 to 34.9                                  1
                                                             Aged 35 to 39.9                                  0
                                                             Aged 40 to 59.9                                 -1
                                                             Aged 60 or older                                -3
     2        Ever Lived With                                Ever lived with lover for at least two years?
                                                               Yes                                           0
                                                               No                                            1
     3        Index non-sexual violence -                        No                                          0
                Any Convictions                                  Yes                                         1
     4        Prior non-sexual violence -                        No                                          0
                Any Convictions                                  Yes                                         1
     5        Prior Sex Offences                               Charges                       Convictions
                                                             0                               0               0
                                                             1,2                             1               1
                                                             3-5                             2,3             2
                                                             6+                              4+              3
     6        Prior sentencing dates                            3 or less                                    0
                (excluding index)                               4 or more                                    1
     7        Any convictions for non-contact sex offences       No                                          0
                                                                 Yes                                         1
     8        Any Unrelated Victims                              No                                          0
                                                                 Yes                                         1
     9        Any Stranger Victims                               No                                          0
                                                                 Yes                                         1
    10        Any Male Victims                                   No                                          0
                                                                 Yes                                         1
                                                             Add up scores from individual risk factors
              Total Score
                                                      Total                     Risk Category
   Nominal Risk Categories                           -3, -2,                  I - Very Low Risk
       (2016 version)                                 -1, 0,              II - Below Average Risk
                                                     1, 2, 3                  III - Average Risk
                                                       4, 5              IVa - Above Average Risk
                                                  6 and higher         IVb -Well Above Average Risk

There [ was, was not] sufficient information available to complete the Static-99R score following the coding manual
(2016 version). I believe that this score [ fairly represents, does not fairly represent] the risk presented by
Mr. ________________ at this time. Comments/Explanation: ______________________________________




_______________________                     _________________________               _____________
(Evaluator name)                            (Evaluator signature)                   (Date)



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                        Attachment 4:
     Dr. R.K. Hanson, et al. Not High Risk Forever,
       Journal of Interpersonal Violence (2014)
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             Journal of Interpersonal
                    Violence
                   http://jiv.sagepub.com/




        High-Risk Sex Offenders May Not Be High Risk Forever
    R. Karl Hanson, Andrew J. R. Harris, Leslie Helmus and David Thornton
 J Interpers Violence 2014 29: 2792 originally published online 24 March 2014
                       DOI: 10.1177/0886260514526062

                 The online version of this article can be found at:
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                                     Article
                                                                                                                                                              Journal of Interpersonal Violence
                                                                                                                                                                  2014, Vol. 29(15) 2792­–2813
                                     High-Risk Sex Offenders                                                                                                             © The Author(s) 2014
                                                                                                                                                                     Reprints and permissions:
                                     May Not Be High Risk                                                                                                 sagepub.com/journalsPermissions.nav
                                                                                                                                                             DOI: 10.1177/0886260514526062
                                     Forever                                                                                                                                    jiv.sagepub.com




                                     R. Karl Hanson,1 Andrew J. R. Harris,2
                                     Leslie Helmus,3 and David Thornton4


                                     Abstract
                                     This study examined the extent to which sexual offenders present an enduring
                                     risk for sexual recidivism over a 20-year follow-up period. Using an aggregated
                                     sample of 7,740 sexual offenders from 21 samples, the yearly recidivism rates
                                     were calculated using survival analysis. Overall, the risk of sexual recidivism
                                     was highest during the first few years after release, and decreased substantially
                                     the longer individuals remained sex offense–free in the community. This
                                     pattern was particularly strong for the high-risk sexual offenders (defined by
                                     Static-99R scores). Whereas the 5-year sexual recidivism rate for high-risk
                                     sex offenders was 22% from the time of release, this rate decreased to 4.2%
                                     for the offenders in the same static risk category who remained offense-free
                                     in the community for 10 years. The recidivism rates of the low-risk offenders
                                     were consistently low (1%-5%) for all time periods. The results suggest that
                                     offense history is a valid, but time-dependent, indicator of the propensity to
                                     sexually reoffend. Further research is needed to explain the substantial rate
                                     of desistance by high-risk sexual offenders.

                                     Keywords
                                     sex offenders, risk assessment, desistance, recidivism


                                     1Public Safety Canada, Ottawa, Ontario, Canada
                                     2Forensic Assessment Group, Ottawa, Ontario, Canada
                                     3Carleton University, Ottawa, Ontario, Canada
                                     4Sand Ridge Secure Treatment Center, Mauston, WI, USA


                                     Corresponding Author:
                                     R. Karl Hanson, Community Safety and Countering Crime Branch, Public Safety Canada, 10th
                                     floor, 340 Laurier Avenue West, Ottawa, Ontario, Canada K1A 0P8.
                                     Email: karl.hanson@ps-sp.gc.ca.



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        Hanson et al.                                                                           2793

        Of all people who commit serious transgressions, sexual offenders are per-
        ceived as the least likely to change. The widespread implementation of long-
        term social controls that uniquely apply to sexual offenders (e.g., lifetime
        community supervision, registration) indicates that policy makers, and the pub-
        lic that they represent, expect the risk posed by this population to persist almost
        indefinitely. The reasons that sexual offenders are treated differently from other
        offenders are not fully known. Contributing factors could include the particu-
        larly serious harm caused by sexual victimization (Browne & Finkelhor, 1986;
        Resick, 1993), and the belief that there is “no cure” for deviant sexual interests
        (e.g., Colorado Sex Offender Management Board, 2011). In certain public dis-
        cussions, the special status of sexual offenders is sometimes justified by refer-
        ence to a perceived high recidivism rate (see Ewing, 2011, p. 78).
            Our belief that sexual offenders are intractable is in contrast to our open-
        ness to accept change among other offenders. Although certain restrictions
        and prejudices apply to all persons with a criminal record, the criminal justice
        systems of most Western democracies are predicated on the assumption that
        virtually all offenders could and should be reintegrated into society as law-
        abiding citizens. As articulated by Maruna and Roy (2007), the notion of
        personal reinvention by “knifing off” an old self is deeply rooted in the
        American psyche, and, quite likely, many other societies. It is an option, how-
        ever, that is elusive to sexual offenders.
            Sexual offenders vary in their risk for sexual recidivism. Previous meta-
        analyses have found that the average sexual recidivism rates of identified
        sexual offenders are in the 7% to 15% range after 5 to 6 years follow-up
        (Hanson & Morton-Bourgon, 2005; Helmus, Hanson, Thornton, Babchishin,
        & Harris, 2012). In contrast, sex offenders defined as high risk by the Violence
        Risk Scale–Sexual Offender Version (VRS-SO) have 10-year sexual recidi-
        vism rates between 56% and 70% (Beggs & Grace, 2010; Olver, Wong,
        Nicholaichuk, & Gordon, 2007).
            Even if certain subgroups of sexual offenders can be identified as high
        risk, they need not be high risk forever. Risk-relevant propensities could
        change based on fortunate life circumstances, life choices, aging, or deliber-
        ate interventions (such as attending treatment). It is not necessary, however,
        to prove that an offender has changed to revise a risk assessment. New infor-
        mation could also be used to downgrade (or upgrade) an individual’s risk,
        even when the reasons for the change are uncertain. Some of this information
        could be potentially available at the time of the index sex offense (e.g., psy-
        chopathy scores), whereas other information is only available later. In this
        article, we focus on one objective indicator of post-index behavior that could
        be used to revise risk assessments: the length of time that individuals do not
        reoffend when given the opportunity to do so.


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           General offenders are at greatest risk for new criminal behavior immedi-
       ately after release (Blumstein & Nakamura, 2009; Bushway, Nieubeerta, &
       Blokland, 2011; Howard, 2011). The longer they remain offense-free in the
       community, the lower their likelihood of ever again coming in contact with the
       criminal justice system. Blumstein and Nakamura (2009) introduced the con-
       cept of a redemption period, defined as the time at which an offender’s risk has
       declined sufficiently that it is indistinguishable from the risk posed by men with
       no prior criminal record. Similarly, G. T. Harris and Rice (2007) found that for
       most forensic psychiatric patients, the risk for violent recidivism declined the
       longer they remained offense-free in the community. The reduction in risk,
       however, was relatively modest, and did not apply to the highest risk offenders
       (defined by Violence Risk Appraisal Guide [VRAG] bins of 7, 8, or 9).
           Preliminary studies suggest that the overall time offense-free also applies
       to the risk of sexual recidivism among sexual offenders. A. J. R. Harris and
       Hanson (2004) compared the recidivism rates of a large sample of sexual
       offenders from the United States, United Kingdom, and Canada (n = 4,724)
       beginning at 4 start dates: time of release, and after 5, 10, and 15 years
       offense-free in the community. In their study, offense-free was defined as no
       new sexual or violent offenses. They found that the 5-year recidivism rates
       were 14.0% from time of release, compared with 7.0% after 5 years, 5.4%
       after 10 years, and 3.7% after 15 years offense-free. Similarly, Howard (2011)
       observed that the risk of sexual recidivism declined over the 4-year follow-up
       period in his study. Neither Howard nor A. J. R. Harris and Hanson (2004)
       examined whether the time-free effect applied equally to sexual offenders at
       different initial risk levels.
           Time-free adjustments for different risk levels (Static-99 risk categories)
       were presented by A. J. R. Harris, Phenix, Hanson, and Thornton (2003;
       Appendix I). For each category of risk, the longer they remained offense-free
       in the community (2-10 years), the lower their recidivism rates. For example,
       the 5-year sexual recidivism for the Static-99 high-risk group (scores of 6+)
       was 38.8% from time of release but only 13.1% after 4 years offense-free. The
       decline, however, was not completely consistent. For certain groups, the risk
       after 10 years offense-free was greater than the risk after 6 years. Given the
       modest sample size (n < 30 for some cells), it was difficult to know whether
       the observed variation was meaningful. Apart from A. J. R. Harris et al.’s
       (2003) preliminary analyses by risk level, none of the previous studies have
       examined potential moderators of the time-free effect, such as age and victim
       type (rapist/child molester).
           The purpose of the current study was to examine the effects of time
       offense-free in the community on the recidivism risk of sexual offenders.
       The study used an aggregate sample of 7,740 sexual offenders drawn from


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        21 different samples. Sexual recidivism rates were estimated from time of
        release, and then after 5 years and 10 years sexual offense–free in the com-
        munity. Based on Static-99R scores (Helmus, Thornton, Hanson, &
        Babchishin, 2012), the sample was divided into three risk categories: low,
        moderate (or typical), and high. As well, we examined a number of other
        potential moderators of the time-free effect, including age at release, coun-
        try of origin, victim type (rapist/child molester), and exposure to
        treatment.


        Method
        Measures
        Static-99R. Static-99R is a 10-item actuarial scale that assesses the recidivism
        risk of adult male sex offenders. The items and scoring rules are identical to
        Static-99 (Hanson & Thornton, 2000; see also www.static99.org) with the
        exception of updated age weights (Helmus, Thornton, et al., 2012). The 10
        items cover demographics, sexual criminal history (e.g., prior sex offense),
        and general criminal history (e.g., prior nonsexual violence).
            Static-99/R are the most widely used sexual offender risk tools in mental
        health and corrections (Archer, Buffington-Vollum, Stredny, & Handel, 2006;
        Interstate Commission for Adult Offender Supervision, 2007; McGrath,
        Cumming, Burchard, Zeoli, & Ellerby, 2010). Static-99R has high rater reli-
        ability (interclass correlation coefficient [ICC] = .89; McGrath, Lasher, &
        Cumming, 2012) and a moderate ability to discriminate between sexual
        recidivists and non-recidivists (area under the receiver operating characteris-
        tic curve [AUC] = .69, 95% CI [.66, .72], k = 22, n = 8,033; Helmus, Hanson,
        et al., 2012).
            Rather than use the standard four risk categories (see A. J. R. Harris et al.,
        2003), only three risk categories were used to maximize the sample size in
        each group (and increase the stability of the results). The three risk categories
        were created based on percentile ranks (Hanson, Lloyd, Helmus, & Thornton,
        2012): Specifically, scores one standard deviation below the population mean
        were considered “low” (−3, −2, −1), scores one standard deviation above the
        mean were considered “high” (5 and higher), and the remaining scores were
        considered “moderate” (0, 1, 2, 3, 4).


        Samples
        Twenty-one samples were selected from those used by Helmus and col-
        leagues to re-norm the Static-99/R (Helmus, 2009; Helmus, Hanson, et al.,



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       2012; Helmus, Thornton, et al., 2012); of the 23 samples with Static-99R data
       available, one was excluded because it did not have the information needed
       to compute survival analyses, and one was excluded because it was identified
       as a statistical outlier in previous research (Helmus, Hanson, et al., 2012).
       The data retained for analysis contained 7,740 offenders from 21 samples. A
       brief description of the included studies can be found in Table 1.


       Overview of Analyses
       The recidivism rates were estimated using life table survival analysis (Singer
       & Willet, 2003; Soothill & Gibbens, 1978). In this approach, the follow-up
       time is divided into discrete time intervals (12 months), and the proportion
       failing (reoffending) in each time interval is calculated. This quantity is
       referred to as a hazard rate, or the probability of reoffending in a specific time
       interval given that the individual has survived (not reoffended) up to that
       time.
           The only type of recidivism examined in the current study was sexual
       recidivism. Consequently, statements concerning the length of time that indi-
       viduals were “offense-free” should be interpreted as meaning that no new
       sexual offenses were detected during that time period.
           The 95% confidence interval for the observed proportions were calculated
       using Wald’s method: CI ± 1.96 (p(1 − p)/n)1/2 (Agresti & Coull, 1998).
       Proportions were interpreted as different when their 95% confidence inter-
       vals did not overlap, which corresponds to a difference test of approximately
       p < .01 (Cumming & Finch, 2005).

       Results
       Without controlling for time at risk, the observed sexual recidivism rate for
       all cases was 11.9% (n = 7,740), 2.9% for the low-risk cases (n = 890), 8.5%
       for the moderate cases (n = 4,858), and 24.2% for the high-risk cases (n =
       1,992). The average follow-up period was 8.2 years (SD = 5.2, range of 0.01
       to 31.5).
           Figure 1 plots the cumulative survival rates over time for the three risk
       categories. The survival curves were truncated when there were fewer than
       50 offenders at the end of the at-risk period (between 20 & 25 years). As can
       be seen from Figure 1, the risk of reoffending was highest in the first few
       years following release, and declined thereafter. This pattern was particularly
       strong for the high-risk offenders. During the first year after release, 7% reof-
       fended, and during the first five years after release, a total of 22% reoffended.
       In contrast, during the next 5 years (between 5 & 10 years), the survival curve


                                                          6
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                                                                      Table 1. Descriptive Information.
                                                                                                                                 5-Year                                                                    Median
                                                                                                        Age M                   Recidivism     Recidivism                           Mostly     Release     Year of
                                                                      Study                       n      (SD)      Country         (%)          Criteria      Type of Sample        Treated    Period      Release

                                                                      Allan, Grace, Rutherford,   492   42 (12) New Zealand         9.8      Charges        Prison treatment         Yes      1990-2000      1994
                                                                        and Hudson (2007)
                                                                      Bartosh, Garby, Lewis,      186   38 (12) United States      11.8      Charges        Routine correctional      —         1996         1996
                                                                        and Gray (2003)
                                                                      Bengtson (2008)             311   33 (10) Denmark            19.6      Charges        Forensic psychiatric     —        1978-1995      1986
                                                                      Bigras (2007)               483   43 (12) Canada              7.4      Charges        Correctional            Mixed     1995-2004      1999
                                                                                                                                                              Service of Canada
                                                                      Boer (2003)                 299   41 (12) Canada              3.7      Conviction     Correctional              —       1976-1994      1990
                                                                                                                                                              Service of Canada
                                                                      Bonta and Yessine           133   40 (10) Canada             17.3      Conviction     Preselected high risk   Mixed     1992-2004      1999




7
                                                                       (2005)
                                                                      Brouillette-Alarie and      228   36 (10) Canada             14.2      Conviction     Prison and                —       1979-2006      1996
                                                                       Proulx (2008)                                                                          community
                                                                                                                                                              treatment
                                                                      Cortoni and Nunes            73   42 (12) Canada              0.0      Charges        Prison treatment         Yes      2001-2004      2003
                                                                        (2007)
                                                                      Craissati, Bierer, and      209   38 (12) United              6.7      Conviction     Community               Mixed     1992-2005      1998
                                                                        South (2008)                            Kingdom                                       supervision




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                                                                      Eher, Rettenberger,         706   41 (12) Austria             4.9      Conviction     European prison           —       2000-2005      2003
                                                                        Schilling, and Pfafflin
                                                                        (2009)
                                                                      Epperson (2003)             177   37 (13) United States      11.3      Charges        Routine correctional     —        1989-1998      1995
                                                                      Haag (2005)                 198   37 (10) Canada             19.7      Conviction     Preselected high risk   Mixed       1995         1995

                                                                                                                                                                                                         (continued)




          2797
                                                                                                                                                                                                                       22-cv-10209-MAG-CI ECF No. 1-4, PageID.332 Filed 02/02/22 Page 10
          2798
                                                                      Table 1. (continued)

                                                                                                                                                 5-Year                                                                              Median
                                                                                                                 Age M                          Recidivism        Recidivism                                 Mostly       Release    Year of
                                                                      Study                             n         (SD)         Country             (%)             Criteria           Type of Sample         Treated      Period     Release

                                                                      Hanson, Harris, Scott,           702      42 (13) Canada                       8.7       Charges            Community                     —        2001-2005    2002
                                                                        and Helmus (2007)                                                                                           supervision
                                                                      Hill, Habermann,                   86     39 (11) Germany                      9.6       Conviction         Sexual homicide               —        1971-2002    1989
                                                                        Klusmann, Berner, and                                                                                       perpetrators
                                                                        Briken (2008)
                                                                      Johansen (2007)                  273      38 (11) United States                5.5       Charges            Prison treatment             Yes       1994-2000    1996
                                                                      Knight and Thornton              466      36 (11) United States               23.3       Charges            Civil commitment             —         1957-1986    1970
                                                                        (2007)                                                                                                      evaluation
                                                                      Långström (2004)               1,278      41 (12) Sweden                       5.4       Conviction         Routine European             No        1993-1997    1995




8
                                                                                                                                                                                    prison
                                                                      Nicholaichuk (2001)              281      35 (9)     Canada                   26.3       Conviction         High-intensity               Yes       1983-1998    1992
                                                                                                                                                                                    treatment
                                                                      Swinburne Romine,                680      38 (12) United States                8.8       Conviction         Community                   Mixed      1977-2007    1988
                                                                       Dwyer, Mathiowetz,                                                                                           treatment
                                                                       and Thomas (2008)
                                                                      Ternowski (2004)                 247      44 (13) Canada                       6.5       Charges            Prison treatment             Yes       1994-1998    1996
                                                                      Wilson, Cortoni, and             232      42 (11) Canada                      12.4       Charges            Preselected high risk        —         1994-2007    2002




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                                                                       Vermani (2007) and
                                                                       Wilson, Picheca, and
                                                                       Prinzo (2007)
                                                                      Total                          7,740      40 (12)                             10.1                                                                 1957-2007    1996

                                                                      Note. Five-year sexual recidivism rates were obtained from survival analysis. All samples had >50 cases at the beginning of the 5-year interval.
                                                                                                                                                                                                                                               22-cv-10209-MAG-CI ECF No. 1-4, PageID.333 Filed 02/02/22 Page 10
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        Figure 1. Time to sexual recidivism by risk level.


        descended only 7% (from 78% to 71%) representing yearly rates in the 1% to
        2% range. No high-risk sexual offender in this sample reoffended after 16
        years offense-free (126 high-risk cases started year 17, of which 61 were fol-
        lowed for 5 years or more). The cumulative survival function indicated that
        the long-term recidivism rate for the high-risk offenders was approximately
        32% starting from time of release.
            Figures 2 and 3 plot the cumulative survival rates for offenders who
        remained sexual offense–free for 5 or 10 years, respectively. Summaries of
        the data from Figures 1 through 3 are presented in Table 2. The high-risk
        offenders still reoffended more quickly than the other groups, but the recidi-
        vism rates for all groups were substantially lower than for offenders at time
        of release. Whereas the 10-year sexual recidivism rate of the high-risk offend-
        ers from time of release was 28.8%, the rate declined to 12.5% for those who
        remained offense-free for 5 years, then 6.2% for those who remained offense-
        free for 10 years (see Table 2). A 10-year sexual recidivism rate of 6.2% for
        the high-risk group (10 years offense-free) was less than the expected rate of
        moderate risk offenders from time-at-release (10.4%).



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       Figure 2. Time to sexual recidivism after 5 years sex offense–free in the
       community by risk level.


          Inspection of Table 2 indicates that the expected recidivism rates were
       approximately cut in half for each 5 years that the offender was sexual
       offense–free in the community. For example, the 5-year sexual recidivism
       rate of the high-risk groups was 22.0% at release, 8.6% after 5 years, and
       4.2% after 10 years offense-free. The same pattern applied to the moderate-
       risk offenders (and the full sample). In contrast, the recidivism rates for the
       low-risk offenders were consistently low (1%-5%), and did not change mean-
       ingfully based on years offense-free. For example, the 10-year sexual recidi-
       vism rate for the low-risk offenders was 3.1% from time of release and 3.4%
       for those who remained offense-free in the community for 10 years.
          Table 3 compares the observed recidivism rate for the first five years with
       the recidivism rates for years 6 to 10 and years 11 to 15. These comparisons
       are reported as risk ratios, with the rates for subsequent 5-year periods divided
       by the rate for the first five years after release. For example, a risk ratio of
       0.50 would indicate that the recidivism rate was cut in half, and a rate of 0.25
       would indicate that the recidivism rate was ¼ the initial rate. All rate esti-
       mates were created from life table survival analysis.



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        Figure 3. Time to sexual recidivism after 10 years sex offense–free in the
        community by risk level.


           As can be seen in Table 3, the time-free effect was similar across the vari-
        ous subgroups examined, including those defined by age at release, treatment
        involvement, preselected high risk/high need, country, year of release, and
        victim type (adults, children, related children). As expected, there were
        meaningful differences in the initial recidivism rates; however, the relative
        risk reductions were similar across all subgroups. The risk ratios comparing
        the rates for years 6 to 10 with years 1 to 5 were tightly clustered between
        0.33 and 0.59 (median of 0.46). The risk ratios comparing years 11 to 15 with
        years 1to 5 varied between 0.07 and 0.36, with the exception of the low-risk
        group, which had a risk ratio of 0.78 (median of 0.28).

        Discussion
        The purpose of this study was to examine the extent to which high-risk sexual
        offenders remain high risk over time. As has been found for general offenders
        and violent offenders, the risk of sexual recidivism was highest in the first
        few years after release, and then decreased the longer they remained



                                                         11
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                                                                      Table 2. Sexual Recidivism Rates From Survival Analyses (Including Confidence Intervals).




          2802
                                                                                                                         5-Years Follow-up                   10-Years Follow-up                 15-Years Follow-up
                                                                                                   n at Start of
                                                                                                    Follow-up        %        95% CI          (n)        %        95% CI          (n)       %         95% CI         (n)
                                                                      Complete sample
                                                                        From release              7,740            10.1      [9.4, 10.8]   (4,735)     14.2     [13.3, 15.2] (1,847) 16.6           [15.4, 17.9]   (755)
                                                                        5 Years offense-free      4,735             4.6      [3.9, 5.4]    (1,847)      7.3      [6.1, 8.5]   (755)   9.0            [7.5, 10.5]   (420)
                                                                        10 Years offense-free     1,847             2.8      [1.8, 3.8]     (755)       4.6      [3.1, 6.0]   (420)   4.8            [3.3, 6.3]    (102)
                                                                      Low (scores of −3 to −1)
                                                                        From release                890             2.2   [1.2, 3.2]        (601)       3.1      [1.8, 4.4]    (234)       4.7       [2.1, 7.4]      (88)
                                                                        5 Years offense-free        601             0.95 [0.12, 1.8]        (234)       2.6     [0.12, 5.1]     (88)       4.3      [0.23, 8.4]      (53)
                                                                        10 Years offense-free       234             1.7   [0.0, 4.1]         (88)       3.4      [0.0, 7.4]     (53)       —            —             —




12
                                                                      Moderate (scores of 0 to 4)
                                                                        From release              4,858             6.7      [5.9, 7.4]    (3,081)     10.4      [9.3, 11.4] (1,175) 12.6           [11.1, 14.0]   (496)
                                                                        5 Years offense-free      3,081             4.0      [3.1, 4.8]    (1,175)      6.3      [4.9, 7.7]   (496)   8.0            [6.1, 9.8]    (280)
                                                                        10 Years offense-free     1,175             2.4      [1.2, 3.6]     (496)       4.2      [2.4, 5.9]   (280)   4.5            [2.7, 6.4]     (69)
                                                                      High (scores of 5+)
                                                                        From release              1,992            22.0     [20.1, 24.0]   (1,053)     28.8     [26.4, 31.1]   (438)     31.8       [29.0, 34.5]   (171)
                                                                        5 Years offense-free      1,053             8.6      [6.6, 10.6]    (438)      12.5      [9.6, 15.3]   (171)     14.3       [10.8, 17.7]    (87)




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                                                                        10 Years offense-free       438             4.2      [2.0, 6.4]     (171)       6.2      [3.1, 9.3]     (87)      —             —            —

                                                                      Note. “—” Indicates insufficient numbers to make useful estimates (< 50 cases per cell). Each column presents information for a specified follow-up
                                                                      period (i.e., 5, 10, or 15 years). The rows denote when the follow-up period starts. For example, the second row of data is for offenders in the
                                                                      overall sample who did not commit a sex offense in the first five years. The 5-year follow-up data for these offenders starts after their 5 years of
                                                                      offense-free survival in the community (i.e., it reflects recidivism rates 10 years from their initial release date).
                                                                                                                                                                                                                             22-cv-10209-MAG-CI ECF No. 1-4, PageID.337 Filed 02/02/22 Page 11
                                                                      Table 3. Relative Reductions in Sexual Recidivism Based on Comparing the Rate During the First Five Years in the Community
                                                                      With the 5-Year Rates Starting After 5 and 10 Offense-Free Years in the Community.

                                                                                                                        Initial 5-Year         Relative Rate After 5      Relative Rate After 10
                                                                                                                       Recidivism Rate          Years Offense-Free         Years Offense-Free
                                                                                                       Sample Size       (Years 1-5)               (Years 6-10)               (Years 11-15)
                                                                                                        at Start of
                                                                                                        Follow-up       %           (n)       Risk Ratio        (n)      Risk Ratio        (n)
                                                                      Complete sample                    7,740         10.1       (4,735)        0.46         (1,847)       0.28          (755)
                                                                      Risk level (Static-99R scores)
                                                                        Low (scores of −3 to −1)           890          2.2        (601)         0.44          (234)        0.78           (88)
                                                                        Moderate (scores of 0 to 4)      4,858          6.7       (3,081)        0.59         (1,175)       0.36          (496)
                                                                        High (scores of 5+)              1,992         22.0       (1,053)        0.39          (438)        0.19          (171)




13
                                                                      Age at release
                                                                        Immature (18 to 30 years)        1,818         13.74      (1,130)        0.46          (524)        0.31          (260)
                                                                        Young (30 to 50 years)           4,434         10.07      (2,719)        0.44         (1,051)       0.21          (411)
                                                                        Prime of life (50+ years)        1,488          5.44       (866)         0.52          (272)        0.31           (84)
                                                                      Sample type
                                                                        Routine correctional             4,040          6.73      (2,248)        0.55          (671)         —
                                                                        Preselected treatment            1,920          8.85      (1,442)        0.46          (642)        0.32          (420)




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                                                                        Preselected high risk/needs      1,621         20.42       (963)         0.37          (491)        0.16          (294)
                                                                      Country
                                                                        United States                    1,782         12.70      (1,318)        0.33          (810)        0.15          (552)
                                                                        Canada                           2,875         11.10      (1,298)        0.48          (379)        0.16           (55)
                                                                        Other                            3,082          7.63      (2,118)        0.60          (658)         —

                                                                                                                                                                                         (continued)




          2803
                                                                                                                                                                                                       22-cv-10209-MAG-CI ECF No. 1-4, PageID.338 Filed 02/02/22 Page 11
          2804
                                                                      Table 3. (continued)

                                                                                                                                   Initial 5-Year             Relative Rate After 5            Relative Rate After 10
                                                                                                                                  Recidivism Rate              Years Offense-Free               Years Offense-Free
                                                                                                              Sample Size           (Years 1-5)                   (Years 6-10)                     (Years 11-15)
                                                                                                               at Start of
                                                                                                               Follow-up           %             (n)          Risk Ratio           (n)         Risk Ratio           (n)
                                                                      Year of release (sample median)
                                                                        1970-1995                                4,268           11.38         (3,278)           0.42           (1,628)           0.24            (734)
                                                                        1996-2003                                3,472            8.40         (1,457)           0.47            (219)             —
                                                                      Victim type




14
                                                                        Adults (rape)                            2,182             9.95        (1,262)           0.45            (443)            0.24            (102)
                                                                        Children (all child molesters)           3,188             8.59        (1,887)           0.42            (807)            0.19            (351)
                                                                        Related children (incest)                1,539             4.17         (985)            0.50            (418)            0.07            (179)

                                                                      Note. In the two right-hand columns, the “rate” represents the 5-year recidivism percentage observed in either the “after 5 years” or “after 10
                                                                      years” offense-free in the community(as seen in Table 2) divided by the observed recidivism rate in the first five years in the community. Using
                                                                      the “Moderate” Static-99R row as an example, the expected 5-year recidivism rate for the initial sample (n = 4,858) is 6.68%. For those who did




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                                                                      not reoffend in the first five years (n = 3,081), between the 6th and 10th year of follow-up the recidivism rate for this group is 3.96%. The 5-year
                                                                      recidivism rate for those who survived the first five years (3.96%) is then divided by the initial 5-year recidivism rate (6.68%; 3.96/6.68 = 0.59) which
                                                                      is the risk ratio included in the table. This finding indicates that the recidivism rate for men with “Moderate” Static-99R scores during the period
                                                                      between years 6 and 10 of follow-up has reduced to about 60% of what it was during the first five years of release. This method of calculation is used
                                                                      throughout Table 3.
                                                                                                                                                                                                                                  22-cv-10209-MAG-CI ECF No. 1-4, PageID.339 Filed 02/02/22 Page 11
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        offense-free in the community. The decline in hazard rates was greatest for
        sexual offenders who had been identified as high risk at time of release. For
        low-risk offenders, time free had little influence: their risk was consistently
        low (1%-5%). The same relative risk reductions were observed for subgroups
        categorized by age at release, treatment involvement, country, and victim
        type.
            The current findings indicate static risk factors (e.g., prior offenses, victim
        characteristics) are valid, but time-dependent, markers for risk-relevant pro-
        pensities. If high-risk sexual offenders do not reoffend when given the oppor-
        tunity to do so, then there is clear evidence that they are not as high risk as
        initially perceived. The current study found that, on average, their recidivism
        risk was cut in half for each 5 years that they remained offense-free in the
        community.
            Risk predictions describe lives that have yet to be fully lived; conse-
        quently, the more we know of an offender’s life, the easier it is to predict the
        remainder. At the time of release, the best estimate of the likelihood of recidi-
        vism is the base rate for the group that the offender most closely resembles
        (i.e., offenders with the same risk score). Once given the opportunity to reof-
        fend, the individuals who reoffend should be sorted into higher risk groups,
        and those who do not reoffend should be sorted into lower risk groups. This
        sorting process can result in drastic changes from the initial risk estimates.
        Based on the current results, for example, 22 out of 100 high-risk offenders
        would be expected to be charged or convicted of a new sexual offense during
        the 10 years following release. In contrast, the rate would be 4 out of 100 for
        those who survive sexual offense–free for 10 years. This low recidivism rate
        among the survivors suggests that their initial designation as “high-risk” sex-
        ual offenders was either incorrect, or that something has changed.
            The current study did not address the reasons for the strong empirical
        association between years crime-free and desistance. There are several differ-
        ent mechanisms that could lead to this effect. The study did not directly
        address whether the offenders remaining offense-free were different individ-
        uals from the recidivists. Consequently, any apparent “effect” of time offense-
        free could be attributed to pre-existing differences between offenders. Given
        that criminal history variables (including Static-99R scores) are fallible indi-
        cators of risk-relevant propensities, some individuals who have a conviction
        for a sexual offense (or even a high Static-99R score) may never have had an
        enduring propensity toward sexual crime in the first place.
            It is also possible that certain high-risk offenders genuinely changed. All
        the offenders in the current study had been convicted of at least one sexual
        offense, which would indicate a non-negligible risk at one time. Furthermore,
        it would be difficult to get a high score (5+) on Static-99R without an extended


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       period of engaging in sexual and general crime. Nevertheless, a substantial
       portion of the high-risk offenders survived throughout the complete follow-
       up period without any new crimes being detected. Given that it is likely that
       at least some of the offenders changed in a prosocial direction, further
       research is needed to increase our capacity to distinguish between desisters
       and future recidivists.
           The only type of recidivism examined in the current study was sexual
       recidivism (as measured by charges and convictions). Consequently, it is
       quite likely that evaluators would have increased capacity to discriminate
       recidivists from non-recidivists by monitoring ongoing involvement in non-
       sexual crime, and by measuring indicators of commitment to prosocial goals.
       In particular, structured methods for evaluating sexual offenders’ crimino-
       genic needs have been demonstrated to be incremental to Static-99/R in the
       prediction of sexual recidivism for prison samples (Beggs & Grace, 2010;
       Knight & Thornton, 2007; Olver et al., 2007) and community samples
       (McGrath et al., 2012).
           Even if the reasons for the reduced risk over time are not fully known, the
       current results have clear implications for the community supervision of sex-
       ual offenders. Following Andrews and Bonta’s (2010) risk principle, high-
       risk sexual offenders should receive the most intensive service and monitoring
       during the early part of their community sentence. Subsequently, the intensity
       of interventions could decline to the level normally applied to moderate-risk
       individuals when offenders who were initially high risk remain offense-free
       for several years.
           The current findings also suggest that certain long-term supervision and
       monitoring policies (e.g., lifetime registration) may be being applied to a
       substantial number of individuals with a low risk for sexual offending.
       Although the moral consequences of sexual offending may last forever, the
       current results suggest that sexual offenders who remain offense-free could
       eventually cross a “redemption” threshold in terms of recidivism risk, such
       that their current risk for a sexual crime becomes indistinguishable from the
       risk presented by nonsexual offenders.
           Previous large sample studies have found that the likelihood of an “out of
       the blue” sexual offense committed by offenders with no history of sexual
       crime is 1% to 3%: 1.1% after 4 years (Duwe, 2012); 1.3% after 3 years
       (Langan, Schmitt, & Durose, 2003); 3.2% after 4.5 years (Wormith, Hogg, &
       Guzzo, 2012). In comparison, only 2 of 100 moderate-risk sexual offenders
       in the current study committed a new sexual offense during a 5-year follow-
       up period if they were able to remain 10 years offense-free in the community.
       The high-risk offenders in the current sample, however, never fully resem-
       bled nonsexual offenders. Although their recidivism rates declined


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        substantially when they were 10 years offense-free, the 5-year recidivism rate
        of the initially high-risk offenders (4.2%) was still higher than the expected
        rate for nonsexual offenders (1%-3%).


        Limitations
        The current results were predicated on the assumption that release to the
        community provided opportunities for offending. However, it is possible that
        certain forms of conditional release are sufficiently confining as to meaning-
        fully limit opportunities (e.g., house arrest). The nature of the supervision
        conditions of the offenders in the current study were not fully known; how-
        ever, given the typical practices in the jurisdictions for these time periods, it
        would be likely that the offenders had real opportunities to reoffend once
        released to the community.
           Some evidence that supervision practices may moderate the time-free
        effect is provided in a recent study by Zgoba et al. (2012). This follow-up
        study of 1,789 adult sex offenders from four states (Minnesota, New Jersey,
        Florida, and South Carolina), did not find that risk declined with time in the
        community. Overall, there was a constant hazard rate of 1% per year for first
        ten years (e.g., 5% after 5 years; 10% after 10 years). The reasons for the
        constant hazard rate is not known, but could be related to strict supervision
        practices and high rates of technical breaches observed in these samples.
           Another limitation is that recidivism was measured by officially recorded
        charges or convictions. It is well known that official records as an indicator
        of recidivism have high specificity (those identified are most likely guilty)
        but low sensitivity (many offenses are undetected). Even if the detection rate
        per offense is low, however, the detection rate per offender could be high if
        offenders commit multiple offenses. As well, the most serious offenses are
        those most likely to be reported to the police (Fisher, Daigle, Cullen, &
        Turner, 2003).


        Conclusions
        This study found that sexual offenders’ risk of serious and persistent sexual
        crime decreased the longer they had been sex offense–free in the community.
        This pattern was particularly evident for high-risk sexual offenders, whose
        yearly recidivism rates declined from approximately 7% during the first cal-
        endar year, to less than 1% per year when they have been offense-free for 10
        years or more. Consequently, intervention and monitoring resources should
        be concentrated in the first few years after release, with diminishing attention



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       and concern for individuals who remain offense-free for substantial periods
       of time.

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        Leslie Helmus is a PhD student in forensic psychology at Carleton University in
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        coding rules for the latter). She has received numerous grants and academic awards
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        David Thornton obtained his PhD in psychology in the United Kingdom. About a
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        tools (Static-99, Risk Matrix 2000, etc.) and in the development of frameworks for
        evaluating psychological risk factors (the Structured Risk Assessment framework).
        Recent work has included research into the effects of eating salmon on executive
        functioning, an fMRI study of sexual sadists, and a review of the role of protective
        factors in sexual recidivism.




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                         Attachment 5:
       Dr. R.K. Hanson, et al. Not Always a Sexual
                    Offender (2018)
                                                                                                                     Case 2:22-cv-10209-MAG-CI ECF No. 1-4, PageID.350 Filed 02/02/22 Page 123 of 170

                                                                                                                     Psychology, Public Policy, and Law                                                                                    © The Crown in Right of Canada (Public Safety), 2017
                                                                                                                     2018, Vol. 24, No. 1, 48 – 63                                                                                                         http://dx.doi.org/10.1037/law0000135




                                                                                                                              Reductions in Risk Based on Time Offense-Free in the Community:
                                                                                                                                   Once a Sexual Offender, Not Always a Sexual Offender
                                                                                                                                                     R. Karl Hanson                                                               Andrew J. R. Harris
                                                                                                                                                   Public Safety Canada                                                                offenderrisk.com


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                                                                                                                                                Johns Hopkins University                                                     Victoria University of Wellington
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                                                                                                                                                                                            Madison, Wisconsin

                                                                                                                                                   Whereas there is a common assumption that most individuals with a criminal record can be eventually
                                                                                                                                                   reintegrated into the community, the public has different expectations for sexual offenders. In many
                                                                                                                                                   countries, individuals with a history of sexual offenses are subject to a wide range of long-term
                                                                                                                                                   restrictions on housing and employment, as well as public notification measures intended to prevent them
                                                                                                                                                   from merging unnoticed into the population of law-abiding citizens. This article examines the testable
                                                                                                                                                   assumption that individuals with a history of sexual crime present an enduring risk for sexual recidivism.
                                                                                                                                                   We modeled the long-term (25-year) risk of sexual recidivism in a large, combined sample (N ⬎ 7,000).
                                                                                                                                                   We found that the likelihood of new sexual offenses declined the longer individuals with a history of
                                                                                                                                                   sexual offending remain sexual offense-free in the community. This effect was found for all age groups
                                                                                                                                                   and all initial risk levels. Nonsexual offending during the follow-up period increased the risk of
                                                                                                                                                   subsequent sexual recidivism independent of the time free effect. After 10 to 15 years, most individuals
                                                                                                                                                   with a history of sexual offenses were no more likely to commit a new sexual offense than individuals
                                                                                                                                                   with a criminal history that did not include sexual offenses. Consequently, policies designed to manage
                                                                                                                                                   the risk of sexual recidivism need to include mechanisms to adjust initial risk classifications and
                                                                                                                                                   determine time periods where individuals with a history of sexual crime should be released from the
                                                                                                                                                   conditions and restrictions associated with the “sexual offender” label.

                                                                                                                                                   Keywords: sex offenders, desistance, public protection, recidivism




                                                                                                                       Sexual violence is a serious public health problem (Pereda,                         criminal sanctions (Lynch, 2002) and long-term social control
                                                                                                                     Guilera, Forns, & Gómez-Benito, 2009; Stoltenborgh, van Ijzen-                        policies for individuals convicted of sexual offenses (Levenson,
                                                                                                                     doorn, Euser, & Bakermans-Kranenburg, 2011; World Health Or-                          Brannon, Fortney, & Baker, 2007; Lieb, 2003; Mears, Mancini,
                                                                                                                     ganization, 2013) that increases the likelihood of mental, physical,                  Gertz, & Bratton, 2008). Policymakers’ concerns about the life-
                                                                                                                     and behavioral health problems across the life course (Campbell &                     long, enduring risk presented by individuals with a history of
                                                                                                                     Wasco, 2005; Chen et al., 2010; Hillberg, Hamilton-Giachritsis, &                     sexual crime has resulted in diverse social control mechanisms that
                                                                                                                     Dixon, 2011; Kendler et al., 2000; Maniglio, 2009; Nelson et al.,                     apply uniquely to sexual offenders, such as sexual offender regis-
                                                                                                                     2002; Paras et al., 2009; World Health Organization, 2013). Not                       tries, community notification, and residency restrictions (Laws,
                                                                                                                     surprisingly, there is strong public support for severe, lengthy                      2016; Letourneau & Levenson, 2010; Logan, 2009).



                                                                                                                        This article was published Online First October 19, 2017.                             An earlier version of this study was presented by Andrew J. R. Harris
                                                                                                                        R. Karl Hanson, Public Safety Canada; Andrew J. R. Harris, offender-               and R. Karl Hanson at the 29th Annual Research and Treatment Confer-
                                                                                                                     risk.com; Elizabeth Letourneau, Bloomberg School of Public Health, Johns              ence of the Association for the Treatment of Sexual Abusers (October
                                                                                                                     Hopkins University; L. Maaike Helmus, Department of Psychology, Vic-                  2010, Phoenix, AZ) and included in a declaration by R. Karl Hanson for the
                                                                                                                     toria University of Wellington; David Thornton, Madison, Wisconsin.                   U.S. District Court for the Northern District of California (Doe v. Harris,
                                                                                                                        We thank Alfred Allan, Tony Beech, Susanne Bengtson, Jacques Bigras,               2012 [Internet free speech]).
                                                                                                                     Sasha Boer, Jim Bonta, Sébastien Brouillette-Alarie, Franca Cortoni,                     R. K. Hanson, A. J. R. Harris, L. M. Helmus and D. Thornton are authors
                                                                                                                     Jackie Craissati, Margretta Dwyer, Reinhard Eher, Doug Epperson, Tina                 and certified trainers of the Static-99R risk tool. The copyright for Static-
                                                                                                                     Garby, Randy Grace, Steve Gray, Andy Haag, Leigh Harkins, Steve                       99R is held by the Government of Canada.
                                                                                                                     Johansen, Ray Knight, Kevin Nunes, Niklas Långström, Terry Nicholai-                     The views expressed are those of the authors and not necessarily those
                                                                                                                     chuk, Jean Proulx, Martin Rettenberger, Rebecca Swinburne Romine,                     of Public Safety Canada.
                                                                                                                     Daryl Ternowski, Robin Wilson, and Annie Yessine for permission to use                   Correspondence concerning this article should be addressed to R. Karl
                                                                                                                     their data, and Seung C. Lee and Andrew E. Brankley for help with the                 Hanson, Psychology Department, Carleton University, 1125 Colonel By
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                                                                                                                                                                         NOT ALWAYS A SEXUAL OFFENDER                                                              49

                                                                                                                       This article examines the testable assumption that adult males                Furthermore, long-term (10⫹ years) studies of sexual recidi-
                                                                                                                     who have been convicted of a sexual offense actually present an              vism consistently observe the highest rates during the first few
                                                                                                                     enduring risk for sexual recidivism (for information on individuals          years after release, with gradually declining rates of recidivism
                                                                                                                     who have committed sexual offenses as youths, see Caldwell,                  thereafter (Blokland & van der Geest, 2015; Cann, Falshaw, &
                                                                                                                     2016). Currently, there is consensus that the recidivism risk of             Friendship, 2004; Hanson, Harris, Helmus, & Thornton, 2014;
                                                                                                                     individuals convicted of nonsexual offenses declines the longer              Hanson, Steffy, & Gauthier, 1993; Harris & Hanson, 2004;
                                                                                                                     they remain offense-free in the community (Blumstein & Naka-                 Prentky, Lee, Knight, & Cerce, 1997; Soothill & Gibbens, 1978).
                                                                                                                     mura, 2009; Bushway, Nieuwbeerta, & Blokland, 2011; Kurly-                   Rather than focusing on the reduction of risk based on time
                                                                                                                     chek, Bushway, & Brame, 2012). As Kurlychek et al. (2012)                    offense-free, early studies emphasized the enduring nature of the
                                                                                                                     wrote:                                                                       risk of sexual offenders (Hanson et al., 1993; Soothill & Gibbens,
                                                                                                                                                                                                  1978), particularly for sexual offenders against children (Hanson,
                                                                                                                         The general tendency for recidivism risk to decline over time is         2002). The notion that sexual offenders present an enduring risk is
                                                                                                                         among the best replicated results in empirical criminology. It is        now well entrenched among the public (Harris & Socia, 2016;
                                                                                                                         probably not an exaggeration to say that any recidivism study with
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                                                                                                                                                                                                  Levenson et al., 2007), policymakers (Sample & Kadleck, 2008),
                                                                                                                         more than a 2- or 3-year follow-up period that did not find a
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                                                                                                                                                                                                  and those working in the criminal justice system (Bumby &
                                                                                                                         downward-sloping marginal hazard would be immediately suspect.
                                                                                                                                                                                                  Maddox, 1999; Lawson & Savell, 2003; Zevitz & Farkas, 2000).
                                                                                                                         (p. 75)

                                                                                                                        These “time offense-free” effects are congruent with the crim-                        Desistance From Sexual Offending
                                                                                                                     inal justice systems of most Western democracies, in which there
                                                                                                                     is an expectation and public acceptance that most individuals who               There is no single accepted definition of desistance for a sexual
                                                                                                                     have been convicted of a crime can be successfully reintegrated              offender. Even if the risk of sexual recidivism declines with time
                                                                                                                     into society. The same expectation and acceptance does not hold              offense-free, even small residual risk could be worrisome given the
                                                                                                                     for sexual offenders.                                                        serious consequences of sexual victimization. For general offend-
                                                                                                                        The modern wave of sex crime policy can be dated to the 1980s             ers, desistance is often defined as a marked reduction in the
                                                                                                                     and early 1990s, typically introduced in direct response to sexually         propensity to commit crime, and is typically operationalized in
                                                                                                                     motived murders of children by recidivistic offenders (e.g., Joseph          research studies by an absence of self-reported or officially re-
                                                                                                                     Fredericks [Petrunik & Weisman, 2005] in Canada; the kidnapping              corded crime for a specified number of years (e.g., 3 to 10; see
                                                                                                                     and murders of Megan Kanka and Jacob Wetterling in the United                review by Kazemian, 2007). Desistance for general offenders has
                                                                                                                     States). These and other rare but horrific offenses were highly              also been defined as a reduction of risk (individual propensity to
                                                                                                                     publicized, contributing to what some have called a “panic” about            commit crime) that is equal to or less than the rate of spontaneous
                                                                                                                     sexually violent predators (Logan, 2009, p. 86) and cementing                new offenses among individuals who have never been appre-
                                                                                                                     views about individuals with a history of sexual crime as uni-               hended for a criminal offense (Bushway et al., 2011; Bushway,
                                                                                                                     formly high risk for recidivism and resistant to rehabilitation              Piquero, Broidy, Cauffman, & Mazerolle, 2001; Göbbels, Ward, &
                                                                                                                     (Harris & Socia, 2016). America in the 1980s and early 1990s was             Willis, 2012; Kazemian, 2007).
                                                                                                                                                                                                     For sexual offenders, a plausible threshold for desistance is
                                                                                                                     also faced with seemingly unstoppable increases in violent crime
                                                                                                                                                                                                  when their risk for a new sexual offense is no different than the
                                                                                                                     rates, accompanied by a shift in US sentiment toward punitiveness
                                                                                                                                                                                                  risk of a spontaneous sexual offense among individuals who have
                                                                                                                     (Lynch, 2002). Also contributing to the rapid, widespread propa-
                                                                                                                                                                                                  no prior sexual offense history but who have a history of nonsexual
                                                                                                                     gation of these sex crime policies was increased U.S. federal
                                                                                                                                                                                                  crime. If we are going to manage the risk of an individual with a
                                                                                                                     involvement in state criminal law, and increasingly effective citi-
                                                                                                                                                                                                  history of sexual crime differently from an individual with a
                                                                                                                     zen demands on politicians to do something to address sexual
                                                                                                                                                                                                  history of nonsexual crime, then their risk of sexual offending
                                                                                                                     offending, often by the parents of child victims (Logan, 2009;
                                                                                                                                                                                                  should be perceptibly different. A recent review of 11 studies from
                                                                                                                     Zimring, 2009). The net result was public protection policies that
                                                                                                                                                                                                  diverse jurisdictions (n ⫽ 543,024) found a rate of spontaneous
                                                                                                                     uniquely targeted individuals convicted of sexual offenses: post-
                                                                                                                                                                                                  sexual offenses among nonsexual offenders to be in the 1% to 2%
                                                                                                                     release civil commitment, registration, public notification, and
                                                                                                                                                                                                  range after 5 years (Kahn, Ambroziak, Hanson, & Thornton,
                                                                                                                     residence, employment, and education restrictions (Laws, 2016;
                                                                                                                                                                                                  2017). This is meaningfully lower than the sexual recidivism rate
                                                                                                                     Letourneau & Levenson, 2010; Logan, 2009; Zimring, 2009).
                                                                                                                                                                                                  of adults who have already been convicted of a sexual offense.
                                                                                                                                                                                                  However, it is not zero. A sexual recidivism rate of less than 2%
                                                                                                                                      Rates of Sexual Recidivism                                  after 5 years is also a defensible threshold below which individuals
                                                                                                                                                                                                  with a history of sexual crime should be released from conditions
                                                                                                                        Follow-up studies of adult males with a history of sexual crime           associated with the sexual offender label. From a risk management
                                                                                                                     typically find sexual recidivism rates of between 5% and 15% after           perspective, resources that may be spent on these very low risk
                                                                                                                     5 years, and between 10% and 25% after 10 years (see reviews by              sexual offenders would be better spent on higher risk offenders,
                                                                                                                     Hanson & Bussière, 1998; Harris & Hanson, 2004; Helmus, Han-                 prevention of sexual crime, and victim services.
                                                                                                                     son, Thornton, Babchishin, & Harris, 2012). These observed rates
                                                                                                                     underestimate the real recidivism rates because not all sexual
                                                                                                                                                                                                                Statistical Models of Desistance
                                                                                                                     offenses are reported and available in the databases used by
                                                                                                                     researchers. Nevertheless, these rates do not support the popular              The current study uses long-term criminal history records to
                                                                                                                     belief that sexual offenders inevitably reoffend.                            estimate declining recidivism risk and, ultimately, desistance



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                                                                                                                     among sexual offenders. Criminal history records are informa-                                      Current Study
                                                                                                                     tive but incomplete indicators of criminal behavior. Conse-
                                                                                                                     quently, we cannot conclude from an observed recidivism rate                 The purpose of the current study was to extend previous re-
                                                                                                                                                                                               search on the declining risk of sexual recidivism over time (Han-
                                                                                                                     of 10% that the remaining 90% have committed no crimes.
                                                                                                                                                                                               son et al., 2014) by statistically modeling the effects of time sexual
                                                                                                                     Some simply haven’t got caught. It is also important to distin-
                                                                                                                                                                                               offense-free in the community, initial risk level, age, and subse-
                                                                                                                     guish between reductions in an individuals’ propensity to com-
                                                                                                                                                                                               quent nonsexual offending. Discrete time survival analysis was
                                                                                                                     mit sexual crime (e.g., deviant sexual interests, low self-control,
                                                                                                                                                                                               used to estimate hazard rates for a large, aggregated sample of
                                                                                                                     sexual preoccupations, intentions to offend) and actually com-
                                                                                                                                                                                               sexual offenders (N ⬎ 7,000) followed for up to 25 years. The
                                                                                                                     mitting sexual crime (detected or not). Given that the new wave
                                                                                                                                                                                               sample included sexual offenders from diverse settings and from
                                                                                                                     of sexual offender policies are intended to prevent reoffending
                                                                                                                                                                                               the full range of risk levels, as measured by the Static-99R sexual
                                                                                                                     in individuals with enduring propensities for sexual crime,
                                                                                                                                                                                               offender risk assessment tool (Helmus, Thornton, Hanson, & Bab-
                                                                                                                     propensities are the central constructs guiding current public
                                                                                                                                                                                               chishin, 2012). These analyses also allowed us to estimate the
                                                                                                                     protection policy for sexual offenders.
                                                                                                                                                                                               length of time at which desistance can be presumed, specifically,
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                                                                                                                        Following the standard distinction between observed vari-              when the risk of a new sexual crime is no different than the
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                                                                                                                     ables and latent constructs (Cronbach & Meehl, 1955), the                 spontaneous rate of first-time sexual offenses among felons with
                                                                                                                     propensity to commit crime is a latent construct, which is not            no history of sexual crime.
                                                                                                                     directly observable, and would be vigorously denied by all but
                                                                                                                     the most dysfunctional individuals in the criminal justice sys-
                                                                                                                     tem. Consequently, these propensities must be inferred from                                             Method
                                                                                                                     indicators, such as past behavior, attitudes, peer associations,
                                                                                                                     and lifestyle. These propensities can also be inferred by statis-         Participants
                                                                                                                     tical studies of cohorts over time (Blumstein & Nakamura,
                                                                                                                     2009; Bushway et al., 2011; Hargreaves & Francis, 2014;                      The individuals in the current study were selected from previous
                                                                                                                                                                                               studies used to develop and norm the Static-99R sexual offender
                                                                                                                     Soothill & Francis, 2009). Observed variation in crime rates for
                                                                                                                                                                                               risk tool (Hanson et al., 2014; Helmus, Thornton, et al., 2012). All
                                                                                                                     particular time periods (i.e., empirical hazard rates) should be
                                                                                                                                                                                               participants were adult males (18⫹) with an officially recorded
                                                                                                                     proportional to the latent propensity to commit crime. Variation
                                                                                                                                                                                               history of sexual crime, a valid Static-99R score, and at least 6
                                                                                                                     in hazard rates, however, is determined by both the composition
                                                                                                                                                                                               months of follow-up time. Of the data sets used in previous
                                                                                                                     of the group and changes in individuals’ risk. Given that the
                                                                                                                                                                                               studies, Knight and Thornton’s (2007) sample was excluded be-
                                                                                                                     highest risk offenders will be removed first from the overall
                                                                                                                                                                                               cause of their anomalous coding of the 10-year survival time for
                                                                                                                     sample, the remaining study participants contain an increasing
                                                                                                                                                                                               nonrecidivists (all nonrecidivists with more than 10 years
                                                                                                                     proportion of individuals who were low risk at the onset (frailty
                                                                                                                                                                                               follow-up time were censored at exactly 10 years).
                                                                                                                     in survival analysis; Aalen, Borgan, & Gjessing, 2008, pp.
                                                                                                                                                                                                  The data were drawn from 20 different samples (see Table 1).
                                                                                                                     231–268). Consequently, declining hazard rates cannot be di-
                                                                                                                                                                                               Following Hanson, Thornton, Helmus, and Babchishin (2016), the
                                                                                                                     rectly interpreted as improvements (declining propensities) at
                                                                                                                                                                                               samples were grouped into three broad categories: (1) relatively
                                                                                                                     the individual level. Such declines, however, can be interpreted          unbiased samples of a routine, complete, or randomly selected set
                                                                                                                     as reductions in the overall risk presented by individuals who            of cases drawn from a particular jurisdiction (routine/complete
                                                                                                                     remain offense-free.                                                      samples; k ⫽ 8, n ⫽ 4,026); (2) individuals referred to specialized
                                                                                                                        Although reliable evaluation of individual change is impor-            sexual offender treatment (treatment samples; k ⫽ 5, n ⫽ 1,899);
                                                                                                                     tant for those assessing and treating individual sexual offenders,        and (3) individuals preselected to be high risk/high need (k ⫽ 5,
                                                                                                                     public protection policies need not be concerned about teasing            n ⫽ 1,141). The study included two additional, small samples that
                                                                                                                     apart the relative contribution of individual change versus               did not fit the main categories, namely a German sample of sexual
                                                                                                                     change in group composition. Global, statistical estimates of             murders (n ⫽ 86; Hill, Habermann, Klusmann, Berner, & Briken,
                                                                                                                     risk can and should inform policies concerning the objectively            2008) and a sample of individuals screened to be low risk (n ⫽ 73;
                                                                                                                     defined groups that should be subject to exceptional public               Cortoni & Nunes, 2008). These samples were classified as “other.”
                                                                                                                     protection measures. In general, the most efficient interventions         Previous research with these samples indicated that classification
                                                                                                                     are proportional to the risk presented, with greater resources            into these four sample types (routine, treatment, high risk, other)
                                                                                                                     directed toward the highest risk individuals (i.e., the risk prin-        can done with high reliability (␬ ⫽ .92; Hanson, Thornton, et al.,
                                                                                                                     ciple in the risk/need/responsivity model; Andrews, Bonta, &              2016).
                                                                                                                     Hoge, 1990). As well, principles of fundamental justice dictate              The follow-up period ranged from 6 months to 31.5 years
                                                                                                                     that exceptional restrictions and administrative burdens in-              (Mdn ⫽ 7.2 years, M ⫽ 8.2, SD ⫽ 5.3 years). Nine of the samples
                                                                                                                     tended to protect the public should be equitably applied to               used charges for a new sexual offense as the recidivism criteria,
                                                                                                                     individuals of equivalent risk. In the same way that we respond           whereas 11 used convictions (see Table 2). Previous analyses with
                                                                                                                     differently to individuals at different risk levels, so too should        this dataset found relatively little difference in the overall results
                                                                                                                     we reduce restrictions on individuals for whom there is strong            whether charges and convictions were considered separately or
                                                                                                                     evidence that their propensity to engage in sexual crime is lower         were combined (Helmus, 2009). On average, the mean follow-up
                                                                                                                     than previously believed. Although the moral consequences of              time for offenders in the routine samples (M ⫽ 6.7 years, SD ⫽
                                                                                                                     a sexual offense may endure indefinitely, the risk of recidivism          3.4, range: 6 months to 26.5 years) was shorter than the mean
                                                                                                                     may not.                                                                  follow-up time for the treatment samples (M ⫽ 11.0 years, SD ⫽



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                                                                                                                     Table 1
                                                                                                                     Descriptive Information for Samples

                                                                                                                                                                         Age                             Static-99R
                                                                                                                                  Study                    n        M          SD      Country           M        SD            Type of sample              Release period

                                                                                                                     Routine/complete
                                                                                                                       Bartosh et al. (2003)               186      38         12   U.S.                3.3       2.9   Corrections                             1996
                                                                                                                       Bigras (2007)                       473      43         12   Canada              2.1       2.4   CSC Reception Centre                 1995–2003
                                                                                                                       Boer (2003)                         299      41         12   Canada              2.8       2.8   CSC release cohort                   1976–1994
                                                                                                                       Craissati et al. (2011)             209      38         12   U.K.                2.2       2.3   Community supervision                1992–2005
                                                                                                                       Eher et al. (2009)                  706      41         13   Austria             2.3       2.3   Prison                               2000–2005
                                                                                                                       Epperson (2003)                     177      37         13   U.S.                2.5       2.6   Prison and probation                 1989–1998
                                                                                                                       Hanson et al. (2007)                698      42         13   Canada              2.4       2.4   Community supervision                2001–2005
                                                                                                                       Långström (2004)                  1,278      41         12   Sweden              2.0       2.4   National prison release cohort       1993–1997
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                                                                                                                     Preselected treatment
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                                                                                                                       Allan et al. (2007)                 476      42         12   New Zealand         1.8       2.3   Prison treatment                     1990–2000
                                                                                                                       Brouillette-Alarie & Proulx
                                                                                                                          (2008)                           223      36         10   Canada              3.9       2.4   Prison & community treatment         1979–2005
                                                                                                                       Johansen (2007)                     273      38         11   U.S.                2.9       2.3   Prison treatment                     1994–2000
                                                                                                                       Romine Swinburne et al.
                                                                                                                          (2008)                           680      38         12   U.S.                1.7       2.2   Community treatment                  1977–2007
                                                                                                                       Ternowski (2004)                    247      44         13   Canada              1.6       2.5   Prison treatment                     1994–1998
                                                                                                                     High risk/high need
                                                                                                                       Bengtson (2008)                     311      33         10   Denmark             3.8       2.4   Forensic psychiatric evaluations     1978–1995
                                                                                                                       Bonta & Yessine (2005)              132      40         10   Canada              5.0       2.2   Preselected high risk                1992–2004
                                                                                                                       Haag (2005)                         198      37         10   Canada              3.9       2.3   Detained until end of sentence            1995
                                                                                                                       Nicholaichuk (2001)                 272      35          9   Canada              4.8       2.4   High intensity treatment             1983–1998
                                                                                                                       Wilson et al. (2007a, 2007b)        228      42         11   Canada              5.1       2.3   Preselected high risk                1994–2006
                                                                                                                     Other
                                                                                                                       Cortoni & Nunes (2008)               73      42         12   Canada              2.2       2.1   CSC low intensity treatment          2001–2004
                                                                                                                       Hill et al. (2008)                   86      39         11   Germany             4.7       2.0   Sexual homicide perpetrators         1971–2002
                                                                                                                     Total                               7,225      40         12                       2.6       2.6                                        1971–2007
                                                                                                                     Note.   CSC ⫽ Correctional Service Canada (administers all sentences of at least 2 years).



                                                                                                                     6.8, range: 6 months to 31.1 years) and high risk/high need                     (scores of 1, 2, and 3), IVa ⫽ above average risk (scores of 4 and
                                                                                                                     samples (M ⫽ 8.9 years, SD ⫽ 5.6, range: 6 months to 24.6 years).               5), and IVb ⫽ well above average risk (scores of 6 and higher;
                                                                                                                     As can be seen in Table 3, the distributions of individuals from the            Hanson, Babchishin, Helmus, Thornton, & Phenix, 2017). The
                                                                                                                     different sample types varied based on follow-up period. Of the                 Static-99R risk levels parallel the standardized risk levels devel-
                                                                                                                     4,940 individuals followed for 5 years or more, 48.7% were from                 oped for general correctional populations by the Justice Centre of
                                                                                                                     routine samples. In contrast, only 5.9% of those followed for 15                the Council of State Governments (Hanson et al., 2017). These
                                                                                                                     years or more were from routine samples (64.6% treatment; 25.4%                 standardized risk levels address the crime relevant characteristics
                                                                                                                     high risk/high need; 4.1% other; total n ⫽ 740). Overall, 394                   of individuals in the criminal justice system, the intensity of
                                                                                                                     individuals were followed for more than 20 years, and 79 for more               correctional supervision and rehabilitation programming needed to
                                                                                                                     than 25 years.                                                                  reduce their risk, their personal strengths, and their expected
                                                                                                                                                                                                     prognosis.
                                                                                                                     Measures                                                                           For Static-99R, Level I (very low risk) identifies individuals
                                                                                                                        Static-99R. Static-99R (Helmus, Thornton, et al., 2012) was                  who have no obvious risk-relevant propensities and whose 5-year
                                                                                                                     used as a measure of risk for sexual recidivism. Static-99R con-                risk for a new sexual crime is no different from that of individuals
                                                                                                                     tains 10 items based on commonly available demographic (age,                    with a history of nonsexual crime. Typically, these are older (60⫹)
                                                                                                                     relationship history) and criminal history information (e.g., prior             men who have sexually offended against family members in pre-
                                                                                                                     sexual offenses, any unrelated victims, total number of prior sen-              vious decades. Level II (below average) are individuals whose
                                                                                                                     tencing occasions for anything). Static-99R (and its previous ver-              expected rate of sexual recidivism is lower than average but is still
                                                                                                                     sion, Static-99) are the sexual offender risk assessment tools most             perceptibly higher than the rate among nonsexual offenders. Level
                                                                                                                     commonly used in corrections and forensic mental health                         II individuals may benefit from some support and supervision, but
                                                                                                                     (McGrath, Cumming, Burchard, Zeoli, & Ellerby, 2010; Neal &                     they are also likely to spontaneously transition to Level I without
                                                                                                                     Grisso, 2014). It can be scored with high rater reliability (Phenix             structured correctional programming. Level III individuals (aver-
                                                                                                                     & Epperson, 2016) and has moderate ability to discriminate recid-               age risk) are in the middle of the risk distribution. They have crime
                                                                                                                     ivists from nonrecidivists (Helmus, Hanson, et al., 2012).                      relevant problems in several areas (e.g., negative attitudes toward
                                                                                                                        Static-99R total scores range from ⫺3 to 12 and correspond to                authority, sexual preoccupation) and would be expected to require
                                                                                                                     the following risk levels: I ⫽ very low risk (scores of ⫺3 and ⫺2),             problem-solving supervision and structured correctional program-
                                                                                                                     II ⫽ below average risk (scores of ⫺1 and 0), III ⫽ average risk                ming in order to reduce their risk to Level II. Level IV individuals



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                                                                                                                     Table 2
                                                                                                                     Recidivism Information

                                                                                                                                                                                                                                                     Recidivism rate
                                                                                                                                                                                                                                                                         Nonsexual
                                                                                                                                                                                                 Years follow-up                       Sexual                         (prior to sexual)
                                                                                                                                    Study                       Recidivism criteria              M             SD              n                      %               n             %

                                                                                                                     Routine/complete
                                                                                                                       Bartosh et al. (2003)                    Charges                       5.0               .20             186                  11.8            185           44.9
                                                                                                                       Bigras (2007)                            Charges                       4.7              1.8              473                   6.3            454           17.0
                                                                                                                       Boer (2003)                              Conviction                   13.3              2.1              299                   8.7            282           41.8
                                                                                                                       Craissati et al. (2011)                  Conviction                    9.1              2.7              209                  11.5            201           25.4
                                                                                                                       Eher et al. (2009)                       Conviction                    3.9              1.1              706                   4.0            701           25.7
                                                                                                                       Epperson (2003)                          Charges                       7.9              2.5              177                  14.1
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                                                                                                                       Hanson et al. (2007)                     Charges                       3.5              1.0              698                   8.2            694           18.7
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                                                                                                                       Långström (2004)                         Conviction                    8.9              1.4            1,278                   7.5
                                                                                                                     Preselected treatment
                                                                                                                       Allan et al. (2007)                      Charges                       5.9              2.8             476                    9.7            465           18.5
                                                                                                                       Brouillette-Alarie & Proulx (2008)       Conviction                   10.1              4.3             223                   20.6
                                                                                                                       Johansen (2007)                          Charges                       9.1              1.1             273                    7.7            263           49.8
                                                                                                                       Romine Swinburne et al. (2008)           Conviction                   16.8              7.8             680                   13.8
                                                                                                                       Ternowski (2004)                         Charges                       7.5              1.0             247                    8.1            240           14.2
                                                                                                                     High risk/high need
                                                                                                                       Bengtson (2008)                          Charges                      16.2              4.2             311                   33.8            310           41.6
                                                                                                                       Bonta & Yessine (2005)                   Conviction                    5.6              2.4             132                   15.9            127           38.6
                                                                                                                       Haag (2005)                              Conviction                    7.0               .00            198                   25.3
                                                                                                                       Nicholaichuk (2001)                      Conviction                    6.6              3.9             272                   19.1
                                                                                                                       Wilson et al. (2007a, 2007b)             Charges                       5.3              2.9             228                   10.5
                                                                                                                     Other
                                                                                                                       Cortoni & Nunes (2008)                   Charges                       4.6               .60              73                    .0              72          11.1
                                                                                                                       Hill et al. (2008)                       Conviction                   12.6              6.6               86                  15.1              84          53.6
                                                                                                                     Total                                                                    8.2              5.3            7,225                  11.1           4,078          27.5


                                                                                                                     (IVa ⫽ above average, IVb ⫽ well above average) have poten-                  Singer, 1993). The follow-up period was divided into 6 month
                                                                                                                     tially severe, chronic problems in several areas related to the              intervals, and the probability of sexual recidivism within these
                                                                                                                     propensity to commit sexual crime. Level IV individuals are ex-              intervals was calculated as the number of individuals who were
                                                                                                                     pected to require extensive correctional interventions (over years)          known to have reoffended in that interval divided by the total
                                                                                                                     to reduce their risk to Level III. Level IVb is perceptibly higher           number of individuals who were at risk in that interval (i.e., had
                                                                                                                     risk than Level IVa; however, Level IVb is still below the thresh-           not sexually reoffended in that interval or any prior interval).
                                                                                                                     old for Level V, for whom the expected recidivism rate is 85% or                Discrete time survival analysis was used instead of continuous
                                                                                                                     higher (Hanson et al., 2017). Although Level V is conceptually               time survival analysis because of our substantive interest in the
                                                                                                                     meaningful, the highest risk individuals identified by Static-99R            absolute recidivism rates during particular time periods. With
                                                                                                                     have observed sexual recidivism rates in the 50% to 60% range                continuous time survival analysis (e.g., Cox regression), the quan-
                                                                                                                     (Hanson, Thornton, et al., 2016).
                                                                                                                                                                                                  tity being modeled is the instantaneous hazard (Aalen et al., 2008),
                                                                                                                                                                                                  which can only be turned into expected recidivism rates by aver-
                                                                                                                     Plan of Analysis
                                                                                                                                                                                                  aging across regions of the cumulative hazard curve. In compari-
                                                                                                                        Hazard rates for sexual recidivism were modeled using discrete            son, the discrete time survival analysis provides a more intuitive
                                                                                                                     time survival analysis (Singer & Willett, 1993, 2003; Willett &              approach to estimating absolute recidivism rates.

                                                                                                                                         Table 3
                                                                                                                                         Distribution of Cases at Different Follow-Up Periods According to Sample Type

                                                                                                                                                                                                 Sample type
                                                                                                                                                                                                          High risk/high
                                                                                                                                                              Routine/complete          Treatment             need                       Other
                                                                                                                                         Minimum follow-up                                                                                                  Total
                                                                                                                                            time (years)         %           n         %          n        %           n           %             n          cases

                                                                                                                                                   .5           55.7     4,026        26.3    1,899       15.8        1,141        2.2       159            7,225
                                                                                                                                                  5             48.7     2,405        32.1    1,585       17.4          860        1.8        90            4,940
                                                                                                                                                 10             39.2       750        38.7      739       19.3          369        2.8        54            1,912
                                                                                                                                                 15              5.9        44        64.6      478       25.4          188        4.1        30              740
                                                                                                                                                 20              1.0         4        78.7      310       17.1           67        3.3        13              394
                                                                                                                                                 25              1.3         1        94.9       75        0              0        3.8         3               79




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                                                                                                                        The data were organized in a person-period format, in which                differences of 0 to 2 are weak, 2 to 6 are positive (i.e., likely to be
                                                                                                                     each row represented the values for one individual during one                 real), 6 to 10 are strong, and greater than 10 are very strong. In other
                                                                                                                     interval (see Singer & Willett, 2003, section 10.5). In our dataset,          words, if two models have BIC values with ⫹/–2 units of each other,
                                                                                                                     each individual provided one row of data for each 6-month period              then both equally fit the data and model selection should be based on
                                                                                                                     of follow-up (range of 1 to 50 rows, with time truncated at 25                other considerations (e.g., parsimony). If the BIC for one model is 10
                                                                                                                     years). Standard logistic regression software was used to model               units smaller than another model, then there is very strong statistical
                                                                                                                     sexual recidivism rates based on time free (interval), time-invariant         support to prefer the model with the lowest BIC value. Similarly,
                                                                                                                     covariates (e.g., risk scores at release), and time varying covariates        Burnham and Anderson (2004) interpret the difference between the
                                                                                                                     (nonsexual recidivism during the follow-up period). This approach             minimum AIC observed for all the models considered and the AIC for
                                                                                                                     provides equivalent results to conventional life-table survival anal-         any specific model as an indicator of the degree of support for the
                                                                                                                     ysis. Although there are some benefits in using a complementary               specific model. If the AIC value for the model is the lowest, then it is
                                                                                                                     log-log (clog-log) link function (parameters can be interpreted as            the best. Values close to the lowest indicate equivalent models, and
                                                                                                                     hazards), the logistic function is widely understood, can be esti-            models with larger AIC values are unlikely to be true. They suggest
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                                                                                                                     mated with standard software, and the difference between the two              that absolute differences of less than 2 indicate substantial support
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                                                                                                                     link functions is not detectable when the probabilities are small             (good agreement), differences of 4 to 7 as indicating a model has
                                                                                                                     (⬍.20; Singer & Willett, 2003, p. 420). In the current study, the             considerably less support than another, and models that are more than
                                                                                                                     largest probability of sexual recidivism for any single interval was          10 AIC units higher than the minimum model as having “essentially
                                                                                                                     0.0156 (first 6 months following release, i.e., approximately 3%              no support.”
                                                                                                                     recidivism rate for the first year). When the clog-log link function             The adequacy of the logistic models was also examined using
                                                                                                                     was used rather than the logistic, the differences were only detect-          the Hosmer-Lemeshow goodness-of-fit test (Hosmer, Lemeshow,
                                                                                                                     able in the third decimal point, with slightly larger standard errors         & Sturdivant, 2013). This test is the classic Pearson chi-square
                                                                                                                     for the logistic link function compared with clog-log link function.          goodness-of-fit test with the responses grouped into 8 to 10 equally
                                                                                                                        Rather than considering each time period as a unique categorical           sized bins (with df ⫽ bins ⫺2). Small (nonsignificant) values
                                                                                                                     variable, we fitted equations with hazard rates as a function of time.        indicate acceptable fit to the logistic model. The area under the
                                                                                                                     Our statistical models were based on the assumption that changes are          receiver operating characteristic curve (AUC) was used as an
                                                                                                                     gradual; we did not expect abrupt changes in the empirical hazards for        effect size measure of the overall model (i.e., the AUC using the
                                                                                                                     adjacent time periods. The adequacy of the smoothed model com-                estimated probabilities as predictors; see Hosmer et al., 2013,
                                                                                                                     pared with the full categorical model was tested using the Akaike             section 5.2.4). In general, the AUC values can be interpreted as the
                                                                                                                     Information Criterion (AIC; Burnham & Anderson, 2004) and the                 probability that a recidivist would have a higher predicted proba-
                                                                                                                     Bayesian Information Criterion (BIC; Raftery, 1995). Model fit cri-           bility of recidivism than a nonrecidivist.
                                                                                                                     teria were used because the categorical and continuous models were               All numbers in the article were verified by an independent data
                                                                                                                     not nested. In other words, it was impossible to derive the continuous
                                                                                                                                                                                                   analyst (social science doctoral-level student) on the basis of the
                                                                                                                     model from the categorical model (each year has its own parameter)
                                                                                                                                                                                                   source data sets. All analyses were conducted using SPSS Version 17.
                                                                                                                     by setting parameters to zero.
                                                                                                                        Although derived from different statistical models (Burnham &
                                                                                                                     Anderson, 2004; Raftery, 1995), both the AIC and the BIC are                                                 Results
                                                                                                                     computed on the basis of the deviance (⫺2 loglikelihood; ⫺2LL)
                                                                                                                     plus a penalty proportional to the number of parameters (K) used                 The person-period dataset contained 105,347 observations
                                                                                                                     in the model. Note that the number of parameters includes the                 (6 month intervals) for 7,225 individuals, of whom 791 were
                                                                                                                     intercept, such that K ⫽ 2 for a model with one predictor variable.           identified as sexual recidivists. The follow-up period ended at 25
                                                                                                                     For the AIC, the penalty is twice the number of parameters (AIC ⫽             years, with 79 individuals entering the 25th year. Using life-table
                                                                                                                     –2LL ⫹ 2K), and for the BIC, the penalty is the number of                     survival analysis, the overall sexual recidivism rate was 9.1% at 5
                                                                                                                     parameters times the natural log of the sample size (BIC ⫽                    years, 13.3% at 10 years, 16.2% at 15 years, 18.2% at 20 years, and
                                                                                                                     –2LL ⫹ ln(n)K). There are three options, however, as to how                   18.5% at 25 years. Although the cumulative recidivism rate in-
                                                                                                                     sample size should be defined in person-period data sets (Raftery,            creased, the 5-year hazard decreased: 9.1% up to 5 years, 4.1%
                                                                                                                     1995; Singer & Willett, 2003): the number of individuals (7,225),             from 5 to 10 years, 2.9% from 10 to 15 years, 2.0% from 15 to 20
                                                                                                                     the number of person-period observations (105,347), or the num-               years, and 0.3% from 20 to 25 years. There was only one sexual
                                                                                                                     ber of events (791). Following Volinsky and Raftery (2000), we                recidivist after 20 years.
                                                                                                                     used the number of events for estimating the BIC.                                The first step in the data analysis was to evaluate the credibility
                                                                                                                        The absolute values of AIC or BIC are not interpretable. The               of the statistical model. As would be expected, a logistic model
                                                                                                                     difference between models, however, identifies the model that best            that included time as a continuous variable was more plausible
                                                                                                                     fits the data. Given two models, the model with the lowest AIC/BIC            (k ⫽ 2; AIC ⫽ 9,143.17, BIC ⫽ 9,152.52) than the model that
                                                                                                                     value is the one that best fits the data. For example, if adding a            considered each time period as independent, categorical variables
                                                                                                                     variable (e.g., risk scores) to a recidivism prediction model decreased       (k ⫽ 50; AIC ⫽ 9,189.68; BIC ⫽ 9,423.34). For both the AIC and
                                                                                                                     the AIC/BIC values, this decrease is statistical justification that the       BIC, the differences were large (⫺46.51 and ⫺270.82, respec-
                                                                                                                     risk score predicts recidivism. If the AIC/BIC values stayed the same         tively) indicating clear superiority of the continuous model to the
                                                                                                                     (or increased) when a variable is added, then the variable is not             (unordered) categorical model. For the continuous model, the
                                                                                                                     needed. Although there are no absolute standards for evaluating               Hosmer-Lemeshow test was nonsignificant (␹2 ⫽ 15.24, df ⫽ 8,
                                                                                                                     differences in BIC indices, Raftery (1995) suggests that absolute             p ⫽ .055). The Hosmer-Lemeshow test for the unordered categor-



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                                                                                                                     ical model indicated serious overfitting: ␹2 ⬍ .00001 (actually it              offenders of all ages (⌬AIC ⫽ ⫹0.60; ⌬BIC ⫽ ⫹5.27, after
                                                                                                                     was 2.95 ⫻ 10⫺13; df ⫽ 8, p ⫽ 1).                                               controlling for Static-99R and sample type; not shown in Table 4).
                                                                                                                        Visually, a logistic model appeared to reasonably represent                     There was some evidence of an interaction between Static-99R
                                                                                                                     continuous time and the discrete time hazard (see Figure 1). The                and sample type, with higher predictive accuracy (discrimination)
                                                                                                                     ordinate values on the graph (vertical axis) are the proportion of              in routine samples compared with treatment samples or high
                                                                                                                     individuals who reoffended sexually each year, given that they                  risk/high need samples. This interaction was supported by the AIC
                                                                                                                     have not sexually reoffended in any of the previous years. The                  (⫺9.9) but not the BIC (⫹4.14). However, given that this inter-
                                                                                                                     error bars (⫾1.96 [{p (1 – p)}/n]0.5) were larger for the later time            action was found in previous research with a related version of this
                                                                                                                     periods because the absolute number of recidivists was small (for               dataset (Hanson, Thornton, et al., 2016), the interaction between
                                                                                                                     certain cells, only a single individual). When there are no recidi-             Static-99R scores and sample type was retained in the model.
                                                                                                                     vists, there is no variance and the confidence interval was zero.                  A visual representation of Model 5 (see Table 4) is presented in
                                                                                                                     Overall, the logistic model appears to be an adequate basis on                  Figure 2. This figure presents the declines in estimated sexual
                                                                                                                     which to build subsequent models.                                               recidivism risk for individuals at five different scores (collectively
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                                                                                                                        A summary of the analyses is presented in Table 4. On its own,               representing all five initial levels of risk, controlling for sample
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                                                                                                                     each year offense-free was associated with a 12% decrease in the                type and sample type by Static-99R interaction). These five levels
                                                                                                                     odds of recidivism (e[–.131] ⫽ .877). As expected, the recidivism               correspond to Static-99R scores from ⫺2 to 6, which cover the
                                                                                                                     rates were related to risk levels as measured by Static-99R (AIC                2016 standardized Static-99R risk categories (Hanson, Babchishin,
                                                                                                                     and BIC decreases of greater than 400). No interaction between                  et al., 2017: Level I [⫺2] ⫽ very low risk; Level II [0] ⫽ below
                                                                                                                     time free and Static-99R scores was observed (⌬AIC ⫽ ⫺1.59;                     average risk; Level III [2] ⫽ average risk; Level IVa [4] ⫽ above
                                                                                                                     ⌬BIC ⫽ ⫹3.08), meaning that the relative risk reductions were                   average risk and Level IVb [6] ⫽ well above average risk). The
                                                                                                                     constant across risk levels. Routine samples had lower recidivism               desistance threshold in Figure 2 was set at a constant 6-month
                                                                                                                     rates than those preselected to be high risk or those preselected as            hazard of 0.0019, which is equivalent to observed 5-year sexual
                                                                                                                     needing treatment. There was no interaction between sample type                 recidivism rates of less than 2%. The raw sexual recidivism rates
                                                                                                                     and time free (⌬AIC ⫽ ⫹3.92; ⌬BIC ⫽ ⫹18.0; not shown in                         (unadjusted for follow-up time or sample type) were 1.9% (5/260)
                                                                                                                     Table 4). Age was not related to recidivism risk once Static-99R                for Level I, 3.6% (50/1,381) for Level II, 7.6% (226/2,968) for
                                                                                                                     scores were entered, nor was there an interaction between age and               Level III, 14.7% (235/1603) for Level IVa, and 27.5% (279/1,013)
                                                                                                                     time free, meaning that the time free effect applied to sexual                  for Level IVb. Note that these raw recidivism rates are somewhat




                                                                                                                                        Figure 1. One-year hazard rates for sexual recidivism (n ⫽ 7,225): Observed with 95% confidence intervals
                                                                                                                                        (lines) and estimates from logistic regression (dots; Model 1). See the online article for the color version of this
                                                                                                                                        figure.




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                                                                                                                     Table 4
                                                                                                                     Logistic Regression Estimates of 6 Month Hazard of Sexual Recidivism Based on Time Free, Static-99R, and Sample Type

                                                                                                                                                                                           Model 1               Model 2                  Model 3               Model 4             Model 5

                                                                                                                     Intercept                                                          ⫺4.288 (.055)         ⫺4.732 (.065)          ⫺4.800 (.075)          ⫺4.885 (.074)       ⫺5.002 (.085)
                                                                                                                     Time free (in years years)                                          ⫺.131 (.011)          ⫺.123 (.011)           ⫺.106 (.014)           ⫺.128 (.011)        ⫺.130 (.011)
                                                                                                                     Static-99R                                                                                 .289 (.014)            .319 (.021)            .270 (.015)         .329 (.022)
                                                                                                                     Static-99R ⫻ Time                                                                                               ⫺.0082 (.0043)
                                                                                                                     Sample type (reference category is
                                                                                                                          routine/complete)
                                                                                                                        Treatment                                                                                                                             .299 (.089)         .459 (.110)
                                                                                                                        High risk/high need                                                                                                                   .530 (.090)         .920 (.136)
                                                                                                                        Other                                                                                                                                ⫺.397 (.285)        ⫺.705 (.595)
                                                                                                                     Interaction: Static-99R ⫻ Sample type
                                                                                                                        Treatment ⫻ STATIC                                                                                                                                       ⫺.081 (.034)
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                                                                                                                        High risk/high need ⫻ STATIC                                                                                                                             ⫺.137 (.036)
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                                                                                                                        Other ⫻ STATIC                                                                                                                                            .070 (.146)
                                                                                                                     –2LL                                                                  9,139.17             8697.12                 8693.53                8654.92              8639.02
                                                                                                                     K                                                                         2                    3                       4                      6                   9
                                                                                                                     AIC (–2LL ⫹ 2K)                                                       9,143.17             8703.12                 8701.53                8666.92              8657.02
                                                                                                                     Change (comparison model)                                                               ⫺440.05 (Model1)         ⫺1.59 (Model2)        ⫺36.20 (Model2)      ⫺9.90 (Model4)
                                                                                                                     BIC (–2LL ⫹ K ⫻ [6.673])                                              9,152.51             8717.14                 8720.23                8694.94              8699.08
                                                                                                                     Change (comparison model)                                                               ⫺435.37 (Model1)          3.08 (Model2)         ⫺22.2 (Model2)       4.14 (Model4)
                                                                                                                     Hosmer-Lemeshow ␹2(p)                                                15.24 (.055)          8.13 (.42)             8.06 (.43)             4.67 (.79)          4.75 (.78)
                                                                                                                     AUC                                                                     .637                 .736                    .736                   .745                .747
                                                                                                                     Note. K ⫽ 20, n ⫽ 7,225, with 791 sexual recidivists. Static-99R scores centered on the median value (2). AIC ⫽ Akaike Information Criterion; BIC ⫽
                                                                                                                     Bayesian information criterion; AUC ⫽ Area under the receiver operating characteristic Curve. Values in parentheses are the standard errors for the
                                                                                                                     associated parameter estimates.


                                                                                                                     higher than would be expected in routine (unselected) samples                                         used to estimate the number of years until desistance for each
                                                                                                                     because the aggregated sample included a disproportionate number                                      Static-99R score. It can also be used to estimate adjustments over
                                                                                                                     of offenders preselected to be high risk.                                                             time to lower risk levels. For example, for individuals with a
                                                                                                                        Another representation of Model 5 is presented in Figure 3,                                        Static-99R score of ⫺1, they would transition from Level II at 2
                                                                                                                     which shows the risk levels for each combination of initial Static-                                   years to Level I at 3 years, at which time they would fall below the
                                                                                                                     99R score and the number of years sexual offense-free in the                                          desistance threshold.
                                                                                                                     community. Given that Level I individuals are below the desis-                                           Risk declined over time for individuals at all initial risk levels,
                                                                                                                     tance threshold (Hanson, Babchishin, et al., 2017), Figure 3 can be                                   and most individuals eventually resembled individuals with no


                                                                                                                                                                   0.030



                                                                                                                                                                   0.025
                                                                                                                                         Esmated 6-Month Hazard




                                                                                                                                                                   0.020
                                                                                                                                                                                                                                                       Well Above Average (6)
                                                                                                                                                                                                                                                       Above Average (4)
                                                                                                                                                                   0.015
                                                                                                                                                                                                                                                       Average (2)
                                                                                                                                                                                                                                                       Below Average (0)
                                                                                                                                                                   0.010
                                                                                                                                                                                                                                                       Very Low (-2)
                                                                                                                                                                                                                                                       Desistance
                                                                                                                                                                   0.005



                                                                                                                                                                   0.000
                                                                                                                                                                           0 1 2 3 4 5 6 7 8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25
                                                                                                                                                                                               Years Sex Oﬀense-Free

                                                                                                                                         Figure 2. Years to desistance according to initial risk level based on selected Static-99R scores. Estimated
                                                                                                                                         hazard rates based on Model 5 (n ⫽ 7,225) for routine/complete samples. See the online article for the color
                                                                                                                                         version of this figure.




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                                                                                                                                                                                              Years Sexual Offense-Free in the Community
                                                                                                                                                 0     1     2      3      4      5      6      7      8      9        10     11    12     13    14    15     16     17       18 19     20    21
                                                                                                                                           -3    I     I     I      I      I      I      I      I      I      I         I      I     I      I     I     I      I      I       I    I    I     I
                                                                                                                                           -2    I     I     I      I      I      I      I      I      I      I         I      I     I      I     I     I      I      I       I    I    I     I
                                                                                                                                           -1   II    II     II     I      I      I      I      I      I      I         I      I     I      I     I     I      I      I       I    I    I     I
                                                                                                                                           0    II    II     II     II     II     II     I      I      I      I         I      I     I      I     I     I      I      I       I    I    I     I
                                                                                                                                           1    III   III   III     II     II     II     II     II     I      I         I      I     I      I     I     I      I      I       I    I    I     I
                                                                                                                       STATIC-99R Scores




                                                                                                                                           2    III   III   III    III    III    III     II     II     II     II        II     I     I      I     I     I      I      I       I    I    I     I
                                                                                                                                           3    III   III   III    III    III    III    III    III     II     II        II    II     II     I     I     I      I      I       I    I    I     I
                                                                                                                                           4    IVa   IVa   IVa    III    III    III    III    III    III    III       III    II     II    II    II     II     I      I       I    I    I     I
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                                                                                                                                           5    IVa   IVa   IVa    IVa    IVa    IVa    III    III    III    III       III    III   III    II    II     II     II    II       I    I    I     I
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                                                                                                                                           6    IVb   IVb   IVb    IVa    IVa    IVa    IVa    IVa    III    III       III    III   III    III   III   III     II    II       II   II   II    I
                                                                                                                                           7    IVb   IVb   IVb    IVb    IVb    IVb    IVa    IVa    IVa    IVa       IVa    III   III    III   III   III    III    III      II   II   II    II
                                                                                                                                           8    IVb   IVb   IVb    IVb    IVb    IVb    IVb    IVb    IVa    IVa       IVa   IVa    IVa    III   III   III    III    III      III III   III   II
                                                                                                                                           9    IVb   IVb   IVb    IVb    IVb    IVb    IVb    IVb    IVb    IVb       IVb   IVa    IVa   IVa    IVa   IVa    III    III      III III   III   III
                                                                                                                                           10   IVb   IVb   IVb    IVb    IVb    IVb    IVb    IVb    IVb    IVb       IVb   IVb    IVb   IVa    IVa   IVa   IVa    IVa       III III   III   III

                                                                                                                                                       Figure 3. Decline in risk level based on initial Static-99R score and years sexual offense-free in the
                                                                                                                                                       community. According to Model 5, each Static-99R point increases risk by .329 and each year sex offense-free
                                                                                                                                                       decreases risk by .130. Individuals were deemed to have transitioned to a lower risk category when their
                                                                                                                                                       time-adjusted risk for that year was below the yearly hazard at release for individuals at the top of the next lower
                                                                                                                                                       category. The figure stops at Static-99R scores of 10 because higher scores were rare: 0.08% had a score of 11
                                                                                                                                                       or 12 (6 out of 7,225).


                                                                                                                     prior history of sexual crime. For individuals in the lowest risk                                 individuals reoffended with a nonsexual offense prior to the date of
                                                                                                                     category (Level I, very low risk), their risk was at the desistance                               sexual recidivism (or the end of follow-up for nonrecidivists). This
                                                                                                                     threshold at time of release. Individuals in risk Level II crossed the                            reduced dataset included 49,743 observations (6 month intervals)
                                                                                                                     desistance threshold between 3 years (Static-99R score of ⫺1) and                                 for 4,078 individuals, of whom 1,121 were nonsexual recidivists
                                                                                                                     6 years (Static-99R score of 0). Individuals assessed as Level III                                and 318 were sexual recidivists (122 individuals were both sexual
                                                                                                                     (average risk) crossed the desistance threshold (became a “1”)                                    and nonsexual recidivists).
                                                                                                                     after 8 to 13 years sexual offense-free in the community. For risk                                   As can be seen in Table 5 (Model 5a), the model containing time
                                                                                                                     Level IVa (above average risk), they crossed the desistance thresh-
                                                                                                                                                                                                                       free, Static-99R, sample type, and the Static-99R/sample type inter-
                                                                                                                     old by year 16 to 18. Individuals at the low end of Level IVb
                                                                                                                                                                                                                       action was similar in the reduced sample (k ⫽ 13, AUC ⫽ .747) as in
                                                                                                                     (Static-99R score of 6) crossed the desistance threshold at year 21.
                                                                                                                     In other words, only individuals with Static-99R scores of 7 or                                   the full collection of samples in Table 4 (k ⫽ 20, AUC ⫽ .747).
                                                                                                                     higher (⬍4% of the initial cohort) would have a risk of sexual                                    Nonsexual recidivism added incrementally to the model (Model 6),
                                                                                                                     recidivism perceptibly higher than the desistance threshold given                                 increasing the odds of sexual recidivism by a factor of 1.55 (e[.440] ⫽
                                                                                                                     that they have remained sexual offense-free for 21 years in the                                   1.55) over the effects of time free, Static-99R, and sample type. This
                                                                                                                     community. No individuals who remained sexual offense-free for                                    model was an adequate fit to the logistic distribution as indicated by
                                                                                                                     18 years would be considered to be above average risk.                                            a nonsignificant Hosmer-Lemeshow test (␹2 ⫽ 13.25, df ⫽ 8, p ⫽
                                                                                                                        Although it is possible to use Model 5 to estimate the time to                                 .103). The interaction between nonsexual recidivism and time free did
                                                                                                                     desistance for individuals at the very highest risk levels (e.g., 34.5                            not meaningfully add to the model (⌬AIC ⫽ ⫺1.71; ⌬BIC ⫽ ⫹2.02,
                                                                                                                     years from high risk/high need samples with Static-99R scores of                                  not shown in Table 5), nor did the interaction between nonsexual
                                                                                                                     12–the maximum possible), extending projections beyond 20 years                                   recidivism and risk at release (as measured by Static-99R scores:
                                                                                                                     has limited precision as well as limited utility. In our dataset, there                           ⌬AIC ⫽ ⫺1.95; ⌬BIC ⫽ ⫹1.81). In other words, new nonsexual
                                                                                                                     was only one sexual recidivist out of the 394 individuals followed                                offenses increased the risk of sexual recidivism, but did not erase the
                                                                                                                     between 20 and 25 years, when our follow-up ended. This corre-                                    sexual offense time free effect. The effect of time free from a sexual
                                                                                                                     sponds to a 5-year recidivism rate of 0.3% in life table survival
                                                                                                                                                                                                                       offense was independent and incremental to the effect of continued
                                                                                                                     analysis, well below the desistance threshold of 1.9%.
                                                                                                                                                                                                                       nonsexual offending. In Model 6 (see Table 5) the effect of any
                                                                                                                                                                                                                       nonsexual recidivism was B ⫽ .440 compared with B ⫽ ⫺.135 for
                                                                                                                     The Effect of Nonsexual Recidivism on Sexual
                                                                                                                                                                                                                       each year sexual offense-free. Whereas each year time free was
                                                                                                                     Recidivism Risk                                                                                   associated with a 12% reduction in sexual recidivism risk, a new
                                                                                                                       Of the total 20 data sets, 13 data sets (six routine, three treat-                              nonsexual offense was associated with a 55% increase. Another way
                                                                                                                     ment, two high risk/high need, two other) identified whether                                      of visualizing these effects is that nonsexual recidivism resets the



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                                                                                                                                          Table 5
                                                                                                                                          Incremental Effect of Nonsexual Recidivism on 6-Month Hazard of Sexual Recidivism in
                                                                                                                                          Reduced Sample

                                                                                                                                                                                                              Model 5a                    Model 6

                                                                                                                                          Intercept                                                        ⫺5.353 (.134)               ⫺5.407 (.136)
                                                                                                                                          Time free (in years)                                              ⫺.120 (.018)                ⫺.135 (.019)
                                                                                                                                          Static-99R                                                         .344 (.034)                 .322 (.035)
                                                                                                                                          Sample type (reference category is routine/complete)
                                                                                                                                             Treatment                                                       .212 (.198)                 .228 (.198)
                                                                                                                                             High risk/high need                                            1.425 (.193)                1.459 (.193)
                                                                                                                                             Other                                                          ⫺.399 (.621)                ⫺.413 (.635)
                                                                                                                                          Interaction: Static-99R ⫻ Sample type
                                                                                                                                             Treatment ⫻ STATIC                                             ⫺.087 (.062)               ⫺.088 (.062)
                                                                                                                                             High risk/high need ⫻ STATIC                                   ⫺.194 (.053)               ⫺.192 (.053)
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                                                                                                                                             Other ⫻ STATIC                                                  .011 (.157)                 .025 (.162)
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                                                                                                                                          Nonsexual recidivism                                                                           .440 (.125)
                                                                                                                                          –2LL                                                                3578.81                    3566.67
                                                                                                                                          K                                                                      9                          10
                                                                                                                                          AIC (–2LL ⫹ 2K)                                                     3596.81                    3586.67
                                                                                                                                          Change                                                                                         ⫺10.14
                                                                                                                                          BIC (–2LL ⫹ Kⴱ[5.762])                                              3630.67                    3624.29
                                                                                                                                          Change                                                                                  ⫺6.38 (from Model 5a)
                                                                                                                                          Hosmer-Lemeshow ␹2(p)                                               4.27 (.83)                13.25 (.10)
                                                                                                                                          AUC                                                                   .747                       .755
                                                                                                                                          Note. K ⫽ 13, n ⫽ 4,078 with 318 sexual recidivists. Static-99R scores centered on the median value (2).
                                                                                                                                          AIC ⫽ Akaike information criterion; BIC ⫽ Bayesian Information Criterion; AUC ⫽ Area Under the receiver
                                                                                                                                          operating characteristic Curve. Values in parentheses are the standard errors for the associated parameter
                                                                                                                                          estimates.



                                                                                                                     individual’s relative risk to what it would have been 3.3 years previ-               The observed decline in risk based on time offense-free is consis-
                                                                                                                     ously (.440/[.135] ⫽ 3.26).                                                       tent with the broader criminological literature for general (nonsexual)
                                                                                                                                                                                                       offenders (Blumstein & Nakamura, 2009; Bushway et al., 2011;
                                                                                                                                                   Discussion                                          Bushway et al., 2001; Kurlychek, Brame, & Bushway, 2006, 2007;
                                                                                                                                                                                                       Kurlychek et al., 2012; Soothill & Francis, 2009). It is also consistent
                                                                                                                        Society has the right and responsibility to protect itself from the            with previous studies of sexual offenders (Ackerley, Soothill, &
                                                                                                                     truly dangerous. If predators are prowling for victims, we should do              Francis, 1998; Amirault & Lussier, 2011; Blokland & van der Geest,
                                                                                                                     what we can to restrict their access to the vulnerable. Determining               2015; Hanson et al., 1993; Harris & Hanson, 2004; Nakamura &
                                                                                                                     who is actually dangerous, and for how long, turns out to be harder
                                                                                                                                                                                                       Blumstein, 2015; Prentky et al., 1997). The reasons for this strong,
                                                                                                                     than we thought. As shown in the current study, it takes more than a
                                                                                                                                                                                                       predictable decline in hazard rates are difficult to infer from the
                                                                                                                     conviction for a sexual crime to identify individuals who have an
                                                                                                                                                                                                       currently available data.
                                                                                                                     enduring risk for sexual crime. The risk for sexual recidivism varies
                                                                                                                                                                                                          We expect that part of the effect is attributable to individuals
                                                                                                                     substantially across individuals at the time of sentencing; importantly,
                                                                                                                                                                                                       with the greatest propensity for sexual crime reoffending shortly
                                                                                                                     the risk predictably declines the longer individuals remain sexual
                                                                                                                                                                                                       after release (and often), making them, consequently, most likely
                                                                                                                     offense-free in the community.
                                                                                                                        Declines were observed for sexual offenders at all risk levels. In             to be caught and removed from the follow-up sample (the effect of
                                                                                                                     routine samples, the lowest risk individuals (Level I) were below the             frailty in survival analysis [Aalen et al., 2008]). Notice, however,
                                                                                                                     desistance threshold at time of release. Within 10 to 15 years, the vast          that the declines in risk based on time offense-free applied to
                                                                                                                     majority of individuals with a history of sexual crime will be no more            individuals at all risk levels, and was only slightly reduced after
                                                                                                                     likely to commit a sexual crime than individuals who have been                    controlling for the risk measure used in this study, Static-99R.
                                                                                                                     convicted of a nonsexual crime and who have never been previously                 Although Static-99R had moderate predictive accuracy, it does not
                                                                                                                     convicted of a sexual crime (1% to 2% after 5 years; Kahn et al.,                 measure all relevant risk factors (Babchishin, Hanson, & Helmus,
                                                                                                                     2017). For individuals classed as Level II (below average), they                  2012; Hanson, Helmus, & Harris, 2015). Consequently, we expect
                                                                                                                     crossed the desistance threshold between 3 and 6 years after release.             that the early recidivists were actually riskier than other individ-
                                                                                                                     For Level III (average), they crossed it between 8 and 13 years, and              uals with identical Static-99R scores; however, frailty is unlikely
                                                                                                                     for IVa (above average), it was between 16 and 18 years. For the                  to explain all of the statistical effect of time free on risk. At least
                                                                                                                     highest risk offenders (well above average, IVb), their risk declines to          part of the decline should be attributed to change within individ-
                                                                                                                     desistance levels after 20 years, although precise estimates for this risk        uals.
                                                                                                                     range are difficult to assert given the data available (there was only               Offender change is often linked to deliberate intervention (e.g.,
                                                                                                                     one sexual recidivist out of the 394 individuals followed between 20              rehabilitation programs) or the slow, natural process of aging. The
                                                                                                                     and 25 years).                                                                    effect of interventions depends on both the quality of the intervention



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                                                                                                                     (Hanson, Bourgon, Helmus, & Hodgson, 2009) as well as an indi-                 was wrong, or the offender changed during the follow-up pe-
                                                                                                                     vidual’s response to that treatment (Olver et al., 2016). Some of the          riod. In either case, our findings indicate that the initial classi-
                                                                                                                     individuals in our samples would have participated in well-designed            fication as “higher risk” should be revised downward based on
                                                                                                                     programs that helped them to regulate their risk-relevant propensities.        extended periods of being in the community and not reoffend-
                                                                                                                     Treatment effects, however, should have been most apparent early in            ing sexually.
                                                                                                                     the follow-up period. Treatment effects are not a natural explanation
                                                                                                                     for the gradual decline in risk over decades. Similarly, although aging
                                                                                                                                                                                                    Implications for Policy
                                                                                                                     may explain some of the effects, the time free declines were much
                                                                                                                     larger than would be expected from aging alone. The large cross-                  A distinctive feature of modern sex crime policies is the wide-
                                                                                                                     sectional study of the statistical effect of age at release by Helmus,         spread use of social controls external to the criminal justice sys-
                                                                                                                     Thornton, et al. (2012) found that the average statistical effect of a         tem, such as community notification, registration, and residency
                                                                                                                     year of aging was a decline to 0.98 of the previous year’s hazard              restrictions (Laws, 2016; Logan, 2009; Simon & Leon, 2008).
                                                                                                                     (B ⫽ ⫺.02) for sexual recidivism. In comparison, the average effect            These measures are not intended to be punishments for crimes
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                                                                                                                     of a year spent offense-free in the community was six times larger             (Smith v. Doe, 2003), even if the individuals targeted perceive
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                                                                                                                     (.88, B ⫽ ⫺.13).                                                               them as such (Levenson, Grady, & Leibowitz, 2016). Instead, they
                                                                                                                        Something more than frailty, aging, and the effect of treatment             are justified on the grounds of public protection. Individuals are
                                                                                                                     is needed to explain the observed time free effects. One simple                targeted because policymakers believe they are likely to do it
                                                                                                                     explanation is that many individuals eventually learned how to                 again. This is a testable assumption, and, as it turns out, not
                                                                                                                     make a prosocial lifestyle rewarding (Andrews & Bonta, 2010;                   entirely true.
                                                                                                                     Thornton, 2016). Each time individuals expend energy seeking to                   There is strong evidence that (a) there is wide variability in
                                                                                                                     make life better in prosocial ways, and they succeed, they accu-               recidivism risk for individuals with a history of sexual crime; (b)
                                                                                                                     mulate skills, knowledge, and social resources that make it easier             risk predictably declines over time; and (c) risk can be very
                                                                                                                     to do so again in the future. Each prosocial choice may be uncer-              low—so low, in fact, that it becomes indistinguishable from the
                                                                                                                     tain, depending on fluctuating motivation and opportunities; nev-              rate of spontaneous sexual offenses for individuals with no history
                                                                                                                     ertheless, the cumulative effect of successful prosocial choices will          of sexual crime but who have a history of nonsexual crime. These
                                                                                                                     make future choices of this kind easier, more self-congruent, and              findings have clear implications for constructing effective public
                                                                                                                     more attractive.                                                               protection policies for sexual offenders.
                                                                                                                        In support of this view, there is some evidence that individuals               First, the most efficient public protection policies will vary their
                                                                                                                     with a history of sexual crime are less likely to reoffend when they           responses according to the level of risk presented. Uniform poli-
                                                                                                                     have workable, prosocial options available. In a series of studies,            cies that apply the same strategies to all individuals with a history
                                                                                                                     Willis and colleagues (Scoones, Willis, & Grace, 2012; Willis &                of sexual crime are likely insufficient to manage the risk of the
                                                                                                                     Grace, 2008, 2009) have shown that reduced recidivism is asso-                 highest risk offenders, while over-managing and wasting resources
                                                                                                                     ciated with high-quality release plans that support accommodation,             on individuals whose risk is very low. The implementation of
                                                                                                                     positive social connections, employment, and prosocial, personally             differential supervisory and management responses based on risk
                                                                                                                     meaningful goals. Furthermore, the effect of good release plans                requires objective, evidence-based indicators for distinguishing
                                                                                                                     was found to be incremental to static and dynamic risk factors                 between risk levels. As demonstrated in the current study, such
                                                                                                                     (Scoones et al., 2012). Relatedly, McGrath and colleagues (Lasher              indicators are available for adult offenders, and widely used in
                                                                                                                     & McGrath, 2017; McGrath, Lasher, & Cumming, 2012) have                        corrections and forensic mental health (i.e., the demographic and
                                                                                                                     found that those who avoided sexual recidivism while under com-                criminal history variables that comprise Static-99R scores; Han-
                                                                                                                     munity supervision showed improvements in employment, resi-                    son, Babchishin, et al., 2017).
                                                                                                                     dence and social influences. Consequently, it is quite plausible that             The second implication is that efficient public policy responses
                                                                                                                     the gradual, multiyear declines in hazard rates documented in the              need to include a process for reassessment. We cannot assume that
                                                                                                                     current study are linked to individuals developing increasingly                our initial risk assessment is accurate and true for life. All systems
                                                                                                                     effective, prosocial ways of achieving a satisfying life.                      that classify sexual offenders according to risk level also need a
                                                                                                                        Regardless of the theoretical explanations, the time free                   mechanism to reclassify individuals: the individuals who do well
                                                                                                                     effect is striking, and has considerable practical importance. It              should be reassigned to lower risk levels, and individuals who do
                                                                                                                     would be difficult to accumulate the criminal history associated               poorly should be reassigned to higher risk levels. The results of the
                                                                                                                     with high risk scores (e.g., large number of prior sexual and                  current study, in particular, justify automatically lowering risk
                                                                                                                     nonsexual offenses) without, at some point, having many of the                 based on the number of years sexual offense-free in the commu-
                                                                                                                     attributes associated with the onset and persistence of sexual                 nity. The diminishing importance of sexual offense history over
                                                                                                                     crime. The elevated recidivism rates of the higher risk offenders              time is particularly relevant when considering whether civil, public
                                                                                                                     (Level IVa and IVb) in the first few years following release                   protection measures should be applied retroactively. To paraphrase
                                                                                                                     suggest that, for many, their risk-relevant propensities remain                Kurlychek et al. (2012), any public protection policy that does not
                                                                                                                     unabated. Nevertheless, most (80%) of the higher risk group                    allow for diminished risk over time should be immediately suspect.
                                                                                                                     (Level IV) are never reconvicted for another sexual offense.                      The third implication is that there should be an upper limit to the
                                                                                                                     Among those who remained in the sample, the hazard rates for                   absolute duration of public protection measures. In the current
                                                                                                                     the vast majority eventually declined to rates equivalent to                   study, there were few individuals who presented more than a
                                                                                                                     those presented by lower risk offenders (Level I, Level II) at                 negligible risk after 15 years, and none after 20 years. Although
                                                                                                                     time of release. Either the initial classification as higher risk              there was one sexual recidivist after 20 years in our dataset, we



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                                                                                                                     could not reliably identify a class of individuals whose likelihood              Limitations
                                                                                                                     of a new sexual offense remained meaningfully greater than the
                                                                                                                     desistance threshold after 20 years. Nor have other researchers                     Given the secretive nature of sexual offending, researchers must
                                                                                                                     (e.g., Blokland & van der Geest, 2015, Figure 12.2b; Hargreaves &                always be cognizant of the gap between officially recorded crime and
                                                                                                                     Francis, 2014). Consequently, lifetime restrictions seem to be                   actual behavior. Although the extent to which officially recorded
                                                                                                                     designed for a category of individuals that do not exist.                        sexual offending tracks offending behavior is unknown, our assump-
                                                                                                                        Critics may argue that we cannot be too safe when it comes to                 tion is that it is proportional for sexual and nonsexual offenders at
                                                                                                                     the risk of sexual offenses. Although the harm caused by sexual                  different risk levels. If there are systematic differences in the extent to
                                                                                                                     offenses is serious, there are, however, finite resources that can be            which sexual and nonsexual offenders are caught for sexual crime,
                                                                                                                     accorded to the problem of sexual victimization. From a public                   then the current estimates for desistance periods would be incorrect.
                                                                                                                     protection perspective, it is hard to justify spending these resources           Our expectation, however, is that the detection rate for sexual crime
                                                                                                                     on individuals whose objective risk is already very low prior to                 would be higher for individuals with a history of sexual crime than
                                                                                                                     intervention. Furthermore, available research has not found that                 those without (police would consider them on a shortlist of suspects,
                                                                                                                                                                                                      and whatever factors lead to their previous convictions would likely
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                                                                                                                     long-term or lifelong registration and public notification, and the
                                                                                                                                                                                                      still be present). If the detection rate for sexual crime is higher for
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                                                                                                                     imposition of concomitant restrictions on residence, education, and
                                                                                                                     employment are having the intended effects (Letourneau, Leven-                   those with a history of sexual crimes than those without, then the
                                                                                                                     son, Bandyopadhyay, Sinha, & Armstrong, 2010; Levenson &                         years to desistance estimated in the current study would be too long.
                                                                                                                     Hern, 2007; Meloy, Miller, & Curtis, 2008; Mustaine, 2014; Si-                      Another concern for long-term recidivism studies is the effects
                                                                                                                     mon & Leon, 2008). Consequently, resources would be better                       of broad societal changes. Estimating recidivism over a 25-year
                                                                                                                     spent on activities more likely to reduce the public health burden               follow-up necessarily entails studying individuals released in the
                                                                                                                     of sexual victimization, such as facilitating release planning and               1980s and 1990s. Although secondary analysis of the current
                                                                                                                     stable housing (Willis & Grace, 2008, 2009), community treatment                 dataset did not find meaningful patterns based on year of release
                                                                                                                     for offenders (Schmucker & Lösel, 2015) and counseling services                  (Helmus, 2009), other studies have found substantial declines in
                                                                                                                     for victims (Taylor & Harvey, 2010).                                             the recidivism rate of adolescents who sexually offended
                                                                                                                                                                                                      (Caldwell, 2016) and for adult sexual offenders (Minnesota De-
                                                                                                                                                                                                      partment of Corrections, 2007). The reasons for these declines are
                                                                                                                     Implications for Research                                                        not fully understood, but they are consistent with the overall shift
                                                                                                                        The current study supports the need for further research on desis-            toward lower crime rates (Blumstein & Wallman, 2006) and
                                                                                                                     tance among sexual offenders, that is, the characteristics of individuals        greater risk aversion in the general population (Mishra & Lalu-
                                                                                                                     with a history of sexual offending who no longer present a significant           mière, 2009).
                                                                                                                     risk for sexual recidivism. Although the current research used rela-                The study only examined adult males and should not be gener-
                                                                                                                     tively simple criminal history variables, it is likely that we could             alized to youth or adult women. Given the predictable age-crime
                                                                                                                     identify individuals who have desisted much sooner by considering                curve during adolescence, it is very likely that the time free effects
                                                                                                                     the quality of their community adjustment (Lasher & McGrath, 2017).              are even greater for teenagers than for adults (Hargreaves &
                                                                                                                     One challenge that has vexed desistance research for sexual offenders            Francis, 2014). The highest risk period for being charged with a
                                                                                                                     has been the definition of the index group, that is, individuals who             sexual offense is early adolescence (ages 13 and 14; Cotter &
                                                                                                                     have stopped sexual offending. Desistance inherently concerns a                  Beaupré, 2014, Chart 7); however, the sexual recidivism rate of
                                                                                                                     future that can never be fully known in advance. The observation that            adolescents is lower than for adults (Caldwell, 2016). Given the
                                                                                                                     individuals have not been caught is an insensitive indicator of actual           developmental instability of youth, it would be a mistake to con-
                                                                                                                     behavior. Furthermore, we have little reason to trust offenders’ self-           sider young people who have committed sexual crime to be equiv-
                                                                                                                     report, given that many individuals deny committing the offenses for             alent to adults who have committed similar criminal code offenses
                                                                                                                     which they have been convicted. The current study suggests that these            (Letourneau & Caldwell, 2013).
                                                                                                                     problems are not insurmountable.
                                                                                                                                                                                                                                   Conclusions
                                                                                                                        The ideal desistance research design would involve follow-up
                                                                                                                     (until death) based on diverse sources of information; however, it                  The vast majority of individuals with a history of sexual crime
                                                                                                                     would also be possible to use the current findings to inform                     desist from further sexual crime. Although sexual crime has seri-
                                                                                                                     plausible cross-sectional, case control designs. Individuals identi-             ous consequences, and invokes considerable public concern, there
                                                                                                                     fied as below the desistance threshold (Level I) based on criminal               is no evidence that individuals who have committed such offenses
                                                                                                                     history variables and time free could be compared with those at                  inevitably present a lifelong enduring risk of sexual recidivism.
                                                                                                                     higher risk levels on psychological characteristics (e.g., self-                 Critics may argue that the near zero recidivism rates observed in
                                                                                                                     control, attitudes tolerant of sexual offending), lifestyle, commu-              the current study should not be trusted because most sexual crimes
                                                                                                                     nity adjustment, or other variables of theoretical interest. Such                remain undetected. This type of argument, however, distances
                                                                                                                     designs would be much less expensive than follow-up studies, and                 policy decisions from evidence. If the goal is increased public
                                                                                                                     could be completed within the time frame of typical grant funding                protection (not retribution or punishment), then efficient policies
                                                                                                                     (i.e., 2 to 3 years). Furthermore, it is likely that much valuable data          would be proportional to the risk presented. Risk in most individ-
                                                                                                                     are already recorded in administrative databases. Although very                  uals with a history of sexual crime will eventually decline to levels
                                                                                                                     long-term community supervision of low risk offenders is ineffec-                that are difficult to distinguish from the risk presented by the
                                                                                                                     tive public policy, the fact that it commonly occurs provides a                  general population. Instead of depleting resources on such low risk
                                                                                                                     source of easily identifiable participants for desistance research.              individuals, sexual victimization would be better addressed by



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                                                                                                                     increased focus on truly high risk individuals, primary prevention,                        on sentencing, treatment, and legislation. Sexual Abuse: A Journal of
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                         Attachment 6:
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                                                       Article
                                                                                                                                                         Sexual Abuse
                                                                                                                                                 2021, Vol. 33(1) 3­–33
                                                       Estimating Lifetime and                                                                  © The Author(s) 2019
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                                                       Residual Risk for Individuals                                             sagepub.com/journals-permissions
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                                                       Free in the Community:
                                                       Practical Applications


                                                       David Thornton1 , R. Karl Hanson2,
                                                       Sharon M. Kelley3, and James C. Mundt3


                                                       Abstract
                                                       Although individuals with a history of sexual crime are often viewed as a lifelong
                                                       risk, recent research has drawn attention to consistent declines in recidivism risk
                                                       for those who remain offense free in the community. Because these declines are
                                                       predictable, this article demonstrates how evaluators can use the amount of time
                                                       individuals have remained offense free to (a) extrapolate to lifetime recidivism
                                                       rates from rates observed for shorter time periods, (b) estimate the risk of sexual
                                                       recidivism for individuals whose current offense is nonsexual but who have a history
                                                       of sexual offending, and (c) calculate yearly reductions in risk for individuals who
                                                       remain offense free in the community. In addition to their practical utility for case-
                                                       specific decision making, these estimates also provide researchers an objective,
                                                       empirical method of quantifying the extent to which individuals have desisted from
                                                       sexual crime.

                                                       Keywords
                                                       sexual recidivism, residual risk, extrapolation, desistance



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       A history of sexual crime is a valid risk factor for committing new sexual crimes. For
       many jurisdictions, this has been sufficient justification for diverse public protection
       measures that restrict the freedoms of individuals with a history of sexual crime, such
       as registries, civil commitment, and residence restrictions. Although assessment tools
       have been developed that measure differences in risk levels between individuals, there
       has been much less research on assessing changes within individuals. A common inter-
       pretation of risk scores based on static (e.g., criminal history) variables is that they
       assign risk levels that are themselves static, that is, once an individual has been
       assigned a risk level, that label applies in perpetuity. This is not the case. As docu-
       mented by the research on desistance, people change, and mostly for the better (Laub
       & Sampson, 2003; Laws & Ward, 2011; Maruna, 2001).
           Although scholars debate the processes and mechanisms of desistance (see Harris,
       2014, 2016; Lussier & McCuish, 2016), the more fundamental question of defining
       desistance remains unresolved. Bushway and colleagues made an important contribu-
       tion to this debate when they suggested defining desistance statistically (Bushway,
       Brame, & Paternoster, 2004; Bushway, Piquero, Broidy, Cauffman, & Mazerolle,
       2001). Just as actuarial risk tools can be used to identify individuals at high risk to
       reoffend, they can also be used to identify individuals whose risk for recidivism is
       below a tolerable threshold (such as the rate of first-time convictions of males in the
       general population, see, e.g., Blumstein & Nakamura, 2009). Given that true Damascus
       moments are rare, we can expect, and can statistically model, gradual declines in
       recidivism risk. Whereas very low risk thresholds are of central concern for those
       interested in desistance, there are a number of other thresholds of interest for evalua-
       tions that inform case management decisions (e.g., bail release, civil commitment,
       need for sex crime–specific treatment). The lesson of the desistance literature is that
       the risk of criminal recidivism is not static, even if based on static risk factors—risk
       predictably declines over time (Hanson, 2018).
           For some of these decision thresholds, the concern is with lifetime risk (e.g., desis-
       tance, civil commitment). Although an individual with a history of crime may be cur-
       rently unproblematic, what is the likelihood that this individual will have the intent
       and the opportunity to offend in the future? Given that most recidivism studies have
       follow-up times of 10 years or less, decisions based on lifetime rates must rely on
       some method of extrapolation. Although certain heuristics have been proposed, the
       field has yet to achieve consensus. For example, Doren (2010) recommended that
       evaluators estimate the lifetime risk by doubling the 5-year sexual recidivism rate.
       Wollert and Cramer (2012) criticized the use of a constant multiplier because it poorly
       replicated the observed rates for different risk levels. Better statistical models are
       needed.
           The purpose of this article is to demonstrate a method of estimating lifetime recidi-
       vism rates and for updating risk assessments based on information available after
       release from the index sexual offense. The method requires only three variables: (a) a
       numeric estimate of the likelihood of recidivism at time of release; (b) the number of
       years sex offense free in the community; and (c) whether the individual has a post-
       index conviction for a nonsexual offense. In this article, we used Static-99R scores to


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        estimate the initial hazard rates. This was partly to be of direct assistance to evaluators
        who use that instrument, but readers should note that lifetime rates and time free
        adjustments do not require Static-99R scores; instead, they are intended to apply
        regardless of the method used to determine the initial risk for recidivism. They can be
        used with the numeric estimates derived from other risk tools, or even with the overall
        sexual recidivism base rates observed for a jurisdiction.
            The approach in this article uses discrete-time hazard models previously developed
        by Hanson, Harris, Letourneau, Helmus, and Thornton (2018). Their basic findings
        were a constant decline in sexual recidivism for each year sexual offense free in the
        community, and a separate and incremental effect of post-index nonsexual recidivism.
        Their equations can be used to answer the following three questions: (a) What are the
        lifetime recidivism rates implied by rates observed for 5- and 10-year follow-up? (b)
        How to estimate the risk of sexual recidivism for individuals whose current offense is
        nonsexual but who have a history of sexual offending? (c) How to update risk assess-
        ments for individuals who remain offense free in the community?
            One criticism of Hanson et al.’s (2018) models is that they may not have suffi-
        ciently considered the effect of attaining advance age during follow-up. In the study
        that leads to a revised age weight for Static-99R (Helmus, Thornton, Hanson, &
        Babchishin, 2012), there was a strong decline in recidivism risk for individuals who
        were 60 or older at time of release compared with those who were in their 50s.
        Consequently, it is possible that there is also a dynamic aging effect associated with
        attaining certain advanced age thresholds (e.g., turning 60, turning 80). Such thresh-
        olds are common in human development, for example, the relationship between age
        and height is approximately linear only between childhood and late teenage years.
        Although the direct (linear) effects of aging were included in Hanson et al.’s (2018)
        models, interactions between time free and specific age thresholds were not examined.
        Confidence in the new statistical models would be strengthened by explicitly testing
        the potential effects of critical age thresholds, and if significant, incorporating them
        into the actuarial scheme.
            Being able to generate statistical risk estimates relevant to the three contexts (long-
        term projections; risk given nonsexual offense subsequent to the index sex offense;
        time free from any offending) is important, but for such estimates to be used they must
        be presented in a way that is accessible to their intended audience. The purpose of this
        article is to develop applications of the new statistical models for these three contexts,
        translate them into user-friendly procedures that can be applied by evaluators and
        researchers, and to suggest intelligible ways of explaining the results.
            The numbers and tables presented in this article are not fundamentally new. All the
        values in the tables and figures are implicit in the statistical models presented in
        Hanson et al. (2018): Specifically, they can be derived from values presented in Model 5
        (see Table 4) and Model 6 (see Table 5) from that study. Hanson et al. presented user-
        friendly figures demonstrating changes in risk over time, but these figures only
        addressed changes between standardized risk levels. The expected recidivism rates for
        the various combinations were not presented. Although anyone with the requisite sta-
        tistical training could use Models 5 and 6 to calculate the recidivism rates presented in


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       the Hanson et al. paper, our experience is that many evaluators would find such calcu-
       lations daunting. Furthermore, as we worked through the calculations for this paper,
       we encountered analytic choices that required discussion and decision. Although the
       outcome of these choices had minimal influence on the overall results, the existence of
       such choices increased our appreciation of the need for explicit guidance on how these
       rates should be calculated.
           Our general analytic strategy was based on discrete-time survival analysis (Singer &
       Willett, 2003, Chapter 10). The proportion of individuals with a history of sexual
       offenses who reoffended after a cumulative time period (e.g., sexual recidivism rates at
       5 years) is a function of the proportion who reoffend in each previous time period (i.e.,
       the proportion who reoffend during years 1, 2, 3, 4, and 5). The proportion of at-risk
       individuals who reoffend in any particular year is called the hazard rate for that year.
       Because Hanson et al. (2018) found that the change in yearly hazard rates for sexual
       recidivism was constant (in log odds units), it is possible to estimate from any known
       (observed) recidivism rate the expected recidivism rates for any other time period.
           Readers should note that unless explicitly indicated otherwise we use “reoffend-
       ing,” “recidivism,” and related terms to refer to observed (detected) offending follow-
       ing sanction for a prior detected offense.


       Method
       Participants
       The 7,225 participants in this study were identical to those used in Hanson et al.
       (2018). The sample description below is copied or paraphrased from that study. The
       sample was originally constructed to develop and norm the Static-99R sexual recidi-
       vism risk tool (Helmus et al., 2012). All subjects were adult males (18+) with an
       officially recorded history of sexual crime, a valid Static-99R score, and at least 6
       months of follow-up time. The aggregated dataset was constructed from 20 different
       samples (see Supplemental Table 1), grouped into three broad categories: (a) relatively
       unbiased samples of routine, complete, or randomly selected sets of cases drawn from
       a particular jurisdiction (routine/complete samples; k = 8, n = 4,026), (b) individuals
       referred to specialized sex crime–specific treatment (treatment samples; k = 5,
       n = 1,899), and (c) individuals preselected to be high risk/high need (k = 5,
       n = 1,141). The high-risk/high-need samples were expected to be in the top 10% to
       15% of the risk distribution and were selected for special measures for individuals
       deemed high risk to reoffend, such as civil commitment (United States) or detention
       until warrant expiry (Canada). Treatment samples were those who had been selected
       from a general population for sex crime–specific treatment. The study included two
       additional, small samples that did not fit the main categories, namely, a German sam-
       ple of individuals convicted of sexual murder (n = 86; Hill, Habermann, Klusmann,
       Berner, & Briken, 2008) and a sample of individuals screened to be low risk (n = 73;
       Cortoni & Nunes, 2008). These samples were classified as “other.” Individuals were
       classified according to the study from which they were drawn, and each individual was
       assigned only one sample type.

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           For the full sample, the follow-up period ranged from 6 months to 31.5 years
        (median of 7.2 years, M = 8.2, SD = 5.3 years). Nine samples used charges for a new
        sexual offense as the recidivism criteria, whereas 11 used convictions. Of the 7,225
        individuals, 791 were identified as sexual recidivists. Life-table survival analysis
        found that the overall sexual recidivism rate was 9.1% at 5 years, 13.3% at 10 years,
        16.2% at 15 years, 18.2% at 20 years, and 18.5% at 25 years.
           The distributions of individuals from the different sample types varied based on
        follow-up period. Of the 4,940 individuals followed for 5 years or more, 48.7% were
        from routine samples. In contrast, only 5.9% of those followed for 15 years or more
        were from routine samples (64.6% treatment; 25.4% high risk/high need; 4.1% other;
        total n = 740). Among the 394 individuals followed for more than 20 years, there was
        only one sexual recidivist: a 63-year-old man who had been in the community for 20.5
        years (originally released at age 43). Further description of the sample composition
        and attrition during follow-up is available in Hanson et al. (2018).


        Measures
        Static-99R. Static-99R (Helmus, Thornton, et al., 2012) was used as a measure of risk
        for sexual recidivism at the time of release from the index sexual offense. Static-99R
        contains 10 items based on commonly available demographic (age, relationship his-
        tory) and criminal history information (e.g., prior sexual offenses, any unrelated vic-
        tims, total number of prior sentencing occasions for anything). Static-99R (and its
        previous version, Static-99) are the sexual recidivism risk assessment tools most com-
        monly used in corrections and forensic mental health (Kelley, Ambroziak, Thornton,
        & Barahal, 2018; McGrath, Cumming, Burchard, Zeoli, & Ellerby, 2010; Neal &
        Grisso, 2014). It can be scored with high rater reliability (for a review, see Phenix &
        Epperson, 2016) and has moderate ability to discriminate recidivists from nonrecidi-
        vists (Helmus, Hanson, Thornton, Babchishin, & Harris, 2012).
           Static-99R total scores range from −3 to 12 and correspond to the following risk
        levels: I—very low risk (scores of −3 and −2), II—below-average risk (scores of −1
        and 0), III—average risk (scores of 1−3), IVa—above-average risk (scores of 4 and 5),
        and IVb—well above average risk (scores of 6 and higher; Hanson, Babchishin,
        Helmus, Thornton, & Phenix, 2017). Static-99R risk levels parallel the standardized
        risk levels developed for general correctional populations by the Justice Centre of the
        Council of State Governments (Hanson et al., 2017). These standardized risk levels
        address the crime-relevant characteristics of individuals in the criminal justice system,
        the intensity of correctional supervision and rehabilitation programming needed to
        manage their risk, and their personal strengths and expected prognosis.
           In this study, the observed recidivism rates associated with Static-99R scores were
        used as a plausible range of values from which to estimate the initial annual hazard
        rates. Specifically, we used the observed 5-year sexual recidivism rates for routine/
        complete samples. We used both the 5- and 10-year rates for preselected high-risk
        samples (Hanson, Thornton, Helmus, & Babchishin, 2016; Phenix, Helmus, & Hanson,
        2016).


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       Table 1. Logistic Regression Equations Used to Estimate Annual Hazard Rates With or
       Without Nonsexual Recidivism.

                                                                                Models

                                                          No recidivism                Nonsexual recidivism
                                                           (Model 5)                       (Model 6)
       No. of individuals (events)                   7,225 (791)                             4,078 (318)
       Parameters
          Intercept                                 –5.002 (.085)                           –5.407 (.136)
          Time free (years)                         −0.130 (.011)                           −0.135 (.019)
          Static-99R                                 0.329 (.022)                            0.322 (.035)
       Sample type (reference category is routine/complete)
          Treatment                                  0.459 (.110)                            0.228 (.198)
          High risk/high need                        0.920 (.136)                            1.459 (.193)
          Other                                     −0.705 (.595)                           −0.413 (.635)
       Interaction: Static-99R by sample type
          Treatment × STATIC                        −0.081 (.034)                           −0.088 (.062)
          High risk/high need × STATIC              −0.194 (.053)                           −0.137 (.036)
          Other × STATIC                             0.070 (.146)                            0.025 (.162)
          Nonsexual recidivism                                                               0.440 (.125)
       Overall accuracy (AUC)                           0.747                                   0.755

       Note. The models for no recidivism and for nonsexual recidivism are the discrete-time logistic regression
       Model 5 and Model 6, respectively, from Hanson, Harris, Letourneau, Helmus, and Thornton (2018).
       AUC = area under the curve.


       Plan of Analysis
       Review of Hanson et al.’s statistical models. Because the estimation procedures used in
       this study were based on Hanson et al. (2018), an overview of that study is helpful to
       understanding our analytic approach. Hanson et al. (2018) fit logistic regression equa-
       tions to discrete-time survival data (Singer & Willett, 1993, 2003; Willet & Singer,
       1993). Specifically, follow-up periods were divided into 6-month intervals and the
       probability of sexual recidivism within these intervals was used as the dependent vari-
       able in logistic regression. The person-period dataset contained 105,347 observations
       (6-month intervals) across 7,225 individuals. Given that the sample size was very
       large, inclusion or exclusion of predictor variables was based on the Akaike Informa-
       tion Criteria (AIC; Burnham & Anderson, 2004) and the Bayesian Information Crite-
       ria (BIC; Raftery, 1995). These are statistical measures of model fit that penalize
       overfitting. The two models of best fit, used in this study, are presented in Table 1. For
       those with no convictions up to the time of assessment for post-index nonsexual
       offending, Hanson et al.’s Model 5 is used. For those with any convictions up to the
       time of assessment for post-index nonsexual offending Hanson et al.’s Model 6 is
       used. Although it would be possible to use Model 6 for both groups, we retained
       separate models because the sample size for Model 5 was substantially larger than the
       sample size used to derive Model 6 (7,225 vs. 4,078).

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            Hanson et al. (2018) found that the logistic distribution adequately fit Models 5 and
        6 (nonsignificant Hosmer–Lemeshow goodness-of-fit test). Using Rice and Harris’
        (2005) guidelines, the overall predictive accuracy (discrimination) of these models
        was large, as indicated by area under the curve (AUC) values of .747 (Model 5) and
        .755 (Model 6). These AUC values can be interpreted as the probability that a recidi-
        vist would have a higher predicted probability of recidivism than a nonrecidivist.
            In this study, the relevant parameters from Models 5 and 6 are the dynamic effects
        of (a) time free in the community without sexually reoffending and (b) nonsexual
        recidivism during follow-up. All the other variables are static, fixed variables that
        estimate the initial hazard of reoffending sexually at the time of release. In the approach
        used to estimate the initial hazards, the remaining parameters in Models 5 and 6 should
        be considered control variables, or covariates, intended to increase the precision of the
        primary parameter of interest (i.e., the time free effect). The other parameters are not
        needed for the estimates in this study. Specifically, the values in Table 1 of most direct
        interest are the time free effect given no new recidivism (b = –.130 [SE = .011]) and,
        for those with nonsexual recidivism, the combined effect of nonsexual recidivism
        (b = .440 [SE = .125]) and the independent and incremental effect of time free from
        sexual offending (b = –.135 [SE = .019]).
            Confidence in the size of the time free effect is bolstered by Hanson et al.’s (2018)
        findings that the time free parameter remained relatively constant regardless of the
        control variables included: b = –.131 (SE = .011) with no control variables; b = –.123
        (SE = .011) with only Static-99R scores; b = –.128 (SE = .011) for Static-99R and
        sample type (4 types) included; b = –.130 (SE = .011) with Static-99R, sample type,
        and the interactions between Static-99R and sample type (Model 5); and b = –.135
        (SE = .019) for the model that also included nonsexual recidivism (Model 6).
        Importantly, Hanson et al. (2018) found that the time free effect did not vary based on
        initial risk levels, as defined by Static-99R scores, or sample type.
            The values provided in Table 1 are in logits, or log odds units, of the yearly hazard
        rates: ln(hazard rate/[1 – hazard rate]). This means that when the time free effect is
        b = –.130, there is a reduction of .130 log odds units of sexually recidivating for
        each consecutive year in the community without reoffending, or a reduction of
        e –.1 30 = .878095 in the odds of recidivism per year. Nonsexual criminal recidivism
        increases the odds of recidivism in any particular year by 1.55 (e.440 = 1.55).

        Discrete-time survival analysis. The discrete-time approach (see, e.g., Singer & Willett,
        2003, Chapter 10) estimates recidivism rates based on the proportion of individuals
        who reoffend during a discrete time period divided by the number of individuals avail-
        able to reoffend during that time period. This ratio is called a hazard (ht) and can
        assume values from zero (no recidivists in that time period) to 1.0 (all available indi-
        viduals reoffend). The subscript t indicates that the hazard rate is a variable that can
        take different values for different years (i.e., h3 refers to the hazard rate in year 3, and
        ht is the general form indicating the hazard rate for t different years).
            The proportion of individuals surviving any single time interval is one minus the
        hazard rate for that interval (st = 1 – ht). Conversely, the recidivism rate is one minus
        the proportion surviving (i.e., the hazard rate). The cumulative proportion surviving

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       (ST) is the product of the proportion who has not previously reoffended (i.e., the pro-
       portion still at risk [pat risk]) and the proportion not reoffending during that specific time
       interval:

                                        ST = pat risk × [1 − ht ] or ST = pat risk × st .

       With a consistent decline in hazard rates over time (known from previous research),
       yearly hazard rates can be estimated from any observed recidivism rate for any length
       of time (e.g., yearly rates can be estimated from 2-year, 5-year, 7.6-year, or any other
       fixed follow-up period).
           Once the expected hazard rates are estimated for each year, the cumulative survival
       is estimated using the hazard rates projected into all future years. Given that the hazard
       of reoffending is negligible after 20 years, follow-up ended at that time, that is, the
       hazard rate after 20 years sexual offense free was set to zero.
           As stated previously, the cumulative survival rate, ST, is the product of the survival
       rates (1 – ht) of each year at risk:

                                                                 t
                                                       ST =    ∏ (1 − h ).
                                                               year =1
                                                                               t                                            (1)


       Given the constant annual reduction in the logit of the hazard rate, it is useful to
       express the hazards in Formula 1 in logit units:

                                                       t                 1              
                                          ST =    ∏ 1 −  1 + e (
                                                 year =1 
                                                                                           .
                                                                         − logit ( ht ) )  
                                                                                          
                                                                                                                            (2)


       Formula 2 is identical to Formula 1, except that the hazard rate is first transformed into
       logit units, ln(h/[1 – h]), then retransformed back into a proportion, p = 1/(1 + e–logit(h)).
       This transformation makes it easy to increment the logit of the yearly hazard rate by a
       constant (e.g., b = –.130):

                                                   t                  1                    
                                          ST =   ∏     1 −                                  .
                                                         1 + e −( logit( h1 ) + ( y −1)b )  
                                                  y =1                                     
                                                                                                                            (3)


       For example, if b = –.130 and the observed 3-year sexual recidivism rate is 10%
       (90% survival), Formula 3 would be written as follows:

                            1                              1                               1               
            .90 = 1 −                        1 −                             1 −                            .
                    1 + e −( logit( h1 ) )     1 + e −( logit( h1 )−.130 )     1 + e −( logit( h1 )−.260 )  
                                                                                                           




                                                                     8
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        This equation has a single positive solution for h1 (the hazard rate for the first year),
        although the algebra is complicated. Consequently, rather than solve each equation for
        h1, the value of h1 was estimated to four significant figures through iteration using an
        Excel spreadsheet. For example, the initial 1-year hazard rate for a Static-99R score of
        3 was just more than 2% (.02073) for routine/complete samples (see Supplemental
        Table 2).

        Extrapolation from 5- or 10-year recidivism rates to 20-year rates. Three sets of observed
        recidivism rates were used to estimate initial hazard rates (i.e., hazard rates at time
        of release) associated with Static-99R scores: the observed 5-year sexual recidivism
        rates for routine/complete samples, the 5-year rates for preselected high-risk sam-
        ples, and the 10-year rates for the preselected high-risk samples (Hanson et al.,
        2016; Phenix et al., 2016). The resulting estimates for h1 are presented in Supple-
        mental Table 2.
           Once the hazard rates at time of release were estimated, the hazard rates for subse-
        quent years were calculated by subtracting .130 from the logit of the hazard rate for the
        previous year: logit(ht + 1) = logit(ht) – .130. The logit was then transformed back into
        proportions, and Formula 1 was used to calculate the cumulative survival rates for
        follow-up times up to 20 years offense free.

        Assessing the risk for sexual recidivism following a nonsexual offense. The same initial
        hazard rates (see Supplemental Table 2) were used when estimating risk for individu-
        als with a history of sexual crime but who reoffend nonsexually after release from their
        index sex offense. Here “nonsexual” reoffenses refer to convictions for new offenses,
        not to technical violations. For each full year that they were sexual offense free, .135
        was subtracted from the logit of the hazard of the previous year. This applied to each
        year in the community, except the year in which the individual received his first non-
        sexual conviction. During the year of nonsexual recidivism, .440 was added to the
        logit of the hazard for the previous year. This was added only once and remained for
        the rest of the follow-up period. No credit was given for being sexual offense free dur-
        ing the year of first nonsexual conviction. In all subsequent follow-up years, however,
        the time free reduction was applied.

        Revising initial risk assessment years based on time offense free in the community. At time
        of release, individuals face risk of sexually recidivating presented in 20 intervals: the
        cumulative hazards for year 1 to year 20. The hazard rate after 20 years was set to zero.
        When an individual has remained offense free for x years, his residual risk was calcu-
        lated using the hazard rates for his subsequent years at risk (i.e., yearx + 1 to year20).
        The initial start values (hazard rates at release) were those provided in Supplemental
        Table 2. The time free effect for individuals who did not have any post-release non-
        sexual convictions was set at –.130 of the logit of the hazard of the previous year. The
        logits of the hazard values were then transformed back into proportions and used to
        estimate residual risk using Formula 1.



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       Estimating errors of recidivism estimates. Three approaches were used to examine the
       margin of error of calculated estimates. The first approach compared the initial hazard
       values inferred from the observed recidivism rates for the preselected high-risk groups
       at 5 years and for the same group at 10 years. If the relative decline is as constant as
       we propose, then similar estimates should be produced regardless of the follow-up
       period used to infer the initial estimates.
          The second approach examined how much the results changed when the calcula-
       tions used the full range of values included in the 95% confidence intervals of the time
       free parameter (±1.96 × SE). Specifically, estimates were computed based on the
       values of −0.15156 and −0.10844 (calculated as −0.130 ± [1.96 × 0.011]). A limita-
       tion of this approach is that the size of the standard error is primarily influenced by the
       total sample size, which was very large (105,347 observations).
          The third approach examined how much the results changed based on the different
       values of the time free parameter in the different logistic models (see Tables 4 and 5
       from Hanson et al., 2018). In the plausible models, these values ranged from –.123
       (SE = .011) to –.135 (SE = .019).


       Results
       As a preliminary step, we examined whether there was any evidence of incremental
       effects of turning 60, 70, or 80 in the community. None were found. In the full dataset
       of 7,225 individuals, the average age at release was 39.9 years (SD = 12.2) with a
       range from 18 to 84. The average age at the end of the follow-up (survival end date,
       i.e., the earlier of recidivism date or end of follow-up) was 47.2 (SD = 12.9), with a
       range of 19 to 103 years. There were 1,174 individuals who were 60 or older, 399 who
       were 70 or older, and 84 who were 80 or older at some point during the follow-up
       period. There were no recidivists in the dynamic 80+ age group. The oldest recidivist
       was 76 years old and had been in the community for 3.5 years.
           In the logistic model that included time free, Static-99R total scores, sample type,
       and the interaction of sample type and Static-99R as covariates (Hanson et al., 2018,
       Model 5; 105,347 observations, 791 sexual recidivists), neither turning 60, turning 70,
       or turning 80 improved the prediction of sexual recidivism. Nor did any of these age
       thresholds statistically interact with time free (all AIC and BIC changes were positive,
       i.e., in the direction of worsening model fit). The incremental effects of turning 60,
       turning 70, and turning 80 were also tested in a simpler model that only included time
       free and Static-99R scores (not sample type) as covariates, and again they did not
       improve model fit (all AIC and BIC changes were positive). In other words, although
       individuals in these older dynamic age groups demonstrated low sexual recidivism
       rates, these low levels of risk were expected given their Static-99R scores at time of
       release (including age at release) and their years offense free in the community.


       Extrapolations to 20-year recidivism rates
       Extrapolation to 20-year sexual recidivism rates involved estimating the annual hazard
       at time of release based on observed recidivism rates and then using these initial hazards

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        Table 2. Estimated Sexual Recidivism Rates (Percentages) for Follow-Up Periods Ranging
        From 6 to 20 Years for Routine/Complete Samples Based on Observed 5-Year Recidivism
        Rates.

                                              Initial risk (based on Static-99R scores)

                  Level I         Level II            Level III        Level IVa              Level IVb
        Follow-up
        year      −3 −2           −1      0       1       2        3    4     5    6      7       8       9   10
         5            0.9   1.3    1.9    2.8     3.9 5.6 7.9 11.0 15.2 20.5 27.2 35.1 43.8 53.0
         6            1.0   1.5    2.2    3.2     4.4 6.3 8.9 12.4 17.1 22.9 30.2 38.8 48.0 57.6
         7            1.1   1.6    2.4    3.5     4.9 7.0 9.8 13.6 18.6 25.0 32.8 41.9 51.5 61.3
         8            1.2   1.8    2.6    3.8     5.2 7.5 10.5 14.6 20.0 26.7 35.0 44.4 54.4 64.3
         9            1.3   1.9    2.7    4.0     5.6 8.0 11.2 15.5 21.2 28.3 36.9 46.6 56.8 66.7
        10            1.4   2.0    2.9    4.2     5.9 8.4 11.8 16.3 22.2 29.6 38.5 48.5 58.8 68.8
        11            1.4   2.1    3.0    4.4     6.1 8.8 12.3 17.0 23.1 30.7 39.9 50.0 60.4 70.4
        12            1.5   2.1    3.1    4.6     6.4 9.1 12.7 17.6 23.9 31.7 41.0 51.4 61.9 71.9
        13            1.5   2.2    3.2    4.7     6.6 9.4 13.1 18.1 24.6 32.5 42.1 52.5 63.1 73.0
        14            1.6   2.3    3.3    4.9     6.7 9.6 13.5 18.5 25.2 33.3 42.9 53.5 64.1 74.0
        15            1.6   2.3    3.4    5.0     6.9 9.8 13.8 18.9 25.7 33.9 43.7 54.4 65.0 74.9
        16            1.6   2.4    3.5    5.1     7.0 10.0 14.0 19.3 26.2 34.5 44.4 55.1 65.8 75.6
        17            1.7   2.4    3.5    5.2     7.1 10.2 14.2 19.6 26.5 35.0 44.9 55.7 66.4 76.2
        18            1.7   2.4    3.6    5.2     7.2 10.3 14.4 19.8 26.9 35.4 45.4 56.3 67.0 76.8
        19            1.7   2.5    3.6    5.3     7.3 10.5 14.6 20.1 27.2 35.7 45.9 56.8 67.5 77.2
        20            1.7   2.5    3.7    5.4     7.4 10.6 14.8 20.3 27.5 36.1 46.3 57.2 67.9 77.6

        Note. Bolded values are the 5-year logistic regression estimates for routine/complete samples from
        Hanson, Thornton, Helmus, and Babchishin (2016). N = 4,325 (358 recidivists).


        (see Supplemental Table 2) to project forward based on the consistent decline over the
        observed 20-year follow-up period. The results of these projections are shown for rou-
        tine/complete samples based on 5-year observed rates (see Table 2) and for preselected
        high-risk/high-need samples based on 5-year observed rates (see Table 3) and on 10-year
        observed rates (see Table 4). These risk estimates are relevant to evaluators who are
        assessing long-term risk subsequent to release from the index sex offense. The assess-
        ment is normally made prior to this release and relates to risk at the point of release.
           To use these tables, evaluators need to know the individual’s Static-99R score and
        whether the individual has sufficient density of external risk factors (i.e., risk factors
        not measured by the Static-99R risk tool) to justify placement in the high-risk/high-
        need reference group (i.e., whether or not to use Table 2 for routine/complete samples;
        for a discussion on selecting reference groups for Static-99R norms, see Hanson et al.,
        2016). Of the two tables for the high-risk/high-need samples (see Tables 3 and 4), our
        preference is Table 4 because it requires less extrapolation than Table 3. On the con-
        trary, some evaluators may prefer Table 3 to Table 4 because the 5-year sexual recidi-
        vism norms are based on more samples with a larger total N than the 10-year norms.
        Consistency between estimates in Table 3 and those in Table 4 provides one check on
        the potential error associated with the extrapolation method.

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       Table 3. Estimated Sexual Recidivism Rates (Percentages) for Follow-Up Periods Ranging
       From 6 to 20 Years for High-Risk/High-Need Samples Based on Observed 5-Year Recidivism
       Rates.

                                             Initial risk (based on Static-99R scores)

                 Level I          Level II           Level III       Level IVa               Level IVb
       Follow-up
       year      −3 −2            −1     0       1       2       3    4     5     6      7       8       9    10
        5                         5.6 7.2 9.0 11.3 14.0 17.3 21.2 25.7 30.7 36.3 42.2 48.4
        6                         6.3 8.1 10.1 12.7 15.7 19.4 23.7 28.6 34.0 40.1 46.3 52.9
        7                         7.0 8.9 11.1 13.9 17.2 21.2 25.8 31.1 36.9 43.2 49.8 56.5
        8                         7.5 9.6 12.0 15.0 18.5 22.7 27.6 33.2 39.2 45.8 52.6 59.4
        9                         8.0 10.2 12.7 15.9 19.6 24.0 29.2 35.0 41.3 48.1 54.9 61.9
       10                         8.4 10.8 13.4 16.7 20.6 25.2 30.5 36.5 43.0 49.9 56.9 63.9
       11                         8.8 11.2 14.0 17.4 21.4 26.2 31.7 37.8 44.4 51.5 58.6 65.6
       12                         9.1 11.6 14.5 18.0 22.1 27.0 32.7 39.0 45.7 52.9 60.0 67.0
       13                         9.4 12.0 14.9 18.5 22.8 27.8 33.6 40.0 46.8 54.0 61.2 68.2
       14                         9.6 12.3 15.3 19.0 23.3 28.4 34.3 40.8 47.7 55.0 62.2 69.2
       15                         9.8 12.6 15.6 19.4 23.8 29.0 35.0 41.6 48.5 55.9 63.1 70.1
       16                        10.0 12.8 15.9 19.8 24.2 29.5 35.5 42.2 49.2 56.6 63.9 70.9
       17                        10.2 13.0 16.2 20.1 24.6 29.9 36.0 42.8 49.8 57.3 64.5 71.5
       18                        10.3 13.2 16.4 20.3 24.9 30.3 36.5 43.2 50.4 57.8 65.1 72.1
       19                        10.5 13.4 16.6 20.6 25.2 30.6 36.8 43.7 50.8 58.3 65.6 72.5
       20                        10.6 13.5 16.7 20.8 25.4 30.9 37.2 44.0 51.2 58.8 66.0 73.0

       Note. Bolded values are the 5-year logistic regression estimates for high-risk/high-need groups from
       Phenix, Helmus, and Hanson (2016). N = 860 (164 recidivists).


          As shown in Table 2, for the average risk group (Level III), the 10-year rates were
       approximately 1.5 times the 5-year rates, and the 20-year rates were approximately
       double the 5-year rates. For a Static-99R score of 2 (the median value), the observed
       5-year sexual recidivism rate was 5.6%, the cumulative 10-year rate was 8.4%, and the
       cumulative 20-year rate was 10.6%. The same pattern was observed for the very low
       risk group (Level I) and the below-average risk group (Level II). As the initial risk
       levels increased, however, the 20-year rates were less than double the 5-year rates. For
       example, for a Static-99R score of 8, the observed 5-year rate was 35.1% and the
       cumulative 20-year rate was 57.2% (not 70.2%).
          The maximum lifetime recidivism risk for individuals classified as Level I (very
       low risk) was 2.5% (Static-99R scores of −3 and −2), which would translate to an
       applied decision threshold of less than three out of 100 individuals. Rates this low
       were only observed in routine/complete samples; no individuals from the high-risk
       samples met this threshold at time of release. Conversely, if decisions involve a high
       risk threshold of lifetime recidivism rates of 35% or more, then this would corre-
       spond to Static-99R scores of 6+ (well above average) in routine/complete samples,
       or 5+ in preselected high-risk/high-need samples.


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        Table 4. Estimated Sexual Recidivism Rates (Percentages) for Follow-Up Periods of 5 and
        11 to 20 Years for High-Risk/High-Need Samples Based on Observed 10-Year Recidivism
        Rates.

                                            Initial risk (based on Static-99R scores)

                       Level I        Level II            Level III          Level IVa            Level IVb
        Follow-up
        year          −3      −2      −1      0       1        2      3       4       5       6       7         8
         5                            7.1  8.7 10.7 13.0 15.7 18.8 22.4 26.3 30.6 35.1
        10                           10.6 13.0 15.8 19.1 22.9 27.3 32.1 37.3 42.8 48.5
        11                           11.1 13.6 16.5 19.9 23.8 28.4 33.3 38.6 44.3 50.1
        12                           11.5 14.0 17.0 20.6 24.6 29.3 34.3 39.8 45.5 51.4
        13                           11.8 14.5 17.5 21.2 25.3 30.1 35.2 40.8 46.6 52.6
        14                           12.1 14.8 18.0 21.7 25.9 30.8 36.0 41.7 47.5 53.6
        15                           12.4 15.2 18.4 22.1 26.4 31.4 36.7 42.4 48.4 54.4
        16                           12.6 15.4 18.7 22.5 26.9 31.9 37.3 43.1 49.1 55.1
        17                           12.8 15.7 19.0 22.9 27.3 32.4 37.8 43.6 49.7 55.8
        18                           13.0 15.9 19.3 23.2 27.7 32.8 38.3 44.1 50.2 56.3
        19                           13.2 16.1 19.5 23.4 28.0 33.1 38.7 44.6 50.6 56.8
        20                           13.3 16.3 19.7 23.7 28.2 33.4 39.0 44.9 51.0 57.2

        Note. Bolded values are the 10-year logistic regression estimates for high-risk/high-need groups from
        Phenix, Helmus, and Hanson (2016). N = 350 (98 recidivists).


        Risk Assessment Given a Post-Index Nonsexual Offense
        Tables 5 and 6 present the 20-year sexual recidivism rates for individuals with a his-
        tory of sexual crime, but who were convicted of a nonsexual offense subsequent to
        their release from their index sex offense. For this analysis, the risk for sexual recidi-
        vism was again assumed to be zero after 20 years sexual offense free in the commu-
        nity. For the high-risk/high-need samples, the projections were based on the estimated
        initial hazard rates estimated from the observed 10-year rates. These are the recidivism
        estimates relevant to evaluators wishing to assess the risk presented by individuals
        with a history of sexual offending who have come to attention because they have com-
        mitted a nonsexual offense after release from their index sex offense. However, it can
        also be used for any individual who has had a new nonsexual conviction following
        release from an index sexual offense, for example, individuals with a sexual offending
        history who have been several years on community supervision for a nonsexual
        offense. In this case, the follow-up year would be years at liberty in the community
        since the index sexual offense, subtracting time served from calendar time.
            To use these tables, evaluators need to know the individual’s Static-99R score, the
        number of years offense free in the community prior to the first nonsexual offense
        conviction, and whether the individual has sufficient density of external risk factors to
        justify placement in the high-risk/high-need reference group (i.e., whether to use Table
        5 or 6). The numbers in the tables are the percentage of individuals expected to commit



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       Table 5. Projected Residual Risk (Sexual Recidivism Rates as Percentages) From Time of
       Release Up to 20 Years Sex Offense Free in the Community for Routine/Complete Samples
       by Time of First Nonsexual Recidivism.

                                             Initial risk (based on Static-99R scores)

                 Level I          Level II            Level III       Level IVa              Level IVb
       Follow-up
       year      −3 −2            −1     0        1       2       3    4     5    6      7       8       9   10
       <1           2.6 3.8       5.5    8.0 11.0 15.5 21.4 28.9 38.2 48.8 60.4 71.6 81.3 88.9
        1           2.3 3.3       4.7    6.9 9.6 13.6 18.8 25.5 34.1 44.1 55.3 66.6 76.8 85.3
        2           2.0 2.8       4.1    6.0 8.3 11.8 16.5 22.5 30.3 39.5 50.2 61.3 71.9 81.2
        3           1.7 2.4       3.5    5.2 7.2 10.3 14.4 19.7 26.8 35.2 45.2 56.1 66.7 76.5
        4           1.5 2.1       3.1    4.5 6.2 8.9 12.5 17.2 23.5 31.2 40.5 50.8 61.3 71.4
        5           1.2 1.8       2.6    3.9 5.4 7.7 10.8 15.0 20.6 27.5 36.0 45.7 55.9 66.0
        6           1.1 1.5       2.2    3.3 4.6 6.6 9.3 13.0 17.9 24.0 31.7 40.7 50.4 60.4
        7           0.9 1.3       1.9    2.8 3.9 5.7 8.0 11.1 15.4 20.9 27.8 36.0 45.1 54.8
        8           0.8 1.1       1.6    2.4 3.3 4.8 6.8 9.5 13.3 18.0 24.1 31.5 39.9 49.1
        9           0.6 0.9       1.4    2.0 2.8 4.1 5.8 8.1 11.3 15.4 20.8 27.4 35.0 43.5
       10           0.5 0.8       1.2    1.7 2.4 3.4 4.9 6.8 9.6 13.1 17.7 23.5 30.3 38.0
       11           0.5 0.7       1.0    1.4 2.0 2.8 4.1 5.7 8.0 11.0 15.0 20.0 25.9 32.8
       12           0.4 0.5       0.8    1.2 1.6 2.3 3.3 4.7 6.6 9.1 12.5 16.7 21.9 27.9
       13           0.3 0.4       0.6    0.9 1.3 1.9 2.7 3.8 5.4 7.4 10.2 13.8 18.1 23.3
       14           0.2 0.3       0.5    0.7 1.0 1.5 2.2 3.0 4.3 6.0 8.2 11.1 14.7 19.0
       15           0.2 0.3       0.4    0.6 0.8 1.2 1.7 2.4 3.3 4.6 6.4 8.7 11.6 15.1
       16           0.1 0.2       0.3    0.4 0.6 0.9 1.2 1.8 2.5 3.5 4.8 6.5 8.7 11.4
       17           0.1 0.1       0.2    0.3 0.4 0.6 0.9 1.2 1.7 2.4 3.4 4.6 6.2 8.1
       18           0.1 0.1       0.1    0.2 0.3 0.4 0.5 0.8 1.1 1.5 2.1 2.9 3.9 5.1
       19          <0.1 <0.1      0.1    0.1 0.1 0.2 0.3 0.4 0.5 0.7 1.0 1.4 1.8 2.4
       20           0.0 0.0       0.0    0.0 0.0 0.0 0.0 0.0 0.0 0.0 0.0 0.0 0.0 0.0

       Note. Recidivism rate projections based on 5-year logistic regression estimates from Hanson, Thornton,
       Helmus, and Babchishin (2016). Underlined values mark the transition out of Level IVb (above 35%) and
       into Level I (less than 3%).


       another sexual offense were they to be followed up to 20 years. For example, the
       expected 20-year sexual recidivism rates for those in the middle of the risk distribution
       (Static-99R score of 2) is 15.5% should they be convicted of a nonsexual offense dur-
       ing the first year at liberty. This rate declines to 7.7% if their first nonsexual conviction
       was in year 5.
          It is interesting to note that, even with nonsexual offending, all individuals with a
       history of sexual offenses will still drop below a low risk threshold of 3% should they
       remain sexual offense free in the community long enough. As shown in Table 5, for the
       very low risk group (Level I), individuals in routine/complete samples are below this
       threshold after 1 year. For the below-average group (Level II), it is between 5 and 7
       years; for the average risk group (Level III), it is between 9 and 13 years; and for the



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        Table 6. Projected Residual Risk (Sexual Recidivism Rates as Percentages) From Time
        of Release Up to 20 Years Sex Offense Free in the Community for High-Risk/High-Need
        Samples by Time of First Nonsexual Recidivism.

                                            Initial risk (based on Static-99R scores)

                  Level I        Level II          Level III          Level IVa             Level IVb
        Follow-up
        year      −3 −2          −1     0      1       2        3      4      5      6      7      8     9   10
        <1                      19.3   23.4   28.1    33.4     39.2   45.6   52.3   59.0   65.5   71.7
         1                      17.0   20.6   24.8    29.6     35.0   41.0   47.3   53.8   60.3   66.6
         2                      14.8   18.1   21.9    26.2     31.1   36.7   42.6   48.8   55.1   61.4
         3                      12.9   15.8   19.2    23.1     27.5   32.6   38.1   43.9   50.0   56.1
         4                      11.2   13.8   16.7    20.2     24.2   28.8   33.8   39.3   45.0   50.8
         5                       9.7   11.9   14.5    17.6     21.2   25.3   29.9   34.8   40.2   45.7
         6                       8.4   10.3   12.6    15.3     18.4   22.1   26.2   30.7   35.6   40.8
         7                       7.2    8.8   10.8    13.2     15.9   19.2   22.8   26.9   31.3   36.0
         8                       6.1    7.5    9.2    11.3     13.7   16.5   19.7   23.3   27.3   31.6
         9                       5.2    6.4    7.9     9.6     11.7   14.1   16.9   20.1   23.6   27.4
        10                       4.4    5.4    6.6     8.1      9.9   12.0   14.4   17.1   20.2   23.5
        11                       3.6    4.5    5.5     6.8      8.3   10.0   12.1   14.4   17.1   20.0
        12                       3.0    3.7    4.6     5.6      6.8    8.3   10.0   12.0   14.2   16.7
        13                       2.4    3.0    3.7     4.5      5.6    6.8    8.2    9.8   11.7   13.8
        14                       1.9    2.4    2.9     3.6      4.4    5.4    6.6    7.9    9.4   11.1
        15                       1.5    1.9    2.3     2.8      3.4    4.2    5.1    6.2    7.4    8.7
        16                       1.1    1.4    1.7     2.1      2.6    3.2    3.8    4.6    5.5    6.5
        17                       0.8    1.0    1.2     1.5      1.8    2.2    2.7    3.2    3.9    4.6
        18                       0.5    0.6    0.7     0.9      1.1    1.4    1.7    2.0    2.4    2.9
        19                       0.2    0.3    0.3     0.4      0.5    0.6    0.8    1.0    1.1    1.4
        20                       0.0    0.0    0.0     0.0      0.0    0.0    0.0    0.0    0.0    0.0

        Note. Recidivism rate projections based on 10-year logistic regression estimates from Hanson, Thornton,
        Helmus, and Babchishin (2016). Underlined values mark the transition out of Level IVb (above 35%) and
        into Level I (less than 3%).


        above-average groups in routine/complete samples (Level IVa and Level IVb), it is
        between 14 and 19 years.
           Conversely, for high-risk/high-need samples, 20-year sexual recidivism rates of
        35% or higher would be expected for individuals with Static-99R scores as low as 3 if
        they were convicted for a new nonsexual offense soon after release. A score of 3 is
        typically considered average, with projected lifetime recidivism rates of 14.8% (rou-
        tine/complete samples; see Table 2); however, if the individuals had a score of 3, were
        classified as high risk/high need, and reoffend with a nonsexual offense within the first
        year at liberty, their expected 20-year sexual recidivism rate would now be 39.2% (39
        out of 100). Individuals placed in Risk Level IVb (well above average; Static-99R
        scores of 6+) would still have lifetime sexual recidivism rates above the 35%



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       Table 7. Projected Residual Risk (Sexual Recidivism Rates as Percentages) From Time of
       Release Up to 20 Years Offense Free in the Community for Routine/Complete Samples.

                                             Initial risk (based on Static-99R scores)

                     Level I      Level II            Level III        Level IVa             Level IVb
       Follow-up
       year         −3     −2     −1     0        1       2        3    4     5    6     7       8       9   10
       At release 1.7 2.5 3.7            5.4      7.4 10.6 14.8 20.3 27.5 36.1 46.3 57.2 67.9 77.6
        1         1.5 2.2 3.2            4.7      6.5 9.3 13.0 17.9 24.3 32.2 41.8 52.3 62.9 72.9
        2         1.3 1.9 2.8            4.1      5.6 8.1 11.3 15.7 21.5 28.7 37.5 47.4 57.8 68.0
        3         1.1 1.6 2.4            3.5      4.9 7.0 9.9 13.7 18.9 25.4 33.4 42.7 52.7 62.8
        4         1.0 1.4 2.1            3.0      4.2 6.1 8.6 12.0 16.6 22.3 29.7 38.3 47.7 57.6
        5         0.8 1.2 1.8            2.6      3.7 5.3 7.5 10.4 14.4 19.6 26.2 34.0 42.9 52.3
        6         0.7 1.0 1.5            2.3      3.2 4.5 6.6 9.0 12.5 17.1 22.9 30.1 38.2 47.2
        7         0.6 0.9 1.3            1.9      2.7 3.9 5.5 7.8 10.8 14.8 20.0 26.4 33.8 42.1
        8         0.5 0.8 1.1            1.6      2.3 3.3 4.8 6.6 9.3 12.7 17.3 23.0 29.6 37.3
        9         0.4 0.6 0.9            1.4      2.0 2.8 4.0 5.6 7.9 10.9 14.8 19.8 25.7 32.6
       10         0.4 0.5 0.8            1.2      1.6 2.4 3.4 4.8 6.7 9.2 12.6 16.9 22.1 28.3
       11         0.3 0.5 0.7            1.0      1.4 2.0 2.8 4.0 5.6 7.8 10.6 14.3 18.8 24.2
       12         0.3 0.4 0.5            0.8      1.1 1.6 2.3 3.3 4.6 6.4 8.9 12.0 15.8 20.4
       13         0.2 0.3 0.4            0.7      0.9 1.3 1.9 2.7 3.8 5.3 7.2 9.8 13.0 17.0
       14         0.2 0.2 0.4            0.5      0.7 1.1 1.5 2.1 3.0 4.2 5.8 7.9 10.5 13.8
       15         0.1 0.2 0.3            0.4      0.6 0.8 1.2 1.7 2.4 3.3 4.5 6.2 8.3 10.9
       16         0.1 0.1 0.2            0.3      0.4 0.6 0.9 1.2 1.8 2.5 3.4 4.7 6.2 8.2
       17         0.1 0.1 0.1            0.2      0.3 0.4 0.6 0.9 1.2 1.7 2.4 3.3 4.4 5.8
       18        <0.1 0.1 0.1            0.1      0.2 0.2 0.4 0.5 0.8 1.1 1.5 2.1 2.8 3.7
       19        <0.1 <0.1 <0.1          0.1      0.1 0.1 0.2 0.3 0.4 0.5 0.7 1.0 1.3 1.7
       20         0.0 0.0 0.0            0.0      0.0 0.0 0.0 0.0 0.0 0.0 0.0 0.0 0.0 0.0

       Note. Recidivism rate projections based on 5-year logistic regression estimates from Hanson, Thornton,
       Helmus, and Babchishin (2016). Underlined values mark the transition out of Level IVb (above 35%) and
       into Level I (less than 3%).


       threshold if they refrained from sexual offending but reoffend nonsexually within the
       first 5 years in the community.

       Residual Risk for Individuals With No New Offending
       Tables 7 and 8 present the residual risk for individuals who have remained free of both
       sexual and nonsexual convictions while in the community. Table 7 presents the rates
       for routine/complete samples; Table 8 presents the rates for preselected high-risk/high-
       need samples using the observed 10-year rates. The first rows of Tables 7 and 8 are the
       same as the last rows of Tables 2 and 4, respectively. In other words, the first rows of
       Tables 7 and 8 are the 20-year projected recidivism risk from the time of release. The




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        Table 8. Projected Residual Risk (Recidivism Rates as Percentages) From Time of Release
        Up to 20 Years Offense Free in the Community for High-Risk/High-Need Samples.

                                            Initial risk (based on Static-99R scores)

                       Level I       Level II             Level III           Level IVa           Level IVb
        Follow-up
        year          −3     −2     −1       0       1         2       3      4      5       6        7        8
        At release                 13.3    16.3    19.7     23.7      28.2   33.4   39.0   44.9     51.0      57.2
         1                         11.7    14.3    17.3     20.9      25.1   29.8   35.0   40.5     46.3      52.3
         2                         10.2    12.5    15.2     18.4      22.1   26.5   31.2   36.3     41.8      47.5
         3                          8.9    10.9    13.3     16.2      19.5   23.4   27.6   32.4     37.4      42.8
         4                          7.7     9.5    11.6     14.1      17.1   20.5   24.4   28.7     33.3      38.3
         5                          6.7     8.2    10.1     12.3      14.9   18.0   21.4   25.3     29.5      34.1
         6                          5.8     7.1     8.7     10.7      12.9   15.6   18.7   22.1     25.9      30.1
         7                          5.0     6.1     7.5      9.2      11.2   13.5   16.2   19.3     22.7      26.4
         8                          4.2     5.2     6.4      7.9       9.6   11.6   14.0   16.7     19.7      23.0
         9                          3.6     4.4     5.5      6.7       8.2    9.9   12.0   14.3     16.9      19.8
        10                          3.0     3.7     4.6      5.7       6.9    8.4   10.2   12.2     14.4      17.0
        11                          2.5     3.1     3.9      4.7       5.8    7.1    8.5   10.2     12.2      14.3
        12                          2.1     2.6     3.2      3.9       4.8    5.9    7.1    8.5     10.1      12.0
        13                          1.7     2.1     2.6      3.2       3.9    4.8    5.8    7.0      8.3       9.8
        14                          1.3     1.7     2.1      2.5       3.1    3.8    4.6    5.6      6.7       7.9
        15                          1.0     1.3     1.6      2.0       2.4    3.0    3.6    4.4      5.2       6.2
        16                          0.8     1.0     1.2      1.5       1.8    2.2    2.7    3.3      3.9       4.7
        17                          0.5     0.7     0.8      1.0       1.3    1.6    1.9    2.3      2.8       3.3
        18                          0.3     0.4     0.5      0.6       0.8    1.0    1.2    1.4      1.7       2.1
        19                          0.2     0.2     0.2      0.3       0.4    0.5    0.6    0.7      0.8       1.0
        20                          0.0     0.0     0.0      0.0       0.0    0.0    0.0    0.0      0.0       0.0

        Note. Recidivism rate projections based on 10-year logistic regression estimates from Phenix, Helmus,
        and Hanson (2016; see Table 3). N = 350 (98 recidivists). Underlined values mark the transition out of
        Level IVb (above 35%) and into Level I (less than 3%).


        longer the individuals remain offense free, the lower their risk of subsequently com-
        mitting a new sexual offense. These are the recidivism estimates that are relevant to
        evaluators who wish to assess the risk now presented by someone who has been in the
        community for some time without reoffending after release from their index sex
        offense.
            For individuals whose initial risk was above a high risk threshold of 35% or more,
        the vast majority (Static-99R scores of 8 or lower) drop below this threshold if they
        remain in the community offense free for 5 years, and all individuals drop below this
        high risk threshold by 9 years. If they stay offense free long enough, all individuals
        will eventually drop below the very low risk threshold (<3%), regardless of their ini-
        tial risk score.




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       Error estimates
       Comparison of Tables 3 and 4 provides an indication of the degree of error. Table 3
       projects forward to 10 years based on the observed 5-year rates; Table 4 projects back-
       ward to 5-year rates using the observed 10-year rates. Although the samples are not
       identical (not all individuals followed for 5 years were also followed for 10 years),
       both are from the same population (high risk/high need). As readers can see, the differ-
       ences between the observed rates and the projections were typically within 2 percent-
       age points. The 10-year forward projections from the observed 5-year rates were
       slightly lower than the observed 10-year rates, although the differences were small
       (median difference of −1.5% [range of −1.2 to +1.7]). Similarly, the backward projec-
       tions to 5 years from the observed 10-year rates were slightly higher than the observed
       5-year rates (median difference of 2.2% [range of −2.4 to 1.4]). There was also high
       concordance between the 20-year projections based on the observed 5-year rates and
       the 20-year projections based on the 10-year rates (median difference of 2.6%, range
       of −1.5% to 2.9%).
           The second approach to estimating error examined the range of values included in
       the 95% confidence intervals of the time free parameter (b ± 1.96 × SE). Specifically,
       estimates were computed based on the b values of –.15156 and –.10844 (–.130 ±
       [1.96 × 0.011]). These values are presented in Figure 1 for the Static-99R scores of 0,
       2, 4, and 6. These Static-99R scores were selected because they are the most populated
       values for Risk Levels II, III, IVa, and IVb. The results for Risk Level I were not pre-
       sented because they were very similar to those for Risk Level II.
           As depicted in Figure 1, the confidence intervals were within a couple of percent-
       age points when the absolute recidivism rates were small (<15%) and the follow-up
       time was less than 10 years. The widest confidence intervals (approximately ± 5 per-
       centage points) were observed when the follow-up was greater than 15 years and the
       absolute values were more than 30%. For example, the estimated 20-year cumulative
       sexual recidivism rate for the group defined by Static-99R scores of 6 in high-risk/
       high-need samples was 44.9% (see Table 4), and the 95% confidence interval ranged
       from 41.2% to 49.2%.
           The third approach to estimating error examined how much results change based on
       the range of values for the time free parameter in the different logistic models from
       –.123 to –.135 (see Tables 4 and 5 from Hanson et al., 2018). These values are well
       within the range defined by the 95% confidence interval for the time free parameters
       (−0.15156, −0.10844); consequently, using the observed variation in the parameters
       across models results in a smaller range of error estimates than using the range defined
       by the 95% confidence intervals for the main analysis. For example, given a score of 6
       in routine/complete samples (estimated 20-year rate of 36.1%), the confidence interval
       approach indicates a range 7 percentage points wide (32.9%, 39.8%) and the variation
       in the parameters approach suggests a range 2 percentage points wide (35.3%, 37.2%).
           In summary, given known initial hazard rates, the 20-year projections would be
       expected to have error rates of between ±1 percentage points and ±5 percentage
       points, with larger error rates associated with larger estimated recidivism rates.



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        Figure 1. Cumulative recidivism rates over 20 years of follow-up with 95% confidence
        intervals for selected Static-99R risk levels.
        Note. Lower (blue) curves represent routine/complete samples; upper (red) curves represent preselected
        high-risk/high-need samples.


        Discussion
        The aim of this article was to demonstrate how the constant time free effect observed
        in Hanson et al. (2018) provides solutions to three challenges currently faced by evalu-
        ators interested in empirical estimates of sexual recidivism risk: (a) lifetime recidivism
        rates, (b) risk when the index offense is not a sexual offense, and (c) declines in risk
        for individuals who remain offense free in the community. The approaches used in this
        article should also be of interest to desistance researchers interested in an objective
        approach to quantifying the likelihood that individuals have permanently desisted
        from sexual offending.
            The statistical model included only three variables: (a) years sexual offense free
        while in the community, (b) whether the individual was convicted of a post-index


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       nonsexual offense, and (c) a numeric estimate of the likelihood of recidivism during
       the first year after release from the index sexual offense. In this study, we used Static-
       99R scores to estimate the initial likelihood; however, similar patterns would be
       expected regardless of the method used to estimate the initial hazards. Declining mar-
       ginal hazards is one of the most robust findings in all of criminology (Kurlychek,
       Bushway, & Brame, 2012).
          Although the Static-99R has moderate accuracy (discrimination; Helmus, Hanson,
       et al., 2012), it does not measure all relevant risk factors. Some of these external fac-
       tors could be available to evaluators at time of release, such as response to institutional
       treatment (Olver et al., 2018), or the density of psychologically meaningful risk factors
       (e.g., Thornton & Knight, 2015). Other variables can only be known after release, such
       as the quality of their psychological and community adjustment (McGrath, Lasher, &
       Cumming, 2012) and the receipt of effective community supervision (Duwe & Freske,
       2012; Seto, Sandler, & Freeman, 2017). Consequently, evaluators need to consider the
       empirical risk estimates presented in this article as part of an overall evaluation of risk.
          As demonstrated in Figure 1, the choice of the initial hazard values has much
       greater consequences for the final estimates than the estimated error in the time free
       effects. Previous research has observed a wide range of recidivism rates associated
       with specific Static-99R scores (Helmus, Hanson et al., 2012); the test developers
       responded to this (unwanted) variation by providing two sets of recidivism rate tables:
       one for routine/complete samples and another for samples preselected as high risk
       (Phenix et al., 2016). For all but the highest Static-99R scores, the differences between
       these reference groups can be substantial. For example, given a Static-99R of 4, the
       routine/complete samples had estimated 20-year rates of 20% (see Table 2), whereas
       the rate for the high-risk/high-need groups was 33% (see Table 4). In other words, the
       choice of the initial hazard rate could result in a 13 percentage point difference,
       whereas using the extremes of the confidence intervals for the time free estimates
       would only result in a 4% to 6% difference.
          This study provided partial support for Doren’s (2010) assertion that lifetime sexual
       recidivism rates are approximately twice the rates observed after 5 years. Doren’s
       heuristic reasonably represented the results for lower and average risk groups. For
       higher risk groups, however, this heuristic overestimates risk compared with the dis-
       crete-time survival method used in this study. Furthermore, using a simple risk ratio or
       multiplier could potentially result in impossible values (e.g., risk estimates greater
       than 100%). In contrast, the discrete-time method provides more precise estimates
       than Doren’s (2010) approach and can be used across the full range of risk levels and
       follow-up times.

       Applied Uses
       Estimation of long-term sexual recidivism rates. Most definitions of desistance are con-
       cerned with cessation of offending, not just temporary pauses in a life otherwise full
       of crime. Consequently, the concept of (very low) lifetime rates is central to desistance
       theory and research. The tables in this study could provide useful guidance to


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        researchers interested in estimating the likelihood that individuals who claim to have
        stopped sexual offending will never reappear in the criminal justice system for this
        type of offense. For example, in Harris’ (2016) desistance study, she included as
        “desisting” individuals who made no cognitive changes, and were described as lonely,
        pessimistic, and defeatist. Given that most of these individuals had been released for
        less than 4 years (and some as recently as a few months), critics could argue that these
        individuals remain at significant risk for sexual recidivism. A much stronger test of the
        patterns of desistance would begin by sorting the participants based on estimates of
        their lifetime recidivism rates.
           Lifetime recidivism rates are also important in certain legal contexts. For most
        cases, these long-term risk estimates are made before the individual has been released
        (e.g., Sexually Violent Persons (SVP) cases in the United States). It is important to
        note that these long-term risk estimates are generated at the time the individual is
        being evaluated and do not include the time free effect because the individuals have
        not yet been released into the community. The exception to this is when an individual’s
        SVP commitment occurred following reincarceration for a nonsexual offense convic-
        tion, or because his community supervision was revoked. In those cases, any time free
        effect, increased risk due to nonsexual offending, and custody time should be incorpo-
        rated into the risk estimates. Given that we can only assess risk with the information
        we have at the time of assessment, risk should be considered dynamic. An individual’s
        recidivism risk should be expected to change over time in response to life circum-
        stances. Repeated assessments after individuals have been released to the community
        would provide information about decreasing sexual recidivism risk (or, conversely,
        their continued risk due to nonsexual offending).

           When the governing offense is not the index sex offense. Evaluators may struggle
        when completing sexual risk assessments for individuals with a history of sex offend-
        ing but whose most recent offense was not a sex offense. How does one incorporate
        factors that may have occurred since the individual was released from the index sex
        offense? Previously, evaluators would use their professional judgment to combine
        time free effects with actuarial risk scores, which could lead to diverse decisions of
        unknown validity. With this study, evaluators have a fully actuarial method to account
        for nonsexual offending and periods of custody post-release.

        Risk assessments for those in the community who have not reoffended. Individuals with a
        history of sex offenses often undergo risk assessments in the community to determine
        their treatment and risk management needs. The current statistical model provides
        important information to aid recommendations in such evaluations. This information
        provides explicit guidance relevant to risk management and decisions regarding when
        interventions should increase treatment and/or supervision resources due to nonsexual
        offending, or reduce interventions due to successful survival in the community with-
        out reoffending. It can also provide information for how resources might best be allo-
        cated over the next 5 to 10 years. By considering time free effects, community-based
        agencies responsible for helping individuals transition into the community from jail or


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       prison can project individuals’ sexual recidivism risks more precisely to determine
       how long clients need to be on their caseload.
           In the United States and elsewhere, individuals may be evaluated to determine the
       need for inclusion on a registry. The purported purpose of such registries is to contribute
       to public safety through educating local authority personnel and/or the public
       about individuals in their community (e.g., https://www.justice.gov/criminal-ceos/sex
       -offender-registration-and-notification-act-sorna). Those included on a registry will
       then normally be subject to more intensive monitoring. Inclusion on such registries,
       however, has far-reaching consequences for the identified individuals (e.g., residence
       and work restrictions; Laws, 2016; Levenson, Grady, & Leibowitz, 2016). The degree
       to which registries are able to achieve their stated purpose will depend, in part, on the
       extent to which those registered actually pose a risk for sexual offending. As a class,
       adults convicted of sex offenses do pose a risk for future sex offending that is several
       times the risk posed by adults released following sentences for nonsexual offenses (e.g.,
       Alper & Durose, 2019). Not all members of this class, however, pose the same risk, and
       the potential effectiveness of registries will be diluted by the inclusion of individuals
       who have desisted from sexual offending. In some U.S. states with lifetime supervision,
       individuals with remote histories of sex offenses remain on state registries for more
       than 20 years, despite living offense free in the community. The current statistical
       model of long-term risk highlights the importance of considering the time free effect for
       individuals residing in the community. After 10 to 15 years, most individuals will have
       desisted from sex offending, and virtually all will have desisted by 20 years. For exam-
       ple, even very high risk offenders (e.g., Static-99R score of 9) can be expected to have
       less than a 2% risk for sexual recidivism after 18 years if they are able to remain in the
       community without reoffending. This rate is comparable to the rate of spontaneous out-
       of-the-blue sexual offenses by individuals with a criminal conviction but no prior his-
       tory of sexual offending (Kahn, Ambroziak, Hanson, & Thornton, 2017). Maintaining
       individuals on a registry who no longer present a risk for sexual offending wastes
       resources, risks harming the individuals on the registry (and their family and friends),
       and provides no public protection benefits.
           One question that inevitably arises is whether evaluators can utilize the current
       statistical model for individuals who are, or have been, under community supervision.
       Most individuals in our samples would have been subject to routine levels of commu-
       nity supervision during the first few years after release; consequently, we expect the
       time free effects to apply in such conditions. Few individuals, however, would have
       been subject to intensive supervision that strongly limited their opportunities to offend.
       Although the effectiveness of community supervision remains an active research
       topic, there is some evidence to suggest that intensive community supervision can be
       an external protective factor that suppresses risk for the time the individual is being
       intensely supervised (Cram & Ambroziak, 2015). We doubt that individuals will ben-
       efit from the time free effect during times when they lack realistic opportunities to
       reoffend. Our expectation is that the time free effect applies when individuals have a
       level of personal freedom that is similar to that of busy, working adults (e.g., a stable
       full-time or part-time schedule with the ability to use their free time as they wish in the


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        community without being monitored in real time). Such levels of freedom are typical
        for individuals on most forms of probation and parole. Conversely, we do not recom-
        mend applying this model to individuals who have been conditionally released from a
        secure facility and whose freedoms are greatly restricted and closely monitored (e.g.,
        house arrest; Global Positioning System (GPS) with scheduled destinations/geograph-
        ical boundaries; monitors when they are in the community; covert observations from
        a specialized monitoring agency). Further research would be needed to validate or
        modify our models for unusual populations of this kind.


        Other Considerations
        The current analyses suggest that although advanced age at the time of release is asso-
        ciated with reduced sexual recidivism risk (Helmus, Thornton, et al., 2012), the effect
        of aging in the community is already fully captured by the statistically modeled time
        free effect. This may initially appear strange to evaluators accustomed to considering
        age as a protective effect prior to the period of release from secure custody. However,
        during the time individuals are in secure custody, they cannot benefit from a time free
        effect. The main protective effect, evident from research, is advanced age at the time
        of release. Our results indicate that evaluators should not make adjustments for aging
        following the individual’s release into the community; the effect of age is fully
        accounted for by the combination of age at time of release and the effect of time free
        in the community.
            When using the statistical model to extrapolate over time, evaluators will need to
        consider factors that may affect life expectancy (e.g., current age, medical conditions).
        When it is not realistic to extrapolate out to 20 years, evaluators will need to reduce the
        amount of time they are extrapolating to, should they wish to extrapolate beyond 10
        years. In determining life expectancy, evaluators can utilize actuarial life tables that
        may be available for the jurisdiction and/or health condition (e.g., https://www.ssa
        .gov/oact/STATS/table4c6.html).
            Evaluators will need to identify the first nonsexual offense conviction following
        the individual’s release from the index sex offense. The nonsexual offense must be a
        criminal offense (not a violation of conditions) that is sufficiently serious that the
        individual could potentially receive jail time or community supervision as a result.
        Offenses that result in citations and would not result in possible jail time are not
        counted here (see the 2016 Static-99R Coding Manual for definitions of conviction;
        Phenix et al., 2017).

        Limitations and future directions. The current statistical model considers only one non-
        sexual offense because this was the information available in the datasets. It is possible
        that evaluators will need to assess individuals who have engaged in multiple nonsex-
        ual offenses since their release from the index sex offense. These individuals might
        have different sexual risk profiles due to the density of their nonsexual offenses.
        Although this will certainly be explored in future studies, nonsexual recidivism
        reduces time free effects by subtracting time in custody (for any reason) from calendar


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       time. It is also likely that nonsexual violent offending is a stronger predictor of sexual
       recidivism than nonsexual, nonviolent offending. This will also need further explora-
       tion. In the meantime, the frequency and severity of nonsexual recidivism are factors
       external to the actuarial recidivism estimates that evaluators can consider in their over-
       all evaluation of risk.
           Both the risk estimates associated with the current Static-99R norms and the extrap-
       olation model are specific to the range of prevailing release environments of the stud-
       ies used to compile the norms (e.g., unconditional discharge, probation, and parole).
       Extrapolations provided by the present statistical models should be thought of as
       informing us about what the recidivism estimates would have been in the normative
       samples if the follow-up period for those samples had been extended to 20 years. If an
       evaluator is assessing someone whose expected release environment is very different
       from those that prevailed in the normative samples (e.g., highly secure settings; inten-
       sive community supervision), then they would need to take such considerations into
       account.
           It is possible that some of the time free effect may be due to custody time, level of
       community supervision, and benefits gained from treatment. However, community
       supervision in the included datasets would likely be limited to the first few years fol-
       lowing release and is unlikely to extend to 20 years. Furthermore, sexual risk contin-
       ued to decline in an orderly way, suggesting that the time free effect was independent
       and incremental to other protective factors.
           The current statistical model also does not account for sexual offenses for which the
       individual was never caught (undetected offenses). As such, evaluators need to account
       for possible undetected offending separately. The existence of undetected sexual recid-
       ivism has been supported by previous findings (e.g., Abel et al., 1987; DeLisi et al.,
       2016; Falshaw, Bates, Patel, Corbett, & Friendship, 2003). Attempts have been made
       to provide guidance in accounting for undetected sexual offending in risk assessments.
       For example, Hanson, Thornton, and Price (2003) presented a statistical model of
       accounting for undetected offending based on victim reporting rates and criminal
       detection rates. There remains debate on how to formally account for undetected
       offending and possible factors that increase or decrease the ratio between undetected
       and detected offenses (Kelley, 2018). This is an area in need of further research.
           An important limitation is that the statistical models in this article do not consider
       changes in sexual risk estimates as a result of dynamic risk factors and treatment
       change. For individuals who demonstrate large treatment change at the time of the risk
       assessment, the tables likely overestimate long-term sexual risk. An important objec-
       tive of future research is to develop statistical prediction models that consider the time
       free effect along with dynamic risk and treatment change. Currently, studies of change
       in dynamic risk have only considered changes occurring over time periods that are
       sufficiently short that incremental time free effects would not be expected (e.g., less
       than 3 years; Babchishin, 2013; McGrath et al., 2012). Although very long-term (10-
       year) reassessments are impractical in prospective research studies, such information
       can be extracted from the administrative records collected in jurisdictions with long-
       term community supervision. As well, it is now possible in many countries to evaluate
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        long-term psychological and community adjustment by linking individuals with a his-
        tory of sexual crime to decades of government records concerning their mental health,
        income, social assistance, housing, and mortality (particularly death by drug overdose
        and suicide).
            Our aim was to present the current statistical models for estimating long-term risk
        in a user-friendly format that could be used in applied assessments. The tables included
        in this article provide results for extrapolating out to 20 years for individuals for which
        sample type and Static-99R score have been determined. We also provided tables
        applicable to individuals with a history of sexual offending who were subsequently
        convicted of a nonsexual offense. We believe that these tables are relatively straight-
        forward to use; however, we also recognize that automation would further simplify the
        process. Consequently, we developed an Excel-based calculator that computes case-
        specific long-term sexual recidivism estimates based on the dates of index sexual
        offense, release date, date of first nonsexual reoffense, times removed from commu-
        nity without opportunities to reoffend, and a specified short-term sexual recidivism
        risk entered by an evaluator. This calculator is available to evaluators on the static99.
        org website, accompanied by a written user guide.
            Although the models described here used Static-99R recidivism norms to estimate
        the initial hazard rates, we believe that these models should apply when the initial
        hazard rates were estimated using other measures of long-term sexual recidivism risk
        potential. Previous research has found that the relative risk associated with Static-99R
        scores is constant over many years (Hanson, Babchishin, Helmus, & Thornton, 2013);
        however, this consistency in discrimination over time may not apply to other mea-
        sures, particularly those that focused on transient, acute risk factors. This issue requires
        further investigation.
            Hanson et al.’s (2018) statistical models are also specific to sexual recidivism risk
        and should not be applied to other types of recidivism outcomes. For general (any)
        recidivism among routine correctional samples, the yearly decline in hazard rates is
        more rapid than that observed for sexual recidivism risk (Durose, Cooper, & Snyder,
        2014). As well, it is not uncommon for the hazard rates for general recidivism to
        increase during the first few months in the community before starting their inevitable
        decline (Kurlychek et al., 2012; Lloyd, 2015).
            A final limitation is that this study did not examine the reasons for the consistent
        declines in sexual recidivism risk while offense free in the community. Readers inter-
        ested in potential explanations are referred to the original Hanson et al. (2018) study,
        as well as the major references from the desistance literature (e.g., Laub & Sampson,
        2003; Laws & Ward, 2011; Maruna, 2001).

        Conclusion
        When researchers and evaluators think about change in individuals’ risk, they typi-
        cally conceptualize these changes as a function of malleable dynamic risk factors (also
        called criminogenic needs or psychologically meaningful risk factors). A distinctive
        feature of this study is that changes in recidivism risk were modeled as a function of
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       static risk factors (initial 1-year hazards, time free, post-index nonsexual recidivism).
       The initial hazards were themselves estimated based on static risk factors (i.e., Static-
       99R scores, which consider only age, relationship history, and criminal history at the
       time of release from the index sexual offense). Although the current models are obvi-
       ous simplifications of reality, they are, nonetheless, substantial improvement over sta-
       tistical models that ignore all information after the index sexual offense. What happens
       next matters.

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